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                 EXHIBIT A
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                                 TAX PROFESSIONAL EMPLOYMENT AGREEMENT

This Agreement is made between        Carmen         Maurella III   of 14048 CHICORY TRAIL                                   ,
                                              (Name)                              (Number & Street or Box No.)
Homer Glen                   ,   IL     60491              (“Associate”), and HRB Green Resources LLC                        ,
               (City)             (State)   (Zip )
(“the Company”). These parties, in consideration of the covenants and agreements set forth below, agree as follows:
1.   Employment.
The     Company    employs    Associate  as    a    5000    - First Year Tax Pro
                                                    ________________________________________        in   the   Company’s
_______________________________________
 NAPERVILLE, IL                                 District, Admin. ID# _____________________,
                                                                     12519                   for the period and upon the
terms and conditions herein contained. Associate hereby accepts such employment and agrees to comply with such terms and
conditions.
2.   Term.
The term of this Agreement begins on the earlier of the following dates: the date Associate first attends Skills to Win training; the
date Associate attends any other paid training; or December 1, 2014. The term of this Agreement shall end on April 16, 2015.
3.   Duties.
Associate’s duties consist of attending Skills to Win training, mid-season training, and other mandatory training, preparing accurate
tax returns and offering electronic filing of returns to qualifying taxpayers, promoting and providing additional or alternative
products or services which the Company or its affiliates may offer, providing other information to clients that may be relevant to
their tax and financial situation, and performing other duties as assigned, all in accordance with the law and the Company’s policies
and procedures, including the H&R Block, Inc. Code of Business Ethics & Conduct. Associate acknowledges that it is outside the
scope of Associate’s employment hereunder and is against the rules of the Company for Associate to offer any financial advice for
which a license is required.
4.   Compensation.
The Company shall pay Associate an hourly rate of pay, the amount of which shall be determined by the Company labor code
assigned to a specific project or task. Different projects or tasks are assigned different pay rates and the Company reserves the
right to revise such rates at any time. Under no circumstance shall the hourly rate for any work performed be less than the federal
or applicable state minimum wage. Associate shall be paid for all hours worked, including overtime, in accordance with federal and
applicable state wage and hour laws.
5.   Withholdings and Offsets.
The Company shall withhold from all compensation payable to Associate all required federal, state, and local taxes. Associate
agrees that if Associate fails to turn over all Company funds as required by Company policy or becomes indebted to the Company,
the Company may, subject to applicable laws, offset the amount of any such funds or indebtedness against any compensation due
Associate.
6.   Hours.
Associate’s hours of employment will be as from time to time designated by the Company. Associate understands the seasonal
nature and fluctuation of the Company’s business and acknowledges the Company’s exclusive right to reduce or increase Associate’s
hours of employment based on business needs. Associate recognizes and agrees that there may be pay periods during which
Associate is not assigned any hours of employment. Associate agrees to be available to work until the end date of this Agreement.
Associate hereby expressly acknowledges and agrees to abide by the Company’s timekeeping policies by accurately recording all
hours worked.
7.   Termination.
     a)    Notwithstanding the above-described Term, either party may terminate this Agreement upon seven (7) days prior written
notice.
      b) Furthermore, the Company may terminate this Agreement and the employment of Associate without notice upon a
determination by the Company that Cause exists for such termination. For purposes of this Agreement, “Cause” shall include, but is
not limited to, the following:
           (1) Associate’s unsatisfactory performance as determined by the Company;
           (2) Associate’s misconduct that interferes with or prejudices the proper conduct of the Company’s business or which
               may reasonably result in harm to the reputation of the Company;
           (3) Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material violation of Company
               policies including, but not limited to, the H&R Block, Inc. Code of Business Ethics & Conduct;



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          (4) Associate’s violation of any term of this Agreement or Associate’s stated intention to violate any term of this
              Agreement;
          (5) Associate’s failure to meet the criteria for any Company-mandated background check;
          (6) Associate’s conviction of or plea of guilty or no contest to a crime of dishonesty or theft during or prior to Associate’s
              employment (subject to state law);
          (7) Associate’s misrepresentation on the employment application or in this Agreement; or
          (8) Associate’s failure to secure a Preparer Tax Identification Number (PTIN) in accordance with IRS regulations and
              Company requirements.
     c)    “Cause” shall also include: (i) Associate’s violation of any term of any prior employment agreement between Associate
and the Company, (ii) fraud or theft by Associate during any prior period of employment with the Company, and (iii) material
violation of any Company policy, including the H&R Block, Inc. Code of Business Ethics & Conduct, by Associate during any prior
period of employment with the Company.
8.   Confidential Information.
Associate will be given access to Trade Secrets and other Confidential Business Information which has commercial value to the
Company and its affiliates (hereinafter together referred to as “H&R Block”) the confidential nature of all such information is hereby
acknowledged by Associate. In consideration for the Company providing such access, and as a material term of this Agreement,
Associate gives the Company the covenants contained in Sections 8, 9, 10, and 11 of this Agreement. Associate agrees and
acknowledges as follows:
     a) Without the Company’s prior written authorization, Associate shall not directly or indirectly: (i) misappropriate, make
copies of, or remove from H&R Block’s offices any Confidential Business Information of H&R Block, (ii) make known, divulge, or
communicate to any person or entity any Confidential Business Information of H&R Block, or (iii) use any Confidential Business
Information of H&R Block for any reason other than as necessary to enable Associate to properly perform Associate’s duties
hereunder. Nothing in this Section 8 shall be construed as limiting or impeding an associate covered by the National Labor Relations
Act (the “Act”) from exercising his or her rights under Section 7 of the Act by, for example, disclosing Terms and Conditions
Information. “Terms and Conditions Information” refers to information concerning the wages, hours and terms and conditions of
employment for employees covered by the Act. Further, nothing herein shall be construed to prohibit the reporting of a violation of
law or to prohibit a disclosure of information that is compelled by law; provided, however, that to the extent allowed by law,
Associate will give the Company as much written notice as possible under the circumstances and will cooperate with the Company in
any legal action undertaken to protect the confidentiality of the information.
     b) Upon cessation of employment hereunder, Associate shall promptly deliver to the Company the originals and all copies of
Confidential Business Information and other materials and property of any nature belonging to H&R Block.
     c) “Confidential Business Information” means all information learned by Associate as a consequence of Associate’s
employment with the Company, including, but not limited to, H&R Block’s client lists, information pertaining to H&R Block’s clients,
private or sensitive employee information (such as social security information or birth dates, and information obtained from any
confidential human resources or employee files/records to which Associate may have access), and H&R Block’s tax preparation
software. “Confidential Business Information” does not include information in the public domain through authorized disclosure by
H&R Block or information that Associate has received prior written authorization by H&R Block to disclose or otherwise use.
Confidential Business Information does include information about the business affairs of third parties (including, but not limited to,
the Company’s clients) that such third parties provide to the Company in confidence.
      d) The designation of any information as Confidential Business Information does not preclude it from also constituting a Trade
Secret as defined by applicable law. Associate is prohibited from using, disclosing, or misappropriating Trade Secrets of H&R Block
at all times during and after Associate’s employment for so long as such information remains a Trade Secret. Trade Secrets include,
among other things, H&R Block’s client lists and all information pertaining to H&R Block’s clients.
     e) Information shall not be deemed to have lost its status as a Trade Secret or Confidential Business Information as the result
of any unauthorized disclosure by Associate or any other person or third party.
     f) Section 7216 of the Internal Revenue Code of 1986, as amended, prohibits the unauthorized use and/or disclosure of
confidential tax return information of the Company’s clients, and Associate agrees that Associate will not at any time disclose or use
such information in violation thereof.
    g) The restrictions in this Agreement shall supplement, but not replace, any and all obligations Associate owes the Company
under applicable law.
9.   Extent of Services.
Associate agrees that during the term of Associate’s employment Associate shall not directly or indirectly:
     a)   Compete with the Company at any location or in any capacity by:
          (1) preparing or electronically filing tax returns or providing any other product or service that the Company offers in the
Associate’s district of employment (for example, bookkeeping if provided in the district); or
          (2) soliciting or accepting any of the Company’s clients for the aforementioned services.
     b)   Be an Electronic Return Originator (“ERO”) with the IRS.
Associate agrees and accepts as a condition of employment that during the term of Associate’s employment all tax returns Associate
prepares, including any returns Associate prepares for friends and family, but excluding Associate’s own return, must be processed
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through the Company in accordance with Company policies and procedures as returns prepared by the Company. Associate may
prepare and electronically file Associate’s own tax return free of charge.
Associate shall not be in violation of Section 9(a)(1) if providing the prohibited services for an H&R Block franchise.
10. Post-Termination Covenants.

     a) Associate covenants that for two (2) years following the cessation of Associate’s employment hereunder for any reason
(the “Restricted Period”), Associate shall not directly or indirectly:
          (1) Provide any of the following services to any Company Client: (i) preparation of tax returns; (ii) electronic filing of tax
returns; or (iii) any Alternative Products or Services; or
            (2) Solicit Company Clients for the purpose of offering to such clients: (i) tax return preparation services; (ii) electronic
filing of tax returns; or (iii) any Alternative Products or Services.
     b) Associate agrees that the Restricted Period for each of the above covenants shall be tolled during (i) any period(s) of violation
that occur during the original Restricted Period; and (ii) any period(s) of time required by litigation to enforce the covenant (other than any
periods during which Associate is enjoined from engaging in the prohibited activity and is in compliance with such order of enjoinment)
provided that the litigation is filed within one year following the end of the original Restricted Period.
     c) For purposes of this Section 10, “Company Clients” is defined as every person or entity whose federal or state tax return
was prepared or electronically transmitted by Associate, or for whom Associate provided any Alternative Products or Services,
during the term of this Agreement or during any period of time in which Associate was employed by the Company or an affiliate
during the twelve (12) months immediately preceding the effective date of this Agreement.
     d) For purposes of this Section 10, “Alternative Products or Services” means products or services, other than the preparation
or electronic filing of tax returns, that the Company provides to clients within Associate’s district of employment (for example,
bookkeeping if provided in such district).
      e) In the event a duly appointed arbitrator (or where permitted under Section 17, a court of competent jurisdiction) finds the
time period, geographic scope, scope of activity, or any definition contained in this Section 10 to be overly broad, the time period,
geographic scope, scope of activity, or definition that such arbitrator or court deems reasonable shall be substituted for the language
in this Agreement (where allowed by applicable law).
     f)    Associate shall not be in violation of Section 10(a)(1) if providing the prohibited services for an H&R Block franchise.
     g)    Sections 10(a) and (b) are not applicable to associates employed in the state of North Dakota.
     h)    Section 10(b) is not applicable to associates employed in the states of Georgia or Wisconsin.
     i)   For Associates employed in the state of Arizona or Puerto Rico, the Restricted Period in Section 10(a) shall be one (1) year
following the cessation of Associate’s employment.
     j)    For Associates employed in the State of Louisiana, Sections 10(a)(1) and (2) are limited within the state of Louisiana to
the Parishes in which Associate assisted Company in providing its products and services, and Parishes adjacent to such Parishes (or
counties of adjacent states), as identified in Attachment A to this Agreement; provided, however, that nothing in this Agreement
may be construed to prohibit the enforcement of Sections 10(a)(1) and (2) in accordance with their terms in states outside of
Louisiana.
11. Nonsolicitation of Employees.

     a) Associate covenants that during Associate’s employment hereunder and for one (1) year following the cessation of such
employment for any reason, Associate shall not, directly or indirectly, solicit or hire Company Employees to work in any business
that provides any product or services in competition with the Company.
     b)     For purposes of this Agreement, “Company Employees” mean persons employed by the Company or its affiliates at the
time of the solicitation or hiring or at any time during the term of this Agreement. Where required by applicable law to be
enforceable, the foregoing restriction shall only apply to Company Employees employed by Company or its affiliates within the
District identified in Section 1.
    c) Section 11(a) is not applicable to associates employed in the state of Wisconsin. Associates employed in Wisconsin
covenant that during Associate’s employment hereunder and for one (1) year following the cessation of such employment for any
reason, Associate shall not, directly or indirectly, solicit Company Employees to terminate their employment with the Company.
12. Remedies.

The parties agree that if any provision of Section 8, 9, 10, or 11 is violated, the Company will have no adequate remedy at law and
will suffer irreparable loss and damage. The parties further agree that in the event of any such breach or violation, whether
threatened or actual, the Company shall be entitled to injunctive relief to prohibit or restrain such breach or violation in addition to
all other remedies available at law or equity. Associate agrees that no bond need be filed in connection with any request by the
Company for a temporary restraining order or other preliminary injunctive relief. In addition to injunctive relief, Associate
acknowledges that the Company is entitled to damages for any breach of Section 8, 9, 10, or 11. Further, in the event of such
breach or violation, Associate shall pay the Company all costs, reasonable attorneys’ fees, and expenses incurred by the Company
in enforcing Sections 8, 9, 10, or 11 of this Agreement. Further, Associate acknowledges that damages for breach of Section 9 are
difficult, if not impossible, to establish and Associate therefore agrees to liquidated damages as set forth below. Associate
acknowledges and agrees that these sums are a reasonable forecast of the harm caused by the breach in light of the anticipated or
actual loss caused by a breach and the difficulties of proof of loss. Associate agrees that this liquidated damages provision shall not


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be construed as a payment to avoid Associate’s obligations under Section 8, 9, 10, or 11 hereof and further agrees that the
Company shall be entitled to injunctive relief in addition to enforcement of this liquidated damages provision.
In the event Associate breaches Section 9 of this Agreement, Associate shall pay to Company a lump sum of $1,000 per tax season
of employment up to a $10,000 maximum (a partial tax season shall be counted as a tax season).
Any violation of Section 8, 9, 10, or 11 shall otherwise be resolved in accordance with the arbitration agreement in Section 17,
unless Associate opts out in accordance with Section 17(h).
13. Agreement Regarding Products and Services of H&R Block, H&R Block Bank, and BofI Federal Bank.

Associate agrees to comply with the following conditions in offering the H&R Block Emerald Advance® Line of Credit, H&R Block
Emerald Savings®, H&R Block Emerald Prepaid MasterCard®, Refund Anticipation Checks, credit cards, and other H&R Block-
branded bank products and services and in offering other financial products and services of any other financial institution with which
H&R Block partners to offer these products and services. Associate will comply with all H&R Block and BofI Federal Bank Operating
Policies and Procedures and required training related to the above products prior to conducting any facilitation marketing,
solicitation, customer service or credit service organization activities. Associate acknowledges that H&R Block Bank, BofI Federal
Bank, and other financial institutions have the right to monitor, review, and audit activities Associate performs in connection with
such entities’ respective products and services. Associate acknowledges that the primary federal regulator of H&R Block Bank and
BofI Federal Bank (the Office of the Comptroller of the Currency) and H&R Block’s primary regulator for banking purposes (the
Federal Reserve) have the authority to regulate, examine, and take enforcement action against the Company, its affiliates, H&R
Block Bank, and BofI Federal Bank with respect to the activities performed in connection with H&R Block Bank’s and BofI Federal
Bank’s products or services, and Associate acknowledges that federal and state banking and consumer products regulators may
have the authority to regulate, examine, and take enforcement action against the Company and its affiliates and other financial
institutions with respect to certain activities performed in connection with these products or services.
14. Tax Preparer Penalties.

As a condition of employment, Associate agrees to provide to the Company, immediately upon receipt, a copy of any notice or
communication Associate receives from the Internal Revenue Service or any state taxing authority related to Associate’s tax
preparation practices or tax preparer penalties proposed or assessed against Associate. Associate further agrees to authorize the
Internal Revenue Service or state taxing authority to share with the Company and its affiliates all notices and communications
related to the proposed or assessed penalties. Associate expressly acknowledges and agrees that Associate may be personally
responsible for paying preparer penalties assessed by the Internal Revenue Service or state taxing authority.
15. Representations of Associate.

     a) Associate represents that Associate has never had a Form 8633 (Application to Participate in the Electronic Filing Program)
denied by the Internal Revenue Service and has never been suspended or rejected from such program prior to this Agreement.
Associate further represents that Associate has not currently applied for or been accepted as an Electronic Filer other than by virtue
of any application made through or on behalf of the Company.
    b) Associate represents that all statements made on Associate’s employment application, including those regarding
Associate’s criminal background, are true and accurate.
    c) Associate represents that Associate is not subject to any contract that would prohibit performance of his/her duties
hereunder.
16. Enforcement.

Associate agrees that the Company’s failure to require strict compliance with any term, condition, or covenant contained in this
Agreement at any time shall not be deemed a waiver of that or any other term, condition, or covenant contained in this Agreement.
17. Mutual Arbitration Agreement.

       a) Binding Mutual Arbitration. This Mutual Arbitration Agreement in Section 17 (“Arbitration Agreement”) is between
Associate and the Company. Associate and the Company agree that any Covered Claims (defined below) will be resolved by final
and binding arbitration as set forth in this Arbitration Agreement, unless Associate opts out pursuant to Section 17(h) below. Any
reference to the Company in this Section 17 will be a reference also to the Company’s direct or indirect parents, subsidiaries,
affiliates, predecessors, and successor entities, including without limitation any H&R Block business entity for which Associate
applied for employment and/or was employed. This Arbitration Agreement shall be governed by the Federal Arbitration Act (FAA) (9
U.S.C. sections 1 et seq.), and evidences a transaction involving commerce. This agreement to arbitrate applies with respect to all
Covered Claims, whether initiated by Associate or the Company. All Covered Claims shall be decided by an arbitrator through
individual arbitration and not by way of court or jury trial.
     b) Covered Claims. This Arbitration Agreement is intended to be as broad as legally permissible and to apply to the
resolution of disputes that otherwise could be resolved in a court of law or before a forum other than arbitration. Except for the
Excluded Claims (defined below), Covered Claims include any and all past, present, and future claims or disputes between Associate
and the Company, or the Company’s direct or indirect parents, subsidiaries, affiliates, predecessors, and successor corporations and
business entities, and its and their officers, directors, employees, and agents, including but not limited to claims and disputes arising
out of or in any way relating to Associate’s hiring or recruitment, Associate’s employment, compensation, benefits, and terms and
conditions of employment with the Company, or the termination thereof, including but not limited to contract, tort, defamation and
other common law claims, wage and hour claims, statutory discrimination, harassment, and retaliation claims, and claims arising
under or relating to any federal, state or local constitution, statute or regulation, including, without limitation, the Fair Labor
Standards Act (“FLSA”), Title VII of the Civil Rights Act of 1964 (“Title VII”), the Age Discrimination in Employment Act (“ADEA”),
the Worker Adjustment and Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the Americans With Disabilities Act


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(“ADA”), the Family and Medical Leave Act (“FMLA”), the Fair Credit Reporting Act (“FCRA”), and any and all other federal, state, or
local constitutional, statutory, regulatory, or common law claims or causes of action now or hereafter recognized.
      Further, Covered Claims include any disputes regarding this Arbitration Agreement or any portion of the Arbitration Agreement
or its interpretation, enforceability, applicability, unconscionability, arbitrability or formation, or whether the Arbitration Agreement
or any portion of the Arbitration Agreement is void or voidable, with the exception noted in Section 17(e) below.
     c) Excluded Claims. The following claims and disputes are not subject to arbitration under this Arbitration Agreement: (i)
applications for temporary or preliminary injunctive relief in aid of arbitration or for the maintenance of the status quo pending
arbitration, (ii) claims arising under, relating to or in connection with an employee benefit plan subject to the Employee Retirement
Income Security Act of 1974 (“ERISA”), which shall be determined in accordance with the claims and dispute resolution procedures
set forth in the applicable ERISA plan documents, (iii) claims for workers’ compensation benefits (however, retaliation and
discrimination claims arising out of or relating to claims for workers’ compensation benefits are covered under this Agreement), (iv)
claims for unemployment compensation benefits, and (v) disputes that may not be subject to pre-dispute arbitration as expressly
provided by the Dodd-Frank Wall Street Reform and Consumer Protection Act or other controlling federal statutes. Regardless of
any other terms of this Arbitration Agreement, a claim may be brought before and remedies awarded by an administrative agency if
applicable law permits the agency to adjudicate the claim notwithstanding the existence of an agreement to arbitrate. Such
administrative claims include without limitation claims or charges brought before the Equal Employment Opportunity Commission
(www.eeoc.gov), the U.S. Department of Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of
Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing in this Arbitration Agreement shall be deemed to preclude
or excuse a party from bringing an administrative claim before any agency in order to fulfill the party's obligation to exhaust
administrative remedies before making a claim in arbitration. The Company will not retaliate against Associate for filing a claim with
an administrative agency.
     d) Further Exclusion. This Arbitration Agreement does not apply to any causes of action already pending in court on the date
Associate executes this Agreement, including any class, collective, or representative action, for which Associate is already a
member or potential member of the class, collective, or representative action (“Pending Claims”). This Arbitration Agreement does,
however, apply to any Pending Claims that were filed against the Company before Associate was ever employed with the Company.
Additionally, if Associate previously signed (and did not opt out of) an agreement to arbitrate claims with the Company prior to
commencement of a Pending Claim and that Pending Claim was covered by the previous agreement to arbitrate, that previous
agreement to arbitrate would continue to apply to the Pending Claim, even if Associate opts out pursuant to Section 17(h) below.
    e)   Class and Representative Action Waiver.
TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, ASSOCIATE AND THE COMPANY AGREE THAT NO COVERED CLAIMS
MAY BE INITIATED OR MAINTAINED ON A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION BASIS EITHER IN COURT OR IN
ARBITRATION, AND THAT ASSOCIATE IS NOT ENTITLED TO SERVE OR PARTICIPATE AS A CLASS, COLLECTIVE OR
REPRESENTATIVE ACTION REPRESENTATIVE OR AS A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION MEMBER, OR RECEIVE
ANY RECOVERY FROM A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION INVOLVING COVERED CLAIMS EITHER IN COURT OR
IN ARBITRATION.
           THE COMPANY AND ASSOCIATE HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED OR
ARBITRATED AS A CLASS AND/OR COLLECTIVE ACTION (“Class Action Waiver”). Notwithstanding any other clause contained in
this Agreement, the preceding sentence shall not be severable from this Arbitration Agreement in any instance in which the Covered
Claim is brought as a class and/or collective action. To the extent the Class Action Waiver is determined to be invalid, unenforceable,
or void, the class action must proceed in a court of law and not in arbitration.
          THE COMPANY AND ASSOCIATE ALSO HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED
OR ARBITRATED AS A PRIVATE ATTORNEY GENERAL REPRESENTATIVE ACTION (“Representative Action Waiver”). However, this
Representative Action Waiver may be severed if it would otherwise render this Arbitration Agreement unenforceable in any action
brought under a private attorneys general law, and following severance the representative action must be brought in a court of law
and not in arbitration.
          Notwithstanding any other clause of language contained in this Arbitration Agreement and/or any rules or procedures that
might otherwise be applicable by virtue of this Agreement or by virtue of any arbitration organization rules or procedures that now
apply or any amendments and/or modifications to those rules, any claim that this Class Action Waiver or Representative Action
Waiver, or any portion of this Class Action Waiver or Representative Action Waiver, is unenforceable, inapplicable, unconscionable, or
void or voidable, shall be determined only by a court of competent jurisdiction and not by an arbitrator.
     f) Selection and Rules. The parties shall select the neutral arbitrator and/or arbitration sponsoring organization by mutual
agreement. If the parties cannot mutually agree to an arbitrator and/or arbitration sponsoring organization, the arbitration will be
held under the auspices of the American Arbitration Association (“AAA”), and except as provided in this Arbitration Agreement, shall
be under the then current Employment Arbitration Rules of the AAA (“AAA Rules”) (the AAA Rules are available through the
Company’s Human Resources Department or via the internet at www.adr.org/employment or by using a service such as
www.google.com to search for “AAA Employment Arbitration Rules”.) To the extent any of the terms, conditions or requirements of
this Arbitration Agreement conflict with the AAA Rules, the terms, conditions or requirements of this Arbitation Agreement shall
govern. Unless the parties jointly agree otherwise, the Arbitrator shall be an attorney experienced in employment law and licensed
to practice law in the state in which the arbitration is convened, or a retired judge from any jurisdiction (the "Arbitrator"). Unless
the parties jointly agree otherwise, the arbitration shall take place in or near the city in which Associate is or was last employed by
the Company. In the event the parties mutually choose a sponsoring organization, or AAA is designated, the Arbitrator shall be
selected as follows: The selected organization shall furnish a list of eleven (11) arbitrators from which the parties shall strike
alternately, with the party striking first to be determined by a coin toss, until only one name remains. That person shall be
designated as the Arbitrator. If for any reason, that person cannot serve, the selected organization shall issue another list of eleven
(11) arbitrators and repeat the selection process.

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                  EXHIBIT B
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                   H&R BLOCK


                                     INSTRUCTOR EMPLOYMENT AGREEMENT

This Agreement is made between         Carmen           Maurella III   of          14048 CHICORY TRAIL                    ,
                                            (Name)                                (Number & Street or Box No.)
      Homer Glen            ,     IL          60491       (“Associate”), and           HRB Resources LLC                  ,
               (City)           (State)        (Zip )
(“the Company”). These parties, in consideration of the covenants and agreements set forth below, agree as follows:


1.   Employment.
The Company employs Associate in an administrative capacity as an Instructor, subject to the direction and control of the
Company and subject further to Associate’s compliance with the Company’s policies and procedures as amended from time to
time, to teach the course or courses (the “Course(s)”) as assigned by the Company.

2.   Term.
Unless terminated sooner as hereinafter provided, this Agreement shall terminate on April 30, 2016.

3.   Duties.
Associate’s duties consist of teaching the Course(s), attending required instructor training, adequately preparing for each
session of the Course(s), taking attendance of all students and entering into appropriate system; administering quizzes, mid-
terms, and exams when appropriate; collecting applicable tuition; maintaining cleanliness of office and integrity as a
professional instructor and performing other duties as assigned, all in accordance with the law and the Company’s policies and
procedures, including the H&R Block Code of Business Ethics & Conduct.

4.   Compensation.
The Company shall pay Associate an hourly rate of pay, the amount of which shall be determined by the Company labor code
assigned to a specific project or task. Different projects or tasks are assigned different pay rates and the Company reserves
the right to revise such rates at any time. Under no circumstance shall the hourly rate for any work performed be less than
the federal or applicable state minimum wage. Associate shall be paid for all hours worked, including overtime, in accordance
with federal and applicable state wage and hour laws.

5.   Withholdings and Offsets.
The Company shall withhold from all compensation payable to Associate all required federal, state, and local taxes. Associate
agrees that if Associate fails to turn over all Company funds as required by Company policy or becomes indebted to the
Company, the Company may, subject to applicable laws, offset the amount of any such funds or indebtedness against any
compensation due Associate.

6.   Hours.
Associate’s hours of employment will be as from time to time designated by the Company. Associate recognizes and agrees
that there may be pay periods during which Associate is not assigned any hours of employment. Associate hereby expressly
acknowledges and agrees to abide by the Company’s timekeeping policies by accurately recording all hours worked.

     a) For the first time Associate teaches the Course in FY16, Associate shall spend no more than 45 minutes of outside-
of-class preparation or communication time for each hour of in-class time. For any subsequent times Associate teaches the
Course in FY16, Associate shall spend no more than one (1) hour of outside of class preparation or communication time for
every three (3) hours of in-class time.

    b) Associate is not expected to give homework, quizzes, or examinations that require grading outside of classroom time
and shall not grade outside of classroom time any homework, quizzes or examinations given.

     c) Working hours in excess of the limitations set forth in Section 6(a) is grounds for disciplinary action, up to and
including termination of this Agreement and Associate’s employment hereunder.

7.   Termination.
     a) Notwithstanding the above-described term, either party may terminate this Agreement upon fifteen (15) days
written notice.




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     b) Furthermore, the Company may terminate this Agreement and the employment of Associate without notice upon a
determination by the Company that Cause exists for such termination. For purposes of this Agreement, “Cause” shall include,
but is not limited to, the following:

         1)   Associate’s unsatisfactory performance as determined by the Company;

         2)   Associate’s misconduct that interferes with or prejudices the proper conduct of the Company’s business or which
              may reasonably result in harm to the reputation of the Company;

         3)   Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material violation of Company
              policies including, but not limited to, the H&R Block Code of Business Ethics & Conduct;

         4)   Associate’s violation of any term of this Agreement or Associate’s stated intention to violate any term of this
              Agreement;

         5)   Associate’s failure to meet the criteria for any Company-mandated background check;

         6)   Associate’s conviction of or plea of guilty or no contest to a crime of dishonesty or theft during or prior to
              Associate’s employment (subject to state law); or

         7)   Associate’s misrepresentation on the employment application or in this Agreement.

     c) “Cause” shall also include: (i) Associate’s violation of any term of any prior employment agreement between
Associate and the Company, (ii) fraud or theft during any prior period of employment with the Company, and (iii) material
violation of any Company policy, including the H&R Block Code of Business Ethics & Conduct, by Associate during any prior
period of employment with the Company.

8.   Confidential Information.
Associate shall be trained in the Company’s methods of operation, shall be given the opportunity to interact with students
enrolled in the Course(s) and/or Company associates, and shall be given access to Trade Secrets and other Confidential
Business Information which has commercial value to the Company and its affiliates (hereinafter together referred to as “H&R
Block”), the confidential nature of all such information is hereby acknowledged by Associate. Associate acknowledges that the
disclosure of such Confidential Business Information could substantially injure H&R Block’s present and planned business. In
consideration for the Company providing Associate with access to the aforementioned training, opportunities and Confidential
Business Information, and as a material term of this Agreement, Associate gives the Company the covenants contained in
Sections 8, 9, and 10 of this Agreement. Associate agrees and acknowledges as follows:

     a)    Without the Company’s prior written authorization, Associate shall not directly or indirectly: (i) misappropriate, make copies
of, or remove from H&R Block’s offices any Confidential Business Information of H&R Block, (ii) make known, divulge, or communicate
to any person or entity any Confidential Business Information of H&R Block, or (iii) use any Confidential Business Information of H&R
Block for any reason other than as necessary to enable Associate to properly perform Associate’s duties hereunder. Nothing in this
Section 8 shall be construed as limiting or impeding an associate covered by the National Labor Relations Act (the “Act”) from exercising
his or her rights under Section 7 of the Act by, for example, disclosing Terms and Conditions Information. “Terms and Conditions
Information” refers to information concerning the wages, hours and terms and conditions of employment for employees covered by the
Act. Further, nothing herein shall be construed to prohibit the reporting of a violation of law or to prohibit a disclosure of information
that is compelled by law; provided, however, that to the extent allowed by law, Associate will give the Company as much written notice
as possible under the circumstances and will cooperate with the Company in any legal action undertaken to protect the confidentiality of
the information.
     b)   Upon cessation of employment hereunder, Associate shall promptly deliver to the Company the originals and all copies of
Confidential Business Information and other materials and property of any nature belonging to H&R Block. Associate acknowledges that
the Instructor Manual is the sole property of H&R Block.
     c) “Confidential Business Information” means all information learned by Associate as a consequence of Associate’s employment
with the Company, including, but not limited to, H&R Block’s student lists, client lists, information pertaining to H&R Block’s clients,
private or sensitive employee information (such as social security information or birth dates, and information obtained from any
confidential human resources or employee files/records to which Associate may have access), H&R Block’s business development,
marketing plans, product information, business and financial information and plans, tax preparation software and strategies.
“Confidential Business Information” does not include information in the public domain through authorized disclosure by H&R Block or
information that Associate has received prior written authorization by H&R Block to disclose or otherwise use. Confidential Business
Information does include information about the business affairs of third parties (including, but not limited to, the Company’s clients) that
such third parties provide to the Company in confidence.
    d)    The designation of any information as Confidential Business Information does not preclude it from also constituting a Trade
Secret as defined by applicable law. Associate is prohibited from using, disclosing, or misappropriating Trade Secrets of H&R Block at all
times during and after Associate’s employment for so long as such information remains a Trade Secret. Trade Secrets include, among
other things, H&R Block’s client lists and all information pertaining to H&R Block’s clients.
    e) Information shall not be deemed to have lost its status as a Trade Secret or Confidential Business Information as the result of
any unauthorized disclosure by Associate or any other person or third party.




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     f)   Section 7216 of the Internal Revenue Code of 1986, as amended, prohibits the unauthorized use and/or disclosure of
confidential tax return information of the Company’s clients, and Associate agrees that Associate will not at any time disclose or use
such information in violation thereof.
    g)   The restrictions in this Agreement shall supplement, but not replace, any and all obligations Associate owes the Company
under applicable law.

9.   Non-competition.
Associate agrees that during the term of this Agreement, Associate shall not establish or engage in or be employed by (as an
employee or contractor) any business or organization other than H&R Block that engages in the preparation or electronic filing
of tax returns.

10. Non-solicitation.
Associate agrees that during the term of this Agreement and for one (1) year following the voluntary or involuntary
termination of this Agreement (the “Restricted Period”), Associate shall not directly or indirectly solicit or encourage any
student enrolled in the Course at any time during the term of the Course to seek employment with any business or
organization, other than H&R Block, that engages in the preparation or electronic filing of tax returns. Associate further
agrees that during the Restricted Period, Associate shall not hire any student enrolled in the Course to work in any business
or organization other than H&R Block that engages in the preparation filing of tax returns.

11. Remedies.
Associate and the Company agree that if any provision of Section 8, 9, or 10 is violated, the Company will have no adequate remedy at
law and will suffer irreparable loss and damage. The parties further agree that in the event of any such breach or violation, whether
threatened or actual, the Company shall be entitled to injunctive relief to prohibit or restrain such breach or violation in addition to all
other remedies available at law or equity. Associate agrees that no bond need be filed in connection with any request by the Company
for a temporary restraining order or other preliminary injunctive relief. In addition to injunctive relief, Associate acknowledges that the
Company is entitled to damages for any breach of Section 8, 9, or 10. Further, in the event of such breach or violation, Associate shall
pay the Company all costs, reasonable attorneys’ fees, and expenses incurred by the Company in enforcing Sections 8, 9, or 10 of this
Agreement.
Any violation of Section 8, 9, or 10 shall otherwise be resolved in accordance with the arbitration agreement in Section 14, unless
Associate opts out in accordance with Section 14(h).


12. Representations of Associate.
    a) Associate represents that Associate has never had a Form 8633 (Application to Participate in the Electronic Filing
Program) denied by the Internal Revenue Service and has never been suspended or rejected from such program prior to this
Agreement. Associate further represents that Associate has not applied for or been accepted as an Electronic Filer other than
by virtue of an application made through or on behalf of the Company.

    b) Associate represents that all statements made on Associate’s employment application, including those regarding
Associate’s criminal background, are true and accurate.

     c) Associate represents that Associate is not subject to any contract that would prohibit Associate from performing
his/her duties hereunder.

13. Enforcement.
Associate agrees that Company’s failure to require strict compliance with any term, condition, or covenant contained in this Agreement
at any time shall not be deemed a waiver of that or any other term, condition, or covenant contained in this Agreement.


14. Mutual Arbitration Agreement.
     a) Binding Mutual Arbitration. This Mutual Arbitration Agreement in Section 14 (“Arbitration Agreement”) is between Associate
and the Company. Associate and the Company agree that any Covered Claims (defined below) will be resolved by final and binding
arbitration as set forth in this Arbitration Agreement, unless Associate opts out pursuant to Section 14(h) below. Any reference to the
Company in this Section 14 will be a reference also to the Company’s direct or indirect parents, subsidiaries, affiliates, predecessors,
and successor entities, including without limitation any H&R Block business entity for which Associate applied for employment and/or
was employed. This Arbitration Agreement shall be governed by the Federal Arbitration Act (FAA) (9 U.S.C. sections 1 et seq.), and
evidences a transaction involving commerce. This agreement to arbitrate applies with respect to all Covered Claims, whether initiated
by Associate or the Company. All Covered Claims shall be decided by an arbitrator through individual arbitration and not by way of court
or jury trial.
      b) Covered Claims. This Arbitration Agreement is intended to be as broad as legally permissible and to apply to the resolution of
disputes that otherwise could be resolved in a court of law or before a forum other than arbitration. Except for the Excluded Claims
(defined below), Covered Claims include any and all past, present, and future claims or disputes between Associate and the Company,
or the Company’s direct or indirect parents, subsidiaries, affiliates, predecessors, and successor corporations and business entities, and
its and their officers, directors, employees, and agents, including but not limited to claims and disputes arising out of or in any way
relating to Associate’s hiring or recruitment, Associate’s employment, compensation, benefits, and terms and conditions of employment
with the Company, or the termination thereof, including but not limited to contract, tort, defamation and other common law claims,


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wage and hour claims, statutory discrimination, harassment, and retaliation claims, and claims arising under or relating to any federal,
state or local constitution, statute or regulation, including, without limitation, the Fair Labor Standards Act (“FLSA”), Title VII of the Civil
Rights Act of 1964 (“Title VII”), the Age Discrimination in Employment Act (“ADEA”), the Worker Adjustment and Retraining Notification
Act (“WARN”), the Equal Pay Act (“EPA”), the Americans With Disabilities Act (“ADA”), the Family and Medical Leave Act (“FMLA”), the
Fair Credit Reporting Act (“FCRA”), and any and all other federal, state, or local constitutional, statutory, regulatory, or common law
claims or causes of action now or hereafter recognized.
      Further, Covered Claims include any disputes regarding this Arbitration Agreement or any portion of the Arbitration Agreement or
its interpretation, enforceability, applicability, unconscionability, arbitrability or formation, or whether the Arbitration Agreement or any
portion of the Arbitration Agreement is void or voidable, with the exception noted in Section 14(e) below.
     c) Excluded Claims. The following claims and disputes are not subject to arbitration under this Arbitration Agreement: (i)
applications for temporary or preliminary injunctive relief in aid of arbitration or for the maintenance of the status quo pending
arbitration, (ii) claims arising under, relating to or in connection with an employee benefit plan subject to the Employee Retirement
Income Security Act of 1974 (“ERISA”), which shall be determined in accordance with the claims and dispute resolution procedures set
forth in the applicable ERISA plan documents, (iii) claims for workers’ compensation benefits (however, retaliation and discrimination
claims arising out of or relating to claims for workers’ compensation benefits are covered under this Agreement), (iv) claims for
unemployment compensation benefits, and (v) disputes that may not be subject to pre-dispute arbitration as expressly provided by the
Dodd-Frank Wall Street Reform and Consumer Protection Act or other controlling federal statutes. Regardless of any other terms of this
Arbitration Agreement, a claim may be brought before and remedies awarded by an administrative agency if applicable law permits the
agency to adjudicate the claim notwithstanding the existence of an agreement to arbitrate. Such administrative claims include without
limitation claims or charges brought before the Equal Employment Opportunity Commission (www.eeoc.gov), the U.S. Department of
Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of Federal Contract Compliance Programs
(www.dol.gov/esa/ofccp). Nothing in this Arbitration Agreement shall be deemed to preclude or excuse a party from bringing an
administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative remedies before making a claim
in arbitration. The Company will not retaliate against Associate for filing a claim with an administrative agency.
     d) Further Exclusion. This Arbitration Agreement does not apply to any causes of action already pending in court on the date
Associate executes this Agreement, including any class, collective, or representative action, for which Associate is already a member or
potential member of the class, collective, or representative action (“Pending Claims”). This Arbitration Agreement does, however, apply
to any Pending Claims that were filed against the Company before Associate was ever employed with the Company. Additionally, if
Associate previously signed (and did not opt out of) an agreement to arbitrate claims with the Company prior to commencement of a
Pending Claim and that Pending Claim was covered by the previous agreement to arbitrate, that previous agreement to arbitrate would
continue to apply to the Pending Claim, even if Associate opts out pursuant to Section 14(h) below.
     e)   Class and Representative Action Waiver.
TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, ASSOCIATE AND THE COMPANY AGREE THAT NO COVERED CLAIMS MAY
BE INITIATED OR MAINTAINED ON A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION BASIS EITHER IN COURT OR IN
ARBITRATION, AND THAT ASSOCIATE IS NOT ENTITLED TO SERVE OR PARTICIPATE AS A CLASS, COLLECTIVE OR REPRESENTATIVE
ACTION REPRESENTATIVE OR AS A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION MEMBER, OR RECEIVE ANY RECOVERY FROM A
CLASS, COLLECTIVE OR REPRESENTATIVE ACTION INVOLVING COVERED CLAIMS EITHER IN COURT OR IN ARBITRATION.
          THE COMPANY AND ASSOCIATE HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED OR
ARBITRATED AS A CLASS AND/OR COLLECTIVE ACTION (“Class Action Waiver”). Notwithstanding any other clause contained in this
Agreement, the preceding sentence shall not be severable from this Arbitration Agreement in any instance in which the Covered Claim
is brought as a class and/or collective action. To the extent the Class Action Waiver is determined to be invalid, unenforceable, or void,
the class action must proceed in a court of law and not in arbitration.
          THE COMPANY AND ASSOCIATE ALSO HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED OR
ARBITRATED AS A PRIVATE ATTORNEY GENERAL REPRESENTATIVE ACTION (“Representative Action Waiver”). However, this
Representative Action Waiver may be severed if it would otherwise render this Arbitration Agreement unenforceable in any action
brought under a private attorneys general law, and following severance the representative action must be brought in a court of law and
not in arbitration.
          Notwithstanding any other clause of language contained in this Arbitration Agreement and/or any rules or procedures that
might otherwise be applicable by virtue of this Agreement or by virtue of any arbitration organization rules or procedures that now apply
or any amendments and/or modifications to those rules, any claim that this Class Action Waiver or Representative Action Waiver, or any
portion of this Class Action Waiver or Representative Action Waiver, is unenforceable, inapplicable, unconscionable, or void or voidable,
shall be determined only by a court of competent jurisdiction and not by an arbitrator.
     f) Selection and Rules. The parties shall select the neutral arbitrator and/or arbitration sponsoring organization by mutual
agreement. If the parties cannot mutually agree to an arbitrator and/or arbitration sponsoring organization, the arbitration will be held
under the auspices of the American Arbitration Association (“AAA”), and except as provided in this Arbitration Agreement, shall be under
the then current Employment Arbitration Rules of the AAA (“AAA Rules”) (the AAA Rules are available through the Company’s Human
Resources Department or via the internet at www.adr.org/employment or by using a service such as www.google.com to search for
“AAA Employment Arbitration Rules”.) To the extent any of the terms, conditions or requirements of this Arbitration Agreement conflict
with the AAA Rules, the terms, conditions or requirements of this Arbitation Agreement shall govern. Unless the parties jointly agree
otherwise, the Arbitrator shall be an attorney experienced in employment law and licensed to practice law in the state in which the
arbitration is convened, or a retired judge from any jurisdiction (the "Arbitrator"). Unless the parties jointly agree otherwise, the
arbitration shall take place in or near the city in which Associate is or was last employed by the Company. In the event the parties
mutually choose a sponsoring organization, or AAA is designated, the Arbitrator shall be selected as follows: The selected organization
shall furnish a list of eleven (11) arbitrators from which the parties shall strike alternately, with the party striking first to be determined




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by a coin toss, until only one name remains. That person shall be designated as the Arbitrator. If for any reason, that person cannot
serve, the selected organization shall issue another list of eleven (11) arbitrators and repeat the selection process.
     The Arbitrator is required to issue a written award and opinion, and any judgment or award issued by an arbitrator may be entered
in any court of competent jurisdiction. The arbitration shall be subject to the same burdens of proof and statutes of limitations as if the
Covered Claim was being heard in federal district court, and the parties may file and the arbitrator shall hear and decide at any point in
the proceedings motions to compel discovery, motions for protective orders, motions to dismiss, motions for summary judgment, and
motions in limine. No arbitration award or decision shall have any preclusive effect as to any issues or claims in any dispute, arbitration
or court proceeding where any party was not a named party in the arbitration, unless and except as permitted by applicable law.
     g) Remedies. Subject to the parties’ right to seek correction, modification, or vacatur under the FAA, Associate and the Company
agree that the award of the arbitrator will be final and binding on the parties and that the arbitrator may award any party any remedy
to which that party is entitled under applicable law, but such remedies shall be limited to those that would be available to a party in his
or her individual capacity in a court of law for the claims presented to and decided by the arbitrator, and no remedies that otherwise
would be available to an individual in a court of law will be forfeited by virtue of this Arbitration Agreement. Each party will pay the fees
for his, her or its own attorneys, subject to any remedies to which that party may later be entitled under applicable law. The Company
shall be responsible for all arbitration filing fees, forum fees, and fees of the arbitrator.
     h) Arbitration Opt-Out. Associate may opt-out of this Arbitration Agreement in Section 14 by submitting a signed written
statement that Associate wishes to opt-out and not be subject to this Arbitration Agreement in Section 14. In order to be effective, the
written statement must include Associate’s full name, address, and employee ID number, and must be submitted to H&R Block-Legal
Department, Attention: Arbitration Opt-Out, One H&R Block Way, Kansas City, Missouri 64105 within thirty (30) days of
Associate's signing of this Agreement. Associate’s written opt-out of the Arbitration Agreement will override Associate’s signature below
regarding arbitration for purposes of Section 14, but no other provision of this Agreement or prior or future arbitration agreements
between Associate and the Company. Any associate choosing to opt-out of the Arbitration Agreement will not be subject to any adverse
employment action as a consequence of that decision.
15. Severability.
Except as set forth in Section 14, above, the provisions of this Agreement shall be severable. If any provision hereof shall be
determined to be legally unenforceable or void, such unenforceable or void provision shall not affect the legality, validity or enforceability
of the remaining provisions hereof. If the Class or Representative Action Waiver set forth in Section 14(e) is determined to be invalid,
unenforceable, or void with respect to any Covered Claim, the Waiver shall remain effective and enforceable with respect to all other
Covered Claims.
16. Survival; Assignability.
The parties agree that the covenants and agreements contained in Sections 8 through 18, including the Arbitration Agreement in
Section 14, shall survive the termination of this Agreement and/or the termination of Associate’s employment and shall, likewise,
continue to apply and be valid notwithstanding any change in Associate’s duties, responsibilities, position, or title, and/or the expiration
of any benefit. This Agreement is assignable by the Company to any other party without notice to, consent by, or approval by
Associate. Associate shall not assign this Agreement. This Agreement shall inure to the benefit of the successors and assigns of the
Company.
17. Notices.
All notices required to be given hereunder shall be in writing and shall be deemed served and delivered for all purposes if
delivered in person; if delivered by e-mail or fax (with confirmation of delivery); or if mailed, postage prepaid, to Associate at
the above-stated address or to the Company at the principal office for the district of employment, except as noted in Section
14(h). Any notice given by mail shall be deemed given as of the date mailed and postmarked or received by a nationally
recognized overnight courier for delivery.

18. Entire Agreement.
The foregoing is the entire agreement between the Company and Associate as to the terms and conditions of Associate’s
employment and the subject matter of each of the paragraphs and subparagraphs of this Agreement, and no amendment of
this Agreement shall be effective unless in writing and signed by the parties or is by order of a duly-appointed arbitrator or,
where permitted by Section 14, by a court of competent jurisdiction.

IN WITNESS WHEREOF, the parties have executed this Agreement on the day and year first above written.

By checking the sign and submit button, you are indicating your agreement to the above terms and conditions, including but
not limited to the Arbitration Agreement and Class and Representative Action Waiver in Section 14 and Arbitration Opt-Out in
Section 14(h). THIS EMPLOYMENT AGREEMENT CONTRACT CONTAINS A BINDING ARBITRATION PROVISION WHICH MAY
BE ENFORCED BY THE PARTIES. Checking the button will serve as your electronic signature. Once you have checked that
button, a signature date will display in this document, below.


 /s/__________________________                      HRB Resources LLC                                       11/25/2014
                                                                                            Date Signed:__________________
     Associate                                 /s/__________________________
                                                  Company




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                  EXHIBIT C
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7. Termination.
   a) Subject to Section 19 below, and notwithstanding the above-described Term, either party may
terminate this Agreement upon seven (7) days prior written notice.
    b) Subject to Section 19 below, the Company may terminate this Agreement and the employment
of Associate without notice upon a determination by the Company that Cause exists for termination.
For purposes of this Agreement, “Cause” includes, but is not limited to, the following:
       (1) Associate’s unsatisfactory performance as determined by the Company;
     (2) Associate’s misconduct that interferes with or prejudices the proper conduct of the
Company’s business or which may reasonably result in harm to the reputation of the Company;
        (3) Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material
violation of Company policies including, but not limited to, the H&R Block Code of Business Ethics &
Conduct;
       (4) Associate’s violation of any term of this Agreement or Associate’s stated intention to violate
any term of this Agreement;
       (5) Associate’s failure to meet the criteria for any Company-mandated background check;
       (6) Associate’s conviction of or plea of guilty or no contest to a crime of dishonesty or theft
during or prior to Associate’s employment (subject to state law);
       (7) Associate’s misrepresentation on the employment application or in this Agreement; or
       (8) Associate’s failure to secure a Preparer Tax Identification Number (PTIN) in accordance with
IRS regulations and Company requirements.
    c) “Cause” also includes: (i) Associate’s violation of any term of any prior employment agreement
between Associate and the Company, (ii) fraud or theft by Associate during any prior period of
employment with the Company, and (iii) material violation of any Company policy, including the H&R
Block Code of Business Ethics & Conduct, by Associate during any prior period of employment with the
Company.
8. Confidential Information.
Associate will be given access to Trade Secrets and other Confidential Business Information which has
commercial value to the Company and its affiliates (together referred to as “H&R Block”) the
confidential nature of all such information is acknowledged by Associate. In consideration for the
Company providing this access, and as a material term of this Agreement, Associate gives the Company
the covenants contained in Sections 8, 9, 10, and 11 of this Agreement. Associate agrees and
acknowledges as follows:
    a) Without the Company’s prior written authorization, Associate will not directly or indirectly: (i)
misappropriate, make copies of, or remove from H&R Block’s offices any Confidential Business
Information of H&R Block, (ii) make known, divulge, or communicate to any person or entity any
Confidential Business Information of H&R Block, or (iii) use any Confidential Business Information of
H&R Block for any reason other than as necessary to enable Associate to properly perform Associate’s
duties. Nothing in this Agreement, including the foregoing, prevents Associate from communicating
with the Equal Employment Opportunity Commission, the Securities and Exchange Commission, the
Department of Labor, or any other governmental authority, making a report in good faith and with a
reasonable belief of any violations of law or regulation to a governmental authority, or cooperating with
or participating in a legal proceeding relating to such violations; provided, however, that to the extent
allowed by law, Associate will give the Company as much written notice as possible under the
circumstances and will cooperate with the Company in any legal action undertaken to protect the
confidentiality of the information.
     b) Upon cessation of employment, Associate will promptly deliver to the Company the originals and
all copies of Confidential Business Information and other materials and property of any nature belonging
to H&R Block.


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    c) “Confidential Business Information” means all information learned by Associate as a
consequence of Associate’s employment with the Company, including, but not limited to, H&R Block’s
client lists, information pertaining to H&R Block’s clients, private or sensitive employee information
(such as social security information or birth dates, and information obtained from any confidential
human resources or employee files/records to which Associate may have access), and H&R Block’s tax
preparation software. “Confidential Business Information” does not include information in the public
domain through authorized disclosure by H&R Block or information that Associate has received prior
written authorization by H&R Block to disclose or otherwise use. Confidential Business Information does
include information about the business affairs of third parties (including, but not limited to, the
Company’s clients) that such third parties provide to the Company in confidence. Confidential Business
Information does not include information lawfully acquired by a non-management employee about
wages, hours or other terms and conditions of non-management employees if used by them for
purposes protected by §7 of the National Labor Relations Act (the NLRA) such as joining or forming a
union, engaging in collective bargaining, or engaging in other concerted activity for their mutual aid or
protection.
    d) The designation of any information as Confidential Business Information does not preclude it
from also constituting a Trade Secret as defined by applicable law. Associate is prohibited from using,
disclosing, or misappropriating Trade Secrets of H&R Block at all times during and after Associate’s
employment for so long as such information remains a Trade Secret. Trade Secrets include, among
other things, H&R Block’s client lists and all information pertaining to H&R Block’s clients. For Associates
employed in the states of Arkansas, Wisconsin, Connecticut, and Montana, the foregoing limitation on
the use or disclosure of Confidential Business Information will only apply for three (3) years after the
end of Associate’s employment as to information that does not qualify as a Trade Secret.
    e) Information will not be deemed to have lost its status as a Trade Secret or Confidential Business
Information as the result of any unauthorized disclosure by Associate or any other person or third party.
   f) Section 7216 of the Internal Revenue Code of 1986, as amended, prohibits the unauthorized
use and/or disclosure of confidential tax return information of the Company’s clients, and Associate
agrees that Associate will not at any time disclose or use such information in violation thereof.
   g) The restrictions in this Agreement will supplement, but not replace, any and all obligations
Associate owes the Company under applicable law.
9. Extent of Services.
Associate agrees that during the term of Associate’s employment Associate will not directly or indirectly:
   a) Compete with the Company at any location or in any capacity by:
        (1) preparing or electronically filing tax returns or providing any other product or service that
the Company offers in the Associate’s district of employment (for example, bookkeeping if provided in
the district); or
       (2) soliciting or accepting any of the Company’s clients for the aforementioned services.
   b) Be an Electronic Return Originator (“ERO”) with the IRS.
Associate agrees and accepts as a condition of employment that during the term of Associate’s
employment all tax returns Associate prepares, including any returns Associate prepares for friends and
family, but excluding Associate’s own return, must be processed through the Company in accordance
with Company policies and procedures as returns prepared by the Company. Associate may prepare
and electronically file Associate’s own tax return free of charge.
Associate will not be in violation of Section 9(a)(1) if providing the prohibited services for an H&R Block
franchise.
10. Post-Termination Covenants.
   a) Associate covenants that for two (2) years following the cessation of Associate’s employment
hereunder for any reason (the “Restricted Period”), Associate will not directly or indirectly:



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         (1) Provide any of the following services to any Company Client: (i) preparation of tax returns;
(ii) electronic filing of tax returns; or (iii) any Alternative Products or Services; or
        (2) Solicit Company Clients for the purpose of offering to such clients: (i) tax return preparation
services; (ii) electronic filing of tax returns; or (iii) any Alternative Products or Services.
   b) Associate agrees that the Restricted Period for each of the above covenants will be tolled
during (i) any period(s) of violation that occur during the original Restricted Period; and (ii) any
period(s) of time required by litigation to enforce the covenant (other than any periods during
which Associate is enjoined from engaging in the prohibited activity and is in compliance with
such order of enjoinment) provided that the litigation is filed within one year following the end of
the original Restricted Period.
    c) For purposes of this Section 10, “Company Clients” is defined as every person or entity      whose
federal or state tax return was prepared or electronically transmitted by Associate, or for         whom
Associate provided any Alternative Products or Services, during the term of this Agreement or       during
any period of time in which Associate was employed by the Company or an affiliate during the        twelve
(12) months immediately preceding the effective date of this Agreement.
   d) For purposes of this Section 10, “Alternative Products or Services” means products or services,
other than the preparation or electronic filing of tax returns, that the Company provides to clients within
Associate’s district of employment (for example, bookkeeping if provided in such district).
    e) In the event a duly appointed arbitrator (or where permitted under Section 17, a court of
competent jurisdiction) finds the time period, geographic scope, scope of activity, or any definition
contained in this Section 10 to be overly broad, the time period, geographic scope, scope of activity, or
definition that such arbitrator or court deems reasonable shall be substituted for the language in this
Agreement (where allowed by applicable law).
   f) Associate will not be in violation of Section 10(a)(1) if providing the prohibited services for an
H&R Block franchise.
   g) Sections 10(a) and (b) are not applicable to associates employed in the state of North Dakota.
   h) Section 10(b) is not applicable to associates employed in the states of Georgia or Wisconsin.
   i) For Associates employed in the state of Arizona or Puerto Rico, the Restricted Period in Section
10(a) will be one (1) year following the cessation of Associate’s employment.
    j)   For Associates employed in the state of Louisiana, Sections 10(a)(1) and (2) are limited within
the state of Louisiana to the Parishes in which Associate assisted Company in providing its products and
services, and Parishes adjacent to such Parishes (or counties of adjacent states), as identified in
Attachment A to this Agreement; provided, however, that nothing in this Agreement may be construed
to prohibit the enforcement of Sections 10(a)(1) and (2) in accordance with their terms in states
outside of Louisiana.
11. Nonsolicitation of Employees.
     a) Associate covenants that during Associate’s employment hereunder and for one (1) year
following the cessation of such employment for any reason, Associate will not, directly or indirectly,
solicit or hire Company Employees to work in any business that provides any product or services in
competition with the Company.
    b) For purposes of this Agreement, “Company Employees” mean persons employed by the
Company or its affiliates at the time of the solicitation or hiring or at any time during the term of this
Agreement. Where required by applicable law to be enforceable, the foregoing restriction will only apply
to Company Employees employed by Company or its affiliates within the District identified in Section 1.
     c) Section 11(a) is not applicable to associates employed in the state of Wisconsin. Associates
employed in Wisconsin covenant that during Associate’s employment hereunder and for one (1) year
following the cessation of such employment for any reason, Associate will not, directly or indirectly,
solicit Company Employees to terminate their employment with the Company.



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12. Remedies.
The parties agree that if any provision of Section 8, 9, 10, or 11 is violated, the Company will have no
adequate remedy at law and will suffer irreparable loss and damage. The parties further agree that in
the event of any such breach or violation, whether threatened or actual, the Company will be entitled to
injunctive relief to prohibit or restrain such breach or violation in addition to all other remedies available
at law or equity. Associate agrees that no bond need be filed in connection with any request by the
Company for a temporary restraining order or other preliminary injunctive relief. In addition to
injunctive relief, Associate acknowledges that the Company is entitled to damages for any breach of
Section 8, 9, 10, or 11. Further, in the event of such breach or violation, Associate shall pay the
Company all costs, reasonable attorneys’ fees, and expenses incurred by the Company in enforcing
Sections 8, 9, 10, or 11 of this Agreement. Further, Associate acknowledges that damages for breach of
Section 9 are difficult, if not impossible, to establish and Associate therefore agrees to liquidated
damages as set forth below. Associate acknowledges and agrees that these sums are a reasonable
forecast of the harm caused by the breach in light of the anticipated or actual loss caused by a breach
and the difficulties of proof of loss. Associate agrees that this liquidated damages provision shall not be
construed as a payment to avoid Associate’s obligations under Section 8, 9, 10, or 11 hereof and further
agrees that the Company shall be entitled to injunctive relief in addition to enforcement of this
liquidated damages provision.
In the event Associate breaches Section 9 of this Agreement, Associate will pay to Company a lump
sum of $1,000 per tax season of employment up to a $10,000 maximum (a partial tax season will be
counted as a tax season).
Any violation of Section 8, 9, 10, or 11 will otherwise be resolved in accordance with the arbitration
agreement in Section 17, unless Associate opts out in accordance with Section 17(h).
13. Agreement Regarding Products and Services of H&R Block, H&R Block Bank, and BofI
Federal Bank.
Associate agrees to comply with the following conditions in offering the H&R Block Emerald Advance®
Line of Credit, H&R Block Emerald Savings®, H&R Block Emerald Prepaid MasterCard®, Refund
Anticipation Checks, Refund Anticipation Loans, credit cards, individual retirement accounts, and other
H&R Block-branded bank products and services and in offering other financial products and services of
any other financial institution or consumer finance company with which H&R Block partners to offer
these products and services. Associate will comply with all H&R Block and BofI Federal Bank Operating
Policies and Procedures and required training related to the above products prior to conducting any
facilitation marketing, solicitation, customer service or credit service organization activities. Associate
acknowledges that H&R Block Bank, BofI Federal Bank, and other financial institutions have the right to
monitor, review, and audit activities Associate performs in connection with such entities’ respective
products and services. Associate acknowledges that the primary federal regulator of H&R Block Bank
and BofI Federal Bank (the Office of the Comptroller of the Currency) and H&R Block’s primary regulator
for banking purposes (the Federal Reserve) have the authority to regulate, examine, and take
enforcement action against the Company, its affiliates, H&R Block Bank, and BofI Federal Bank with
respect to the activities performed in connection with H&R Block Bank’s and BofI Federal Bank’s
products or services, and Associate acknowledges that federal and state banking and consumer
products regulators may have the authority to regulate, examine, and take enforcement action against
the Company and its affiliates and other financial institutions with respect to certain activities performed
in connection with these products or services.
14. Tax Preparer Penalties.
As a condition of employment, Associate agrees to provide to the Company, immediately upon receipt, a
copy of any notice or communication Associate receives from the Internal Revenue Service or any state
taxing authority related to Associate’s tax preparation practices or tax preparer penalties proposed or
assessed against Associate. Associate further agrees to authorize the Internal Revenue Service or state
taxing authority to share with the Company and its affiliates all notices and communications related to
the proposed or assessed penalties. Associate expressly acknowledges and agrees that Associate may
be personally responsible for paying preparer penalties assessed by the Internal Revenue Service or
state taxing authority.

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15. Representations of Associate.
    a) Associate represents that Associate has never had a Form 8633 (Application to Participate in the
Electronic Filing Program) denied by the Internal Revenue Service and has never been suspended or
rejected from such program prior to this Agreement. Associate further represents that Associate has
not currently applied for or been accepted as an Electronic Filer other than by virtue of any application
made through or on behalf of the Company.
    b) Associate represents that all statements made on Associate’s employment application, including
those regarding Associate’s criminal background, are true and accurate.
    c) Associate represents that Associate is not subject to any contract that would prohibit
performance of his/her duties.
16. Enforcement.
Associate agrees that the Company’s failure to require strict compliance with any term, condition, or
covenant contained in this Agreement at any time will not be deemed a waiver of that or any other
term, condition, or covenant contained in this Agreement.
17. Mutual Arbitration Agreement.
    a) Binding Mutual Arbitration. This Mutual Arbitration Agreement in Section 17 (“Arbitration
Agreement”) is between Associate and the Company. Associate and the Company agree that any
Covered Claims (defined below) will be resolved by final and binding arbitration as set forth in this
Arbitration Agreement, unless Associate opts out pursuant to Section 17(h) below. Any reference to the
Company in this Section 17 will be a reference also to the Company’s direct or indirect parents,
subsidiaries, affiliates, predecessors, and successor entities, including without limitation any H&R Block
business entity for which Associate applied for employment and/or was employed. This Arbitration
Agreement will be governed by the Federal Arbitration Act (FAA) (9 U.S.C. sections 1 et seq.), and
evidences a transaction involving commerce. This agreement to arbitrate applies with respect to all
Covered Claims, whether initiated by Associate or the Company. All Covered Claims will be decided
by an arbitrator through individual arbitration and not by way of court or jury trial.
    b) Covered Claims. This Arbitration Agreement is intended to be as broad as legally permissible
and to apply to the resolution of disputes that otherwise could be resolved in a court of law or before a
forum other than arbitration. Except for the Excluded Claims (defined below), Covered Claims include
any and all past, present, and future claims or disputes between Associate and the Company, or the
Company’s direct or indirect parents, subsidiaries, affiliates, predecessors, and successor corporations
and business entities, and its and their officers, directors, employees, and agents, including but not
limited to claims and disputes arising out of or in any way relating to Associate’s hiring or recruitment,
Associate’s employment, compensation, benefits, and terms and conditions of employment with the
Company, or the termination thereof, including but not limited to contract, tort, defamation and other
common law claims, wage and hour claims, statutory discrimination, harassment, and retaliation claims,
and claims arising under or relating to any federal, state or local constitution, statute or regulation,
including, without limitation, the Fair Labor Standards Act (“FLSA”), Title VII of the Civil Rights Act of
1964 (“Title VII”), the Age Discrimination in Employment Act (“ADEA”), the Worker Adjustment and
Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the Americans With Disabilities Act
(“ADA”), the Family and Medical Leave Act (“FMLA”), the Fair Credit Reporting Act (“FCRA”), and any
and all other federal, state, or local constitutional, statutory, regulatory, or common law claims or
causes of action now or hereafter recognized.
    Further, Covered Claims include any disputes regarding this Arbitration Agreement or any portion of
the Arbitration Agreement or its interpretation, enforceability, applicability, unconscionability, arbitrability
or formation, or whether the Arbitration Agreement or any portion of the Arbitration Agreement is void
or voidable, with the exception noted in Section 17(e) below.
    c) Excluded Claims. The following claims and disputes are not subject to arbitration under this
Arbitration Agreement: (i) applications for temporary or preliminary injunctive relief in aid of arbitration
or for the maintenance of the status quo pending arbitration, (ii) claims arising under, relating to or in
connection with an employee benefit plan subject to the Employee Retirement Income Security Act of
1974 (“ERISA”), which will be determined in accordance with the claims and dispute resolution
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procedures set forth in the applicable ERISA plan documents, (iii) claims for workers’ compensation
benefits (however, retaliation and discrimination claims arising out of or relating to claims for workers’
compensation benefits are covered under this Agreement), (iv) claims for unemployment compensation
benefits, and (v) disputes that may not be subject to pre-dispute arbitration as expressly provided by
the Dodd-Frank Wall Street Reform and Consumer Protection Act or other controlling federal statutes.
Regardless of any other terms of this Arbitration Agreement, a claim may be brought before and
remedies awarded by an administrative agency if applicable law permits the agency to adjudicate the
claim notwithstanding the existence of an agreement to arbitrate. Such administrative claims include
without limitation claims or charges brought before the Equal Employment Opportunity Commission
(www.eeoc.gov), the U.S. Department of Labor (www.dol.gov), the National Labor Relations Board
(www.nlrb.gov), or the Office of Federal Contract Compliance Programs (www.dol.gov/esa/ofccp).
Nothing in this Arbitration Agreement will be deemed to preclude or excuse a party from bringing an
administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative
remedies before making a claim in arbitration. The Company will not retaliate against Associate for filing
a claim with an administrative agency or for exercising rights (individually or in concert with others)
under Section 7 of the National Labor Relations Act.
    d) Further Exclusion. This Arbitration Agreement does not apply to any lawsuits between Associate
and the Company already pending in court on the date Associate executes this Agreement, including
any class, collective, or representative action, for which Associate is already a member or potential
member of the class, collective, or representative action (“Pending Claims”). However, if Associate
previously signed (and did not opt out of) an agreement to arbitrate claims with the Company prior to
commencement of a Pending Claim and that Pending Claim was covered by the previous agreement to
arbitrate, that previous agreement to arbitrate would continue to apply to the Pending Claim, even if
Associate opts out pursuant to Section 17(h) below.
   e) Class and Representative Action Waiver.
THE COMPANY AND ASSOCIATE AGREE TO BRING ANY DISPUTE IN ARBITRATION ON AN INDIVIDUAL
BASIS ONLY, ACCORDINGLY:
            THE COMPANY AND ASSOCIATE HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE
    BROUGHT, HEARD, DECIDED OR ARBITRATED AS A CLASS AND/OR COLLECTIVE ACTION AND
    THE ARBITRATOR WILL HAVE NO AUTHORITY TO HEAR OR PRESIDE OVER ANY SUCH CLAIM
    (“Class Action Waiver”). Notwithstanding any other clause contained in this Agreement, the
    preceding sentence will not be severable from this Arbitration Agreement in any instance in
    which the Covered Claim is brought as a class and/or collective action. To the extent the Class
    Action Waiver is determined to be invalid, unenforceable, or void, the class action must
    proceed in a court of law and not in arbitration.
             THE COMPANY AND ASSOCIATE ALSO HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE
    TO BE BROUGHT, HEARD, DECIDED OR ARBITRATED AS A PRIVATE ATTORNEY GENERAL
    REPRESENTATIVE ACTION AND THE ARBITRATOR WILL HAVE NO AUTHORITY TO HEAR OR
    PRESIDE UNDER ANY SUCH CLAIM (“Representative Action Waiver”). The Representative
    Action Waiver does not apply to any claim Associate brings in arbitration as a private attorney
    general solely on Associate’s own behalf and not on behalf of or regarding others. The
    Representative Action Waiver will be severable from this Agreement in any case in which there
    is a final judicial determination that the Representative Action Waiver is invalid,
    unenforceable, unconscionable, void or voidable. In such instances and where the claim is
    brought as a private attorney general, such private attorney general claim must be litigated in
    a civil court of competent jurisdiction, but all other provisions of this Agreement and Arbitration
    Agreement, including without limitation the Class Action Waiver, will continue to apply.
       Notwithstanding any other clause of language contained in this Arbitration Agreement and/or
any rules or procedures that might otherwise be applicable by virtue of this Agreement or by virtue of
any arbitration organization rules or procedures that now apply or any amendments and/or
modifications to those rules, any claim that this Class Action Waiver or Representative Action Waiver, or
any portion of this Class Action Waiver or Representative Action Waiver, is unenforceable, inapplicable,
unconscionable, or void or voidable, will be determined only by a court of competent jurisdiction and not
by an arbitrator.
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     f) Selection and Rules. The parties will select the neutral arbitrator and/or arbitration sponsoring
organization by mutual agreement. If the parties cannot mutually agree to an arbitrator and/or
arbitration sponsoring organization, the arbitration will be held under the auspices of the American
Arbitration Association (“AAA”), and except as provided in this Arbitration Agreement, shall be under the
then current Employment Arbitration Rules of the AAA (“AAA Rules”) (the AAA Rules are available
through the Company’s Human Resources Department or via the internet at www.adr.org/employment
or by using a service, such as www.google.com, to search for “AAA Employment Arbitration Rules”). To
the extent any of the terms, conditions or requirements of this Arbitration Agreement conflict with the
AAA Rules, the terms, conditions or requirements of this Arbitation Agreement shall govern. Unless the
parties jointly agree otherwise, the Arbitrator will be an attorney experienced in employment law and
licensed to practice law in the state in which the arbitration is convened, or a retired judge from any
jurisdiction (the "Arbitrator"). Unless the parties jointly agree otherwise, the arbitration will take place
in or near the city in which Associate is or was last employed by the Company. In the event the parties
mutually choose a sponsoring organization, or AAA is designated, the Arbitrator will be selected as
follows: The selected organization shall furnish a list of eleven (11) arbitrators from which the parties
shall strike alternately, with the party striking first to be determined by a coin toss, until only one name
remains. That person will be designated as the Arbitrator. If for any reason, that person cannot serve,
the selected organization will issue another list of eleven (11) arbitrators and repeat the selection
process.
    The Arbitrator is required to issue a written award and opinion, and any judgment or award issued
by an arbitrator may be entered in any court of competent jurisdiction. The arbitration will be subject to
the same burdens of proof and statutes of limitations as if the Covered Claim was being heard in federal
district court, and the parties may file and the arbitrator will hear and decide at any point in the
proceedings motions to compel discovery, motions for protective orders, motions to dismiss, motions for
summary judgment, and motions in limine. No arbitration award or decision will have any preclusive
effect as to any issues or claims in any dispute, arbitration or court proceeding where any party was not
a named party in the arbitration, unless and except as permitted by applicable law.
     g) Remedies and Fees. Subject to the parties’ right to seek correction, modification, or vacatur
under the FAA, Associate and the Company agree that the award of the arbitrator will be final and
binding on the parties and that the arbitrator may award any party any remedy to which that party is
entitled under applicable law, but such remedies will be limited to those that would be available to a
party in his or her individual capacity in a court of law for the claims presented to and decided by the
arbitrator, and no remedies that otherwise would be available to an individual in a court of law will be
forfeited by virtue of this Arbitration Agreement. The Arbitration shall apply the substantive law
including, but not limited to, applicale statutes of limitations (and the law of remedies, if applicable) of
the state in which the claim arose, or federal law, or both, as applicable to the claims(s) asserted. The
Arbitrator is without jurisdiction to apply any different substantive law or law of remedies. Each party
will pay the fees for his, her or its own attorneys, subject to any remedies to which that party may later
be entitled under applicable law. The Company will be responsible for all arbitration filing fees, forum
fees, and fees of the arbitrator.
    h) Arbitration Opt-Out. Associate may opt-out of this Arbitration Agreement in Section 17 by
submitting a signed written statement that Associate wishes to opt-out and not be subject to this
Arbitration Agreement in Section 17. In order to be effective, the written statement must include
Associate’s full name, address, and employee ID number, and must be submitted to H&R Block-Legal
Department, Attention: Arbitration Opt-Out, One H&R Block Way, Kansas City, Missouri
64105 within thirty (30) days of Associate's signing of this Agreement. Associate’s written opt-out of
the Arbitration Agreement will override Associate’s signature below regarding arbitration for purposes of
Section 17, but no other provision of this Agreement or prior or future arbitration agreements between
Associate and the Company. Any associate choosing to opt-out of the Arbitration Agreement will not be
subject to any adverse employment action as a consequence of that decision.
18. Severability.
Except as set forth in Section 17, above, the provisions of this Agreement shall be severable. If any
provision hereof shall be determined to be legally unenforceable or void, such unenforceable or void
provision will not affect the legality, validity or enforceability of the remaining provisions hereof. If the

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Class or Representative Action Waiver set forth in Section 17(e) is determined to be invalid,
unenforceable, or void with respect to any Covered Claim, the Waiver shall remain effective and
enforceable with respect to all other Covered Claims.
19. Survival; Assignability.
Notwithstanding any language to the contrary in this Agreement, the parties agree that the covenants
and agreements contained in Sections 8 through 21, including the Arbitration Agreement in Section 17,
will survive the termination of this Agreement and/or the termination of Associate’s employment and
will, likewise, continue to apply and be valid notwithstanding any change in Associate’s duties,
responsibilities, position, or title, and/or the expiration of any benefit. This Agreement is assignable by
the Company to any other party without notice to, consent by, or approval by Associate. Associate shall
not assign this Agreement. This Agreement will inure to the benefit of the successors and assigns of the
Company.
20. Notices.
All notices required to be given hereunder shall be in writing and will be deemed served and delivered
for all purposes if delivered in person; if delivered by e-mail or fax (with confirmation of delivery); or if
mailed, postage prepaid, to Associate at the above-stated address or to the Company at the principal
office for the district of employment, except as noted in Section 17(h). Any notice given by mail shall
be deemed given as of the date mailed and postmarked or received by a nationally recognized
overnight courier for delivery.
21. Entire Agreement.
The foregoing is the entire Agreement between the parties as to the terms and conditions of Associate’s
employment and the subject matter of each of the paragraphs and subparagraphs of this Agreement,
and no amendment of this Agreement will be effective unless in writing and signed (written or
electronic) by the parties or is by order of a duly-appointed arbitrator or, where permitted by Section 17,
by a court of competent jurisdiction. Associate understands and agrees to the use of an
electronic method of signature to demonstrate acceptance and agreement to the terms of
this Agreement.


IN WITNESS WHEREOF, the parties have executed this Agreement on the day and year noted
below.

By checking the sign and submit button, you are indicating your agreement to the above terms
and conditions, including but not limited to the Arbitration Agreement and Class and
Representative Action Waiver in Section 17. THIS EMPLOYMENT AGREEMENT CONTRACT
CONTAINS A BINDING ARBITRATION PROVISION WHICH MAY BE ENFORCED BY THE
PARTIES. Checking the button will serve as your electronic signature. Once you have checked
that button, a signature date will display in this document, below.


                                                                         Date
 /s/____________________             /s/____________________
                                         HRB Resources LLC
                                                                         Signed:_______________
                                                                                11/25/2014
 Associate                              Company




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                  EXHIBIT D
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                                 TAX PROFESSIONAL EMPLOYMENT AGREEMENT
This Agreement is made between ________________________________________
                                           Colleen Rebecca Griffith     of __________________________________________,
                                                                                           232 Brakel Lane

                                                         (Name)                                      (Number & Street or Box No.)

______________________________,
             Media              __________________
                                        PA         _________________
                                                          19063      ("Associate"), and _____________________________,
                                                                                             H&R Block Eastern Enterprises

                (City)                         (State)                 (Zip )

(“the Company”). These parties, in consideration of the covenants and agreements set forth below, agree as follows:

1. Employment.

The      Company       employs      Associate     as      a    _____________________________________
                                                                                Tax Pro II                    in    the    Company's
_____________________________________
                SPRINGFIELD, PA                District, Admin. ID# _____________________,
                                                                             36500            for the period and upon the terms and
conditions herein contained. Associate hereby accepts such employment and agrees to comply with such terms and conditions.

2. Term.

The term of this Agreement begins on the earlier of the following dates: the date Associate first attends Skills to Win training; the date
Associate attends any other paid training; or December 1, 2011. The term of this Agreement shall end on April 18, 2012.

3. Duties.

Associate's duties consist of attending Skills to Win training, mid-season training, and other mandatory training, preparing accurate tax
returns and offering electronic filing of returns to qualifying taxpayers, promoting and providing additional or alternative products or services
which the Company or its affiliates may offer, providing other information to clients that may be relevant to their tax and financial situation,
and performing other duties as assigned, all in accordance with the law and the Company's policies and procedures, including the H&R Block,
Inc. Code of Business Ethics & Conduct. Associate acknowledges that it is outside the scope of Associate's employment hereunder and is
against the rules of the Company for Associate to offer any financial advice for which a license is required.

4. Compensation.

The Company shall pay Associate an hourly rate of pay, the amount of which shall be determined by the Company labor code assigned to a
specific project or task. Different projects or tasks are assigned different pay rates and the Company reserves the right to revise such rates
at any time. Under no circumstance shall the hourly rate for any work performed be less than the federal or applicable state minimum wage.
Associate shall be paid overtime in accordance with federal and applicable state wage and hour laws.

5. Withholdings and Offsets.

The Company shall withhold from all compensation payable to associate all required federal, state, and local taxes. Associate agrees that if
Associate fails to turn over all Company funds as required by Company policy or becomes indebted to the Company, the Company may,
subject to applicable laws, offset the amount of any such funds or indebtedness against any compensation due Associate.

6. Hours.

Associate's hours of employment will be as from time to time designated by the Company. Associate understands the seasonal nature and
fluctuation of the Company's business and acknowledges the Company's exclusive right to reduce or increase Associate's hours of
employment based on business needs. Associate recognizes and agrees that there may be pay periods during which Associate is not
assigned any hours of employment. Associate agrees to be available to work until the end date of this Agreement. Associate hereby
expressly acknowledges and agrees to abide by the Company's timekeeping policies by accurately recording all hours worked.

7. Termination.

   a)   Notwithstanding the above-described Term, either party may terminate this Agreement upon seven (7) days prior written notice.

    b)   Furthermore, the Company may terminate this Agreement and the employment of Associate without notice upon a determination by
the Company that Cause exists for such termination. For purposes of this Agreement, “Cause” shall include, but is not limited to, the
following:

        1)    Associate’s unsatisfactory performance as determined by the Company;

         2)    Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material violation of Company policies
including, but not limited to, the H&R Block, Inc. Code of Business Ethics & Conduct;

        3)    Associate’s violation of any term of this Agreement or Associate’s stated intention to violate any term of this Agreement;

        4)    Associate’s failure to meet the criteria for any Company-mandated background check;

       5)   Associate’s conviction of or plea of guilty or no contest to a crime of dishonesty or theft during or prior to Associate’s
employment (subject to state law);

        6)    Associate’s misrepresentation on the employment application or in this Agreement; or

      7)    Associate’s failure to secure a Preparer Tax Identification Number (PTIN) in accordance with IRS regulations and
Company requirements.

   c)  “Cause” shall also include: (i) Associate’s violation of any term of any prior employment agreement between Associate and the
Company, (ii) fraud or theft by Associate during any prior period of employment with the Company, and (iii) material violation of any
Company policy, including the H&R Block, Inc. Code of Business Ethics & Conduct, by Associate during any prior period of employment with
the Company.

8. Confidential Information.

Associate will be given access to Trade Secrets and other Confidential Business Information of Block which has commercial value to the
Company and its affiliates (hereinafter together referred to as “Block”) the confidential nature of all such information is hereby acknowledged
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by Associate. In consideration for the Company providing such access, and as a material term of this Agreement, Associate gives the
Company the covenants contained in Sections 8, 9, 10, and 11 of this Agreement. Associate agrees and acknowledges as follows:

   a)    Without the Company's prior written authorization, Associate shall not directly or indirectly: (i) misappropriate, make copies of, or
remove from Block's offices any Confidential Business Information of Block, (ii) make known, divulge, or communicate to any person or
entity any Confidential Business Information of Block, or (iii) use any Confidential Business Information of Block for any reason other than as
necessary to enable Associate to properly perform Associate's duties hereunder.

  b)     Upon cessation of employment hereunder, Associate shall promptly deliver to the Company the originals and all copies of
Confidential Business Information and other materials and property of any nature belonging to Block.

   c)     “Confidential Business Information” means all information learned by Associate as a consequence of Associate's employment with
the Company, including, but not limited to, Block's client lists, information pertaining to Block's clients, employee lists and information, and
Block's tax preparation software. “Confidential Business Information” does not include information in the public domain through authorized
disclosure by Block or information that Associate has received prior written authorization by Block to disclose or otherwise use.

   d)     The designation of any information as Confidential Business Information does not preclude it from also constituting a Trade Secret
as defined by applicable law. Associate is prohibited from using, disclosing, or misappropriating Trade Secrets of Block at all times during
and after Associate's employment for so long as such information remains a Trade Secret. Trade Secrets include, among other things,
Block's client lists and all information pertaining to Block's clients.

  e)    Information shall not be deemed to have lost its status as a Trade Secret or Confidential Business Information as the result of any
unauthorized disclosure by Associate or any third party.

   f)     Section 7216 of the Internal Revenue Code of 1986, as amended, prohibits the unauthorized use and/or disclosure of confidential
tax return information of the Company's clients, and Associate agrees that Associate will not at any time disclose or use such information in
violation thereof.

9. Extent of Services.

Associate agrees that during the term of Associate's employment Associate shall not directly or indirectly:

   a)    Compete with the Company at any location or in any capacity by:

          (1) preparing or electronically filing tax returns or providing any other product or service that the Company offers in the Associate’s
district of employment (for example, bookkeeping if provided in the district); or

         (2) soliciting or accepting any of the Company’s clients for the aforementioned services.

   b)    Be an Electronic Return Originator (“ERO”) with the IRS.

Associate agrees and accepts as a condition of employment that during the term of Associate's employment all tax returns Associate
prepares, including any returns Associate prepares for friends and family, but excluding Associate's own return, must be processed through
the Company in accordance with Company policies and procedures as returns prepared by the Company. Associate may prepare and
electronically file Associate's own tax return free of charge. For associates employed within the State of Texas, for purposes of this Section
9, “Company” means both HRB Technology LLC and H&R Block Enterprises LLC.

Associate shall not be in violation of Section 9(a)(1) if providing the prohibited services for an H&R Block franchise.

10. Post-Termination Covenants.

    a)    Associate covenants that for two (2) years following the cessation of Associate's employment hereunder for any reason (the
“Restricted Period”), Associate shall not directly or indirectly:

          (1)      Provide any of the following services to any Company Client:        (i) preparation of tax returns; (ii) electronic filing of tax
returns; or (iii) any Alternative Products or Services; or

          (2)     Solicit Company Clients for the purpose of offering to such clients: (i) tax return preparation services; (ii) electronic filing of
tax returns; or (iii) any Alternative Products or Services.

    b)    Associate agrees that the Restricted Period for each of the above covenants shall be tolled during (i) any period(s) of violation that
occur during the original Restricted Period; and (ii) any period(s) of time required by litigation to enforce the covenant (other than any
periods during which Associate is enjoined from engaging in the prohibited activity and is in compliance with such order of enjoinment)
provided that the litigation is filed within one year following the end of the original Restricted Period.

     c)   For purposes of this Section 10, “Company Clients” is defined as every person or entity whose federal or state tax return was
prepared or electronically transmitted by Associate, or for whom Associate provided any Alternative Products or Services, during the term of
this Agreement or during any period of time in which Associate was employed by the Company or an affiliate during the twelve (12) months
immediately preceding the effective date of this Agreement.

    d)    For purposes of this Section 10, “Alternative Products or Services” means products or services, other than the preparation or
electronic filing of tax returns, that the Company provides to clients within Associate's district of employment (for example, bookkeeping if
provided in such district).

    e)    In the event a duly appointed arbitrator (or where permitted under Section 19, a court of competent jurisdiction) finds the time
period, geographic scope, scope of activity, or any definition contained in this Section 10 to be overly broad, the time period, geographic
scope, scope of activity, or definition that such arbitrator or court deems reasonable shall be substituted for the language in this Agreement.

    f)    Associate shall not be in violation of Section 10(a)(1) if providing the prohibited services for an H&R Block franchise.

    g)    Sections 10(a) and (b) are not applicable to associates employed in the state of North Dakota.

    h)    Section 10(b) is not applicable to associates employed in the state of Wisconsin.

     i)    For Associates employed in the state of Arizona or Puerto Rico, the Restricted Period in Section 10(a) shall be one (1) year
following the cessation of Associate's employment.

11. Nonsolicitation of Employees.

Associate covenants that during Associate's employment hereunder and for one (1) year following the cessation of such employment for any
reason, Associate shall not, directly or indirectly, solicit or hire Company Employees to work in any business that provides any product or
services in competition with the Company. For purposes of this Agreement, “Company Employees” mean persons employed by the Company
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or its affiliates at the time of the solicitation or hiring or at any time during the term of this Agreement. For associates employed within the
State of Texas, for purposes of this Section 11, “Company” means both HRB Technology LLC and H&R Block Enterprises LLC.

Section 11 is not applicable to associates employed in the state of Wisconsin.

12. Remedies.

The parties agree that if any provision of Section 8, 9, 10, or 11 is violated, the Company will have no adequate remedy at law and will suffer
irreparable loss and damage. The parties further agree that in the event of any such breach or violation, whether threatened or actual, the
Company shall be entitled to injunctive relief to prohibit or restrain such breach or violation in addition to all other remedies available at law
or equity. Associate agrees that no bond need be filed in connection with any request by the Company for a temporary restraining order or
other preliminary injunctive relief. In addition to injunctive relief, Associate acknowledges that the Company is entitled to damages for any
breach of Section 8, 9, 10, or 11. Further, in the event of such breach or violation, Associate shall pay the Company all costs, reasonable
attorneys' fees, and expenses incurred by the Company in enforcing Sections 8, 9, 10, or 11 of this Agreement. Further, Associate
acknowledges that damages for breach of Section 9 are difficult, if not impossible, to establish and Associate therefore agrees to liquidated
damages as set forth below. Associate acknowledges and agrees that these sums are a reasonable forecast of the harm caused by the
breach in light of the anticipated or actual loss caused by a breach and the difficulties of proof of loss. Associate agrees that this liquidated
damages provision shall not be construed as a payment to avoid Associate's obligations under Section 8, 9, 10, or 11 hereof and further
agrees that the Company shall be entitled to injunctive relief in addition to enforcement of this liquidated damages provision.

In the event Associate breaches Section 9 of this Agreement, Associate shall pay to Company a lump sum of $1,000 per tax season of
employment up to a $10,000 maximum (a partial tax season shall be counted as a tax season).

Any violation of Section 8, 9, 10, or 11 shall otherwise be resolved in accordance with the arbitration agreement in Section 19, unless
Associate opts out in accordance with Section 21.

13. Agreement Regarding Products and Services of H&R Block Bank and Other Financial Institutions.

Associate agrees to comply with the following conditions in offering the H&R Block Emerald Advance Line of Credit, Emerald Savings, Emerald
Prepaid MasterCard®, Emerald Refund Deposit Accounts, and other H&R Block Bank products and in offering Refund Anticipation Loans and
Refund Anticipation Checks of any other financial institution with whom H&R Block partners to offer these products. Associate will comply
with all H&R Block Operating Policies and Procedures and required training related to the above products prior to conducting any marketing,
solicitation, customer service or credit service organization activities. Associate acknowledges that H&R Block Bank and other financial
institutions have the right to monitor, review, and audit activities Associate performs in connection with such entities' respective products and
services. Associate acknowledges that H&R Block Bank's primary regulator (the Office of the Comptroller of the Currency) has the authority
to regulate, examine, and take enforcement action against the Company and its affiliates and H&R Block Bank with respect to the activities
performed in connection with H&R Block Bank's products or services, and Associate acknowledges that federal and state banking and
consumer products regulators have the authority to regulate, examine, and take enforcement action against the Company and its affiliates
and other financial institutions with respect to the activities performed in connection with these products or services.

14. Tax Preparer Penalties.

As a condition of employment, Associate agrees to provide to the Company, immediately upon receipt, a copy of any notice or
communication Associate receives from the Internal Revenue Service or any state taxing authority related to Associate’s tax preparation
practices or tax preparer penalties proposed or assessed against Associate. Associate further agrees to authorize the Internal Revenue
Service or state taxing authority to share with the Company and its affiliates all notices and communications related to the proposed or
assessed penalties. Associate expressly acknowledges and agrees that Associate may be personally responsible for paying preparer penalties
assessed by the Internal Revenue Service or state taxing authority.

15. Survival; Assignability.

The parties agree that the covenants and agreements contained in Sections 8 through 23 shall survive the termination of this Agreement.
This Agreement is assignable by the Company to any other party without notice to, consent by, or approval by Associate. Associate shall not
assign this Agreement. This Agreement shall inure to the benefit of the successors and assigns of the Company.

16. Representations of Associate.

    a)   Associate represents that Associate has never had a Form 8633 (Application to Participate in the Electronic Filing Program) denied
by the Internal Revenue Service and has never been suspended or rejected from such program prior to this Agreement. Associate further
represents that Associate has not currently applied for or been accepted as an Electronic Filer other than by virtue of any application made
through or on behalf of the Company.

    b)    Associate represents that all statements made on Associate's employment application, including those regarding Associate's
criminal background, are true and accurate.

    c)    Associate represents that Associate is not subject to any contract that would prohibit performance of his/her duties hereunder.

17. Choice of Law.

Associate acknowledges that the Company headquarters is located in the State of Missouri and that this Agreement shall be governed by the
laws of the State of Missouri without reference to its conflict of law principles.

18. Enforcement.

Associate agrees that Company's failure to require strict compliance with any term, condition, or covenant contained in this Agreement at
any time shall not be deemed a waiver of that or any other term, condition, or covenant contained in this Agreement.

19. Arbitration.

     a)   Binding Mutual Arbitration. Associate and the Company agree that any Covered Claims (defined below) will be resolved by final
and binding arbitration as set forth in this Agreement. The arbitration agreement set forth in this Section 19 shall be governed by the
Federal Arbitration Act (FAA) and the laws of the State of Missouri to the extent Missouri law is not inconsistent with the FAA. This
agreement to arbitrate applies with respect to all Covered Claims, whether initiated by Associate or the Company.

      b)   Covered Claims. Except for the Excluded Claims (defined below), Covered Claims include any and all claims or disputes between
Associate and the Company, or the Company's parents, subsidiaries, affiliates, predecessors, and successor corporations and business
entities, and its and their officers, directors, employees, and agents, including but not limited to claims and disputes arising out of or in any
way relating to Associate's hiring or recruitment, this Agreement, Associate's employment, compensation, benefits, and terms and conditions
of employment with the Company, or the termination thereof, including but not limited to contract, tort, defamation and other common law
claims, wage and hour claims, statutory discrimination, harassment, and retaliation claims, and claims arising under or relating to any
federal, state or local constitution, statute or regulation, including, without limitation, the Fair Labor Standards Act (“FLSA”), Title VII of the
                                                                                                                                 Tax Professional
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Civil Rights Act of 1964 (“Title VII”), the Age Discrimination in Employment Act (“ADEA”), the Worker Adjustment and Retraining Notification
Act (“WARN”), the Equal Pay Act (“EPA”), the Americans With Disabilities Act (“ADA”), the Family and Medical Leave Act (“FMLA”), and any
and all other federal, state, or local constitutional, statutory, regulatory, or common law claims or causes of action now or hereafter
recognized.

       c)   Excluded Claims. The following claims and disputes are not subject to the arbitration agreement set forth in this Agreement: (i)
applications for temporary or preliminary injunctive relief in aid of arbitration or for the maintenance of the status quo pending arbitration,
(ii) claims arising under, relating to or in connection with an employee benefit plan subject to the Employee Retirement Income Security Act
of 1974 (“ERISA”), which shall be determined in accordance with the claims and dispute resolution procedures set forth in the applicable
ERISA plan documents, (iii) claims for workers' compensation benefits, but not retaliation claims arising out of or relating to claims for
workers' compensation benefits, (iv) claims for unemployment compensation benefits, (v) claims within the jurisdiction of the National Labor
Relations Board (“NLRB”), and (vi) any claim that is expressly precluded from arbitration by a federal statute or regulation. Nothing in this
Agreement shall prohibit Associate from filing a charge or complaint with the U.S. Equal Employment Opportunity Commission, the NLRB, the
U.S. Department of Labor, the Occupational Safety and Health Commission, any other federal, state, or local administrative agency;
however, any Covered Claim that is not resolved through the federal, state, or local agency proceedings must be submitted to arbitration in
accordance with this Agreement, except for claims within the jurisdiction of the NLRB and where expressly precluded by a federal statute or
regulation. Associate also has the right to challenge the validity of the terms and conditions of this Agreement on any grounds that may
exist in law and equity, and the Company shall not discipline, discharge, or engage in any retaliatory actions against Associate in the event
Associate chooses to do so or engage in other protected legal activity. The Company, however, reserves the right to enforce the terms and
conditions of this Agreement in any appropriate forum.

      d)   WAIVER. TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, ASSOCIATE AND THE COMPANY AGREE THAT
NO COVERED CLAIMS MAY BE INITIATED OR MAINTAINED ON A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION BASIS
EITHER IN COURT OR IN ARBITRATION, AND THAT ASSOCIATE IS NOT ENTITLED TO SERVE OR PARTICIPATE AS A CLASS,
COLLECTIVE OR REPRESENTATIVE ACTION REPRESENTATIVE OR AS A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION
MEMBER, OR RECEIVE ANY RECOVERY FROM A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION INVOLVING COVERED
CLAIMS EITHER IN COURT OR IN ARBITRATION. Associate and the Company further agree that no arbitrator shall have authority to (i)
order, authorize, or permit any notice or information about an arbitration or any claims or defenses in an arbitration to be sent to any class
or group of persons other than the parties to the individual arbitration, provided that either party or the arbitrator may compel testimony of
a witness or the production of documents, material or information consistent with applicable arbitration rules, or (ii) order or require either
party to produce any kind of contact information for any class or group of current or former employees of the Company. Associate further
agrees that if Associate is included within any class, collective, or representative action in court or in arbitration involving a Covered Claim,
Associate will take all steps necessary to opt-out of the action or refrain from opting in, as the case may be. Any Covered Claim filed or
brought in court or arbitration as a class, collective or representative action will be decided in arbitration on an individual basis. Any issue
concerning the validity or enforceability of the Waiver in this Section 19 (including the prohibition against class, collective or representative
action arbitration) shall be decided by a court of competent jurisdiction, and no arbitrator shall have any authority to consider or decide any
issue concerning the validity or enforceability of the Waiver. Any issue concerning arbitrability of a particular issue or claim pursuant to the
arbitration agreement (except for those concerning the validity or enforceability of the Waiver) must be resolved by the arbitrator, not the
court.

      e)   Selection and Rules. Except as specified below, any arbitration of a Covered Claim will be resolved by final and binding arbitration
conducted under the auspices and rules of JAMS, or any successor forum, in accordance with and subject to the JAMS Employment
Arbitration Rules and Procedures and the JAMS Policy on Employment Arbitration Minimum Standards of Procedural Fairness (“JAMS
Arbitration Rules”), or any successor rules, and shall be conducted before a single arbitrator unless all parties to the arbitration agree
otherwise in writing. Arbitration shall be held in the county in which Associate worked or works at the time the claim arose, or the next
nearest county with an arbitral forum. To the extent any of the terms, conditions or requirements of this Agreement conflict with the JAMS
Arbitration Rules or other applicable rules, the terms, conditions or requirements of this Agreement shall govern. Arbitrators are required to
issue a written award and opinion, and their awards shall be final and binding, and any judgment or award issued by an arbitrator may be
entered in any court of competent jurisdiction. The arbitration shall be subject to the same burdens of proof and statutes of limitations as if
the Covered Claim was being heard in federal district court, and the parties may file and the arbitrator shall hear and decide at any point in
the proceedings any motion permitted by the Federal Rules of Civil Procedure, including but not limited to motions to compel discovery,
motions for protective orders, motions to dismiss, motions for summary judgment, and motions in limine. No arbitration award or decision
shall have any preclusive effect as to any issues or claims in any dispute, arbitration or court proceeding where any party was not a named
party in the arbitration.

      f)     Remedies. Subject to the parties' right to appeal or seek vacatur under applicable law, Associate and the Company agree that the
decision of the arbitrator will be final and binding on the parties and that the arbitrator is authorized to award any party the full remedies
that would be available to such party if the Covered Claim had been filed in a court of competent jurisdiction, including attorneys' fees and
costs. As part of Associate's costs, Associate may recover expert fees incurred by Associate to the same extent as Associate could in court.
To the extent that it results in a greater recovery for Associate, the Company agrees to waive the limitations on the recovery of expert fees
as an item of costs imposed by 28 U.S.C. § 1821(b) for reasonable expert fees incurred by Associate in any arbitration in which (i) Associate
prevails on any Covered Claim(s) in an amount greater than the amount of any prior offer of settlement made by the Company, and (ii) such
reasonable expert fees were incurred for an expert report or expert testimony that was admitted into evidence and relied upon by the
arbitrator in rendering the award on such Covered Claim(s). Subject to any applicable fee-shifting provisions, Associate shall be responsible
for the filing fee required to institute arbitration with JAMS up to the amount of the filing fee Associate would have incurred had Associate
filed such Covered Claim(s) in federal district court. The Company shall be responsible for all additional arbitration filing fees, forum fees,
and other fees and costs assessed by JAMS.

    g)     Further Exclusion. Nothing set forth herein applies to any causes of action already pending in court on the date Associate
executes this Agreement, including any class, collective, or representative action for which Associate would be a member or potential
member of the class, collective, or representative action.

20. Severability.

The provisions of this Agreement shall be severable and, if any provision hereof shall be determined to be legally unenforceable or void, such
unenforceable or void provision shall not affect the legality, validity or enforceability of the remaining provisions hereof, except that, in the
event the Waiver set forth in Section 19(d) is determined to be invalid, unenforceable or void with respect to any Covered Claim(s) initiated
or pursued in court or in arbitration on a class, collective or representative action basis and, insofar as any such Covered Claim(s) are
permitted to proceed on a class, collective or representative action basis, they must do so in a court of competent jurisdiction and, to the
fullest extent permitted by law, Associate and the Company agree to waive any right to a jury trial for any and all such claims. If the Waiver
set forth in Section 19(d) is determined to be invalid, unenforceable, or void with respect to any Covered Claim, the Waiver shall remain
effective and enforceable with respect to all other Covered Claims.




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21. Arbitration Opt-Out.

Associate may opt-out of (reject) Section 19 by submitting a signed written statement that Associate wishes to opt-out and not be subject to
Section 19 of this Agreement. In order to be effective, the written statement must include Associate's full name, address, and employee ID
number, and must be submitted to H&R Block-Legal Department, Attention: Arbitration Opt-Out, One H&R Block Way, Kansas City,
Missouri 64105 within thirty (30) days of Associate's signing of this Agreement. Associate's written opt-out will override Associate's
signature below regarding arbitration, but no other provision of this Agreement. Any associate choosing to opt-out will not be subject to any
adverse employment action as a consequence of that decision.

22. Notices.

All notices required to be given hereunder shall be in writing and shall be deemed served and delivered for all purposes if delivered in
person; if delivered by e-mail or fax (with confirmation of delivery); or if mailed, postage prepaid, to Associate at the above-stated address
or to the Company at the principal office for the district of employment, except as noted in Section 21. Any notice given by mail shall be
deemed given as of the date mailed and postmarked or received by a nationally recognized overnight courier for delivery.

23. Entire Agreement.

The foregoing is the entire Agreement between the parties as to the terms and conditions of Associate's employment and the subject matter
of each of the paragraphs and subparagraphs of this Agreement, and no amendment of this Agreement will be effective unless in writing and
signed by the parties.

IN WITNESS WHEREOF, the parties have executed this Agreement on the day and year noted below.

By checking the relevant box on the previous web page (the Contract section of the Automated Hiring Process), you are
indicating your agreement to the above terms and conditions , including but not limited to the Arbitration agreement and
Waiver in Section 19. Checking the box on the previous web page will serve as your electronic signature. Once you have
checked that box, a signature date and confirmation code will display in this document, below.


     /s/ Colleen Griffith                                                                        /s/ H&R Block Eastern Enterprises
     Associate                                                                                   Company


     Date Signed: 11/07/2011                         Confirmation: 2CUUOQG0                      Date Signed: 2/25/2012 3:58:38 AM




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                  EXHIBIT E
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                                     TAX PROFESSIONAL EMPLOYMENT AGREEMENT

This Agreement is made between             Carmen          Maurella IIIof 14048 CHICORY TRAIL                                     ,
                                                  (Name)                                   (Number & Street or Box No.)
      Homer Glen                 ,    IL        60491          (“Associate”), and HRB Resources LLC                               ,
               (City)                 (State)   (Zip )
(“the Company”). These parties, in consideration of the covenants and agreements set forth below, agree as follows:
1.   Employment.
The Co mpany e mploys As sociate             as a __________ 5000        - First Year Tax Pro
                                                                      ______________________________      i n the         Company’s
                  NAPERVILLE, IL
_______________________________________            D istrict, Adm in. ID # _________12519
                                                                                     ____________, f or t he pe riod and upon t he
terms and co nditions h erein co ntained. Asso ciate her eby acc epts such e mployment and ag rees to co mply wit h su ch ter ms and
conditions.
2.   Term.
The term of this Agreement begins on the earlier of the following dates: the date Associate first attends Skills to Win training; the
date Associate attends any other paid training; or December 1, 2012. The term of this Agreement shall end on April 16, 2013.
3.   Duties.
Associate’s duties consist of attending Skills to Win training, mid-season training, and other mandatory training, preparing accurate
tax returns a nd offeri ng el ectronic f iling of retur ns to q ualifying taxpa yers, promoting an d pr oviding ad ditional or alter native
products or services which the Company or its affil iates may offer, providing other informa tion to clients that may be relevant to
their tax and financial situation, and performing other duties as assigned, all in accordance with the la w and the Company’s policies
and procedures, including the H&R Block, Inc. Code of Busin ess Ethics & Con duct. Asso ciate acknowledges that it is o utside the
scope of A ssociate’s employment hereunder and is against the rules of the C ompany for Associ ate to offer an y financial advice for
which a license is required.
4.   Compensation.
The Compan y shall pa y Associate an hour ly r ate of pa y, the am ount of which sha ll be de termined by the Compan y labor code
assigned to a specific project or task. Different projects or tasks are assign ed different pay rates and th e Company reserves the
right to revise such rates at any time. Under no circumstance shall the hourly rate for any work performed be less than the federal
or applicable state minimum wage. Associate shall be paid overtime in accordance with federal and applicable state wage and hour
laws.
5.   Withholdings and Offsets.
The Compa ny s hall wi thhold from al l comp ensation pay able to Asso ciate a ll required fed eral, s tate, an d l ocal ta xes. As sociate
agrees that if Associate fails to turn over all Company funds as required by Compan y policy or becomes indeb ted to the Co mpany,
the Company may, subject to a pplicable laws, offset the amount of any such funds or indebtedness against any compensation due
Associate.
6.   Hours.
Associate’s hours of employment will be as from time to time designated by the Compan y. Associa te und erstands t he se asonal
nature and fluctuation of the Company’s business and acknowledges the Company’s exclusive right to reduce or increase Associate’s
hours of e mployment ba sed o n bus iness n eeds. A ssociate r ecognizes a nd agrees that there ma y b e pa y period s dur ing which
Associate is not assigned any hours of employment. Associate agrees to be available to work until the end date of this Agreement.
Associate hereby expressly acknowledges and agrees to abide by the Co mpany’s timekeeping policies by ac curately recording all
hours worked.
7.   Termination.
     a)   Notwithstanding the above-described Term, either party may terminate this Agreement upon seven (7) days prior written
notice.
      b) Furthermore, t he Compan y may term inate t his Agr eement and the e mployment of Assoc iate wit hout no tice upon a
determination by the Company that Cause exists for such termination. For purposes of this Agreement, “Cause” shall include, but is
not limited to, the following:
          1) Associate’          s unsatisfactory performance as determined by the Company;
          2)            Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material violation of Company
                        policies including, but not limited to, the H&R Block, Inc. Code of Business Ethics & Conduct;
       3)               Associate’s violation of an y term of this Agreement or Associate’s stated intention t o violate any term of this
Agreement;
          4)            Associate’s failure to meet the criteria for any Company-mandated background check;

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          5)        Associate’s con viction of or plea of guilt y or no c ontest to a c rime of dishonesty or theft du ring or prior t o
                    Associate’s employment (subject to state law);
          6)        Associate’s misrepresentation on the employment application or in this Agreement; or
          7)        Associate’s failure to secure a Preparer Tax Identification Number (PTIN) in accordance with IRS regulations and
                    Company requirements.
     c)    “Cause” shall also include: (i) Associate’s violation of an y term of an y prior emp loyment agreement between Associate
and the Co mpany, (ii) fr aud or thef t by Associate dur ing an y pr ior per iod of emp loyment w ith the Co mpany, and (iii) material
violation of any Company policy, including the H&R Block, Inc. Code of Business Ethics & Conduct, by Asso ciate during any prior
period of employment with the Company.
8.   Confidential Information.
Associate wi ll be given ac cess to Trade Secre ts and other Co nfidential B usiness Infor mation which h as co mmercial v alue to the
Company and its affiliates (hereinafter toge ther referred to as “H&R Block”) the confidential nature of all such information is hereby
acknowledged by Associate. In consideration for the Co mpany providing such access, and as a m aterial term of t his Agreement,
Associate gives the Compa ny the covenan ts contained in S ections 8, 9, 10, and 11 of t his Agre ement. As sociate agrees and
acknowledges as follows:
     a) Without the Co mpany’s pr ior written au thorization, A ssociate sha ll no t dir ectly o r indirectly: (i) misappropriate, make
copies of, or remove from H& R Block’s off ices any Co nfidential Bu siness Information of H&R Block, (ii) ma ke known, di vulge, or
communicate to an y person o r entit y an y Co nfidential Business I nformation of H&R Blo ck, or (iii) us e an y Confide ntial Business
Information of H&R Bl ock for any reason ot her than as necessary to enab le Associat e to properly perform Asso ciate’s dut ies
hereunder.
    b) Upon cessation of employment hereunder, Associate shall promptly deliver to the Compa ny the originals and all copies of
Confidential Business Information and other materials and property of any nature belonging to H&R Block.
     c) “Confidential B usiness Inf ormation” mea ns all i nformation learned by Assoc iate as a cons equence of Associa te’s
employment with the Compa ny, including, bu t not limited to, H&R Block’s client lists, information pertaining to H&R Block’s clients,
employee lists and information, and H&R Blo ck’s tax preparation so ftware. “ Confidential Business Information” doe s no t in clude
information in the public domain through authorized disclosure by H&R Block or information that Associate has received prior written
authorization by H& R Blo ck to disc lose o r o therwise us e. Co nfidential B usiness Information does inc lude inf ormation about th e
business affairs of third parties (including, but not limited to, the Company’s clients) that such third parties provide to the Company
in confidence.
      d) The designation of any information as Confidential Business Information does not preclude it from also constituting a Trade
Secret as defined by applicable law. Associate is prohibited from using, disclosing, or misappropriating Trade Secrets of H&R Block
at all times during and after Associate’s employment for so long as such information remains a Trade Secret. Trade Secrets include,
among other things, H&R Block’s client lists and all information pertaining to H&R Block’s clients.
     e) Information shall not be deemed to have lost its status as a Trade Secret or Confidential Business Information as the result
of any unauthorized disclosure by Associate or any other person or third party.
     f) Section 7216 of t he Int ernal R evenue Code of 1986, as am ended, prohi bits t he unaut horized us e and /or dis closure of
confidential tax return information of the Company’s clients, and Associate agrees that Associate will not at any time disclose or use
such information in violation thereof.
    g) The restrictions in this Agreement shall supplement, but not replace, any and all obligations Associate owes the Company
under applicable law.
9.   Extent of Services.
Associate agrees that during the term of Associate’s employment Associate shall not directly or indirectly:
     a)   Compete with the Company at any location or in any capacity by:
          (1) preparing or electronically filing tax returns or providing any other product or service that the Company offers in the
Associate’s district of employment (for example, bookkeeping if provided in the district); or
          (2) soliciting or accepting any of the Company’s clients for the aforementioned services.
     b)   Be an Electronic Return Originator (“ERO”) with the IRS.
Associate agrees and accepts as a condition of employment that during the term of Associate’s employment all tax returns Associate
prepares, including any returns Associate prepares for friends a nd family, but excluding Associate’s own return, must be processed
through the Company in accordance with Company policies and procedures as retur ns prepared by th e Company. Associate ma y
prepare an d e lectronically f ile A ssociate’s o wn tax r eturn f ree of charge . For associates e mployed wi thin the Stat e of T exas, for
purposes of this Section 9, “Company” means both HRB Technology LLC and H&R Block Enterprises LLC.
Associate shall not be in violation of Section 9(a)(1) if providing the prohibited services for an H&R Block franchise.




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10. Post-Termination Covenants.

     a) Associate covenants that for two (2 ) years following the cessation of Asso ciate’s employment hereunder for any reason
(the “Restricted Period”), Associate shall not directly or indirectly:
          (1) Provide any of the following services to any Company Client: (i) preparation of tax returns; (ii) electronic filing of tax
returns; or (iii) any Alternative Products or Services; or
            (2) Solicit Company Clients for the purpose of offering to such cl ients: (i) tax retu rn preparation services; (ii) electronic
filing of tax returns; or (iii) any Alternative Products or Services.
     b) Associate agrees that the Restricted Period for each of the above covenants shall be tolled during (i) any period(s) of violation
that occur during the original Restricted Period; and (ii) any period(s) of time required by litigation to enforce the covenant (other than any
periods during which Associate is enjoined from engaging in the prohibited activity and is in compliance with such order of enjoinment)
provided that the litigation is filed within one year following the end of the original Restricted Period.
     c) For purposes of this Section 10, “Company Clients” is defined as every person or entity whose federal or state tax return
was prepared o r ele ctronically transmitted by Associate, or fo r whom A ssociate provi ded a ny Alt ernative Products or S ervices,
during the term of this Agre ement or during any period of time in which Associate was employed by the C ompany or an affil iate
during the twelve (12) months immediately preceding the effective date of this Agreement.
     d) For purposes of this Secti on 10, “Alternative Products or Services” means products or services, other than the preparation
or elec tronic fi ling o f tax retur ns, t hat the Co mpany prov ides to cl ients wit hin A ssociate’s dis trict of emp loyment (for ex ample,
bookkeeping if provided in such district).
      e) In the event a duly appointed arbitrator (or where permitted under Section 19, a court of competent jurisdiction) finds the
time period, geographic scope, scope of activity, or any definition contained in this Section 10 to be overly broad, the time period,
geographic scope, scope of activity, or definition that such arbitrator or court deems reasonable shall be substituted for the language
in this Agreement (where allowed by applicable law).
     f)    Associate shall not be in violation of Section 10(a)(1) if providing the prohibited services for an H&R Block franchise.
     g)    Sections 10(a) and (b) are not applicable to associates employed in the state of North Dakota.
     h)    Section 10(b) is not applicable to associates employed in the state of Wisconsin.
     i)   For Associates employed in the state of Arizona or Puerto Rico, the Restricted Period in Section 10(a) shall be one (1) year
following the cessation of Associate’s employment.
     j)    For Associates employed in the State of Louisiana, Sections 10(a)(1) and (2) are limited within the state of Louisiana to
the Parishes in which Associate assisted Company in providing its products and services, and Parishes adjacent to such Parishes (or
counties o f adj acent s tates), as ide ntified as in Attachment A to this Agreement pr ovided, ho wever, that no thing in this Agr eement
may be co nstrued t o prohibit the enforcement o f Sec tions 1 0(a)(1) an d (2) in a ccordance wi th their terms
in sta tes o utside o f Louisiana.
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11. Nonsolicitation of Employees.

Associate cove nants tha t dur ing Asso ciate’s employment h ereunder and for one (1) y ear fol lowing th e ces sation of such
employment for an y reason, A ssociate shall not, directly or indi rectly, solicit or h ire Company Employees to work in an y business
that provides any product or services in competition with the Company. F or purposes of th is Agreement, “Company Employees”
mean persons employed by the Company or its affiliates at t he time of the solicitation or hiring or at any time during the term of
this Agreement. For associates employed within the State of Texas, for purposes of this Section 11, “Company” means both HRB
Technology LLC and H&R Block Enterprises LLC. Where r equired by applicable law to be enforceable, the foregoing restriction shall
only apply to Company Employees employed by Company or its affiliates within the District identified in Section 1.
Section 11 is not applicable to associates employed in the state of Wisconsin.
12. Remedies.

The parties agree that if any provision of Section 8, 9, 10, or 11 is violated, the Company will have no adequate remedy at law and
will suffer i rreparable l oss and damage. Th e parti es f urther agree that in the even t of a ny suc h brea ch or viola tion, w hether
threatened or actual, the Company shall be entitled to injunctive relief to prohibit or restrain such breach or violation in addition to
all other remedies available at law or equ ity. Associate agrees that no bo nd need be filed in connection with any request by t he
Company for a tempor ary restr aining ord er or other pr eliminary injunctive rel ief. In ad dition to i njunctive r elief, Associate
acknowledges that the Company is entitled to damages for any breach of Section 8, 9, 10, or 11. Further, in the event of such
breach or violation, Associate shall pay the Company all costs, reasonable attorneys’ fees, and expenses incurred by the Company
in enforcing Sections 8, 9, 10, or 11 of this Agreement. Further, Associate acknowledges that damages for breach of Section 9 are
difficult, if no t impossible, to establish and Associate therefore agrees to liqu idated da mages a s set f orth b elow. A ssociate
acknowledges and agrees that these sums are a reasonable forecast of the harm caused by the breach in light of the anticipated or
actual loss caused by a breach and the difficulties of proof of loss. Associate agrees that this liquidated damages provision shall not
be construed as a pa yment to a void Associa te’s o bligations under Se ction 8, 9 , 1 0, o r 11 hereof and furt her agrees tha t the
Company shall be entitled to injunctive relief in addition to enforcement of this liquidated damages provision.
In the event Associate breaches Section 9 of this Agreement, Associate shall pay to Company a lump sum of $1,000 per tax season
of employment up to a $10,000 maximum (a partial tax season shall be counted as a tax season).



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Any v iolation o f Sect ion 8 , 9 , 1 0, o r 11 shall o therwise be r esolved i n acco rdance wi th t he arbitration agr eement i n Sec tion 1 9,
unless Associate opts out in accordance with Section 20.
13. Agreement Regarding Products and Services of H&R Block Bank and Other Financial Institutions.

Associate agrees to comply with the following conditions in offering the H&R Block Emerald Advance® Line of Credi t, H&R Block
Emerald Savings®, H&R Block Emerald Card® Prepaid MasterCard®, H&R Block Emerald Plus® Prepaid MasterCard®, Block Loan,
Refund Anticipation Checks, credit cards, and other H&R Block Bank products and in offering Refund Anticipation Loans and Refund
Anticipation Checks or ot her fi nancial produc ts of an y other financial ins titution with w hom H&R Bl ock pa rtners to offer these
products. As sociate w ill co mply with a ll H& R Block Operating Policies and Pr ocedures and r equired training related to the above
products prior to condu cting any marketing, soli citation, cu stomer serv ice or credit service organiza tion activ ities. As sociate
acknowledges that H&R Block Bank and o ther financial institutions have the right to monitor, review, and audit activities Associate
performs i n co nnection with such en tities’ re spective produ cts a nd services. A ssociate ac knowledges t hat H& R B lock B ank’s
primary r egulator (the Office o f the Comp troller of the Curr ency) and H& R Block’s pr imary regu lator for b anking purposes (the
Federal R eserve) have t he a uthority to reg ulate, examine, a nd take e nforcement a ction a gainst the Co mpany and i ts af filiates
and H&R B lock Bank with re spect to t he ac tivities perfo rmed in co nnection with H&R B lock Bank ’s products o r serv ices, and
Associate acknowledges that fed eral an d st ate banking a nd consu mer products reg ulators may ha ve the authority t o regul ate,
examine, and take enforcement action against the Company and its affiliates and other financial institutions with respect to certain
activities performed in connection with these products or services.
14. Tax Preparer Penalties.

As a condit ion of employm ent, Associa te agre es to provide to the Company, immediately upon receipt, a copy of any notice or
communication Assoc iate rec eives from the I nternal R evenue Service or an y state tax ing autho rity re lated to As sociate’s tax
preparation practices or tax preparer penalties proposed or a ssessed against Associate. As sociate further agrees to authorize the
Internal Revenue Serv ice o r st ate tax ing au thority to share with th e Comp any and its affiliates all no tices and communications
related to t he proposed or as sessed p enalties. Asso ciate expressly ackno wledges and ag rees t hat A ssociate ma y be personally
responsible for paying preparer penalties assessed by the Internal Revenue Service or state taxing authority.
15. Survival; Assignability.

The part ies agree th at t he covenan ts and agr eements contained i n Sec tions 8 thr ough 2 3 shal l s urvive t he ter mination o f thi s
Agreement. T his Agr eement is as signable by the Co mpany to an y o ther part y wi thout n otice to, co nsent by, o r approv al by
Associate. Associate shall not assign this Agreement. This Agreement shall inure to the benefit of the successors and assigns of the
Company.
16. Representations of Associate.

     a) Associate represents that Associate has never had a Form 8633 (Application to Participate in the Electronic Filing Program)
denied by t he I nternal Revenue Serv ice and has never be en suspended or r ejected from such progr am prior to thi s Agreement.
Associate further represents that Associate has not currently applied for or been accepted as a n Electronic Filer other than by virtue
of any application made through or on behalf of the Company.
    b) Associate repr esents that al l statements ma de on As sociate’s employment applica tion, including those regardin g
Associate’s criminal background, are true and accurate.
    c) Associate repr esents that As sociate is no t s ubject to an y co ntract th at wo uld pro hibit perf ormance o f h is/her d uties
hereunder.
17. Choice of Law.

Associate ackn owledges t hat t he Compan y h eadquarters i s l ocated in th e Stat e o f Mis souri and tha t th is Agreem ent sh all be
governed by the laws of the State of Missouri without reference to its conflict of law principles.
18. Enforcement.

Associate agr ees th at Co mpany’s fai lure to r equire s trict compliance w ith any ter m, condition, or coven ant contained in th is
Agreement at any time shall not be deemed a waiver of that or any other term, condition, or covenant contained in this Agreement.
19. Arbitration.

      a) Binding Mutual Arbitration. Associate and the Company agree that any Covered Claims (defined below) will be resolved by
final and binding arbitration as set forth in this Agreement. The arbitration agreement set forth in this Section 19 shall be governed
by the F ederal Arbitration Act (FAA). T his agreement to arbitrate applies with respect to all Covered Claims, whether initiated by
Associate or the Company.
      b) Covered Claims. Ex cept for th e Excluded Claims (defined below), Covered Claims in clude any and all claims or disputes
between Associate and the Company, or th e Company’s parents, su bsidiaries, affiliates, predecessors, and successor corporations
and business entities, and its and their officers, directors, employees, and agents, including but not limited to claims and disputes
arising out of or in any way relating to Associate’s hiring or recruitment, this Agreement, Associate’s employment, compensation,
benefits, an d terms an d c onditions of employment wit h the Company, or the te rmination thereof, including bu t n ot lim ited t o
contract, tort, defama tion and other co mmon l aw cl aims, wage and hour claim s, s tatutory discr imination, har assment, an d
retaliation cl aims, and claims a rising u nder o r r elating to any f ederal, sta te o r lo cal constitution, s tatute o r r egulation, including,
without limitation, the Fair Labor Standards Act (“FLSA”), Title VII of the Civil Rights Act of 1964 (“Title VII”), the Age Discrimination
in Emp loyment Act (“ ADEA”), the W orker Adjust ment and R etraining No tification A ct (“W ARN”), the Eq ual P ay Act (“EP A”), th e
Americans With Disabilities Act ( “ADA”), the Family and Medical Leave Act (“FMLA”), and any and all oth er federal, state, o r local
constitutional, statutory, regulatory, or common law claims or causes of action now or hereafter recognized.


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     c) Excluded C laims. Th e fol lowing cl aims a nd disputes are not subj ect to the arbi tration agreement s et fo rth in this
Agreement: ( i) applications for temporary or preliminary injunctive relief in a id of arbitration or for the m aintenance of the status
quo pending arbitration, (ii) claims arising under, relating to or in connection with an employee benefit plan subject to the Employee
Retirement Income Security Act of 1974 (“ERISA”), which shall be determined in accordance with the claims and dispute resolution
procedures se t forth in th e applicable ERISA plan do cuments, ( iii) c laims for workers’ co mpensation b enefits, b ut not re taliation
claims arising out of or relating to claims for workers’ compensation benefits, (iv) claims for unemployment compensation benefits,
(v) claims within the jurisdiction of the National Labor Relations Board (“NLRB”), and (vi) any claim that is expressly precluded from
arbitration by a f ederal statute. No thing in t his Agreement shall prohibit Associate from filing a char ge or complaint with the U.S.
Equal Employment Oppor tunity Comm ission, the NLRB, the U .S. Department of Labor, the Occupational Safety and Health
Commission, any other feder al, state, or local a dministrative agency; however, any Covered Claim t hat is not resolved through the
federal, state, or local ag ency proceedings must be s ubmitted to arbitration in accordance with this Agreement, except for claims
within the jurisdiction of the NLRB and where expressly precluded by a federal statute. Although an Associate will not be retaliated
against, disciplined or threatened with discipline as a resu lt of his or her e xercising his or her righ ts under Section 7 of the National
Labor Relations Act by t he filing of or part icipation in a class, collective or representative action in any forum, the Company may
lawfully seek enforcement of th is Agreement and the C lass Action Waiver under the Federal Arbitration Act and seek dismissal of
such class, collective or representative actions or clai ms. The Compan y reserves the rig ht to enforce the terms and conditions of
this Agreement in any appropriate forum.
     d) WAIVER. T O THE M AXIMUM EX TENT P ERMITTED BY AP PLICABLE LAW, ASSOCIATE AN D THE COM PANY
AGREE TH AT NO C OVERED CL AIMS MAY BE INI TIATED OR MAINTAINED ON A CLASS, COLLECTIVE OR
REPRESENTATIVE ACTION BASIS EITHER IN COURT OR IN ARBITRATION, AND T HAT ASSOCIATE IS NOT ENT ITLED
TO S ERVE O R PARTICIPATE AS A CLASS, C OLLECTIVE OR RE PRESENTATIVE ACTION RE PRESENTATIVE OR AS A
CLASS, COLLECTIVE OR REPRESENTATIVE ACTION ME MBER, OR RE CEIVE ANY RECOVERY FR OM A CL ASS,
COLLECTIVE OR REPRESENTATIVE ACTION INVOLVING CO VERED CLAIMS EITHER IN COURT OR IN ARB ITRATION.
Associate an d the C ompany f urther a gree that n o a rbitrator shall have au thority to (i) o rder, a uthorize, o r permit any n otice or
information about an arbitration or any claims or defen ses in an arbitration to be sent to any class or gro up of persons other than
the par ties to t he i ndividual ar bitration, prov ided tha t e ither party o r th e arbitr ator may co mpel t estimony o f a witne ss o r th e
production of documents, material or information consistent with applicable arbitration rules, or (ii) order or require either party to
produce any kind of contact information for any cl ass or group of current or fo rmer employees of th e Company. Asso ciate further
agrees that if Associate is included within any class, collective, or representative action in court or in arbitration involving a Covered
Claim, Associate will take all s teps necessary to opt-out of the action or refr ain from opti ng in, as the case may be. An y Covered
Claim f iled or b rought in court or arbitr ation as a class, collective or representative action will be decided in arbitration on an
individual basis. Any issue concerning the validity or enforceability of the Waiver in this Section 19 (including the prohibition against
class, collective or representative action arb itration) sha ll be decided by a co urt of competen t jurisdiction, and no arbitr ator shall
have any aut hority to con sider or decide an y issue concerning the validity o r enforceab ility of the W aiver. Any iss ue concerning
arbitrability of a part icular issue or c laim purs uant t o t he arbitration agree ment (except for t hose c oncerning t he v alidity or
enforceability of the Waiver) must be resolved by the arbitrator, not the court.
     e) Selection and Rules. Except as specified below, any arbitration of a Co vered Claim will be r esolved by final and binding
arbitration conducted under the auspices and r ules of J AMS, or any successor forum, i n accordance with and subject to the JAMS
Employment Arbitration Rules and Procedures and the JAMS Policy on Emp loyment Arbitration Minimum Standards of Procedural
Fairness (“JAMS Arbitration Rules”), located at http://www.jamsadr.com/rules-employment-arbitration, or an y successor rules, and
shall be conducted before a single arbitrator unless all parties to the arbitration agree otherwise in writing. Arbitration shall be held
in the county in which Associate worked or works at the time the claim arose, or the next nearest county with an arbitral forum. To
the extent an y o f the terms, co nditions o r requirements o f thi s Agre ement co nflict wi th the JAMS Arb itration R ules o r o ther
applicable rules, the t erms, conditions or requirements of this Agreement shall govern. Ar bitrators are required to issue a wr itten
award and opinion, and their awards shall be final and binding, and any judgment or award issued by an arbitrator may be entered
in any court of competent jurisdiction. The arbitration shall be subject to the same burdens of proof and statutes of limitations as if
the Covered Claim was being heard in federal district court, and the parties may file and the arbitrator shall hear and decide at any
point in th e proceed ings mot ions to comp el discovery, motions for prot ective orders , mo tions to dis miss, motio ns for su mmary
judgment, and motions in limine. No arbitration award or decision shall have any preclusive effect as to any issues or claims in any
dispute, arbitration or court proceeding where any party was not a named party in the arbitration.
      f) Remedies. Subject to the parties’ right to appeal or seek vacatur under applicable law, Associate and the Company agree
that the decision of the arbitrator will be final and binding on the parties and that the arbitrator is authorized to award any party the
full remedies that would be available to such party if the Covered Claim had been filed in a court of competent jurisdiction, including
attorneys’ fees and costs. As part of Associate’s costs, Associate may recover expert fees incurred by Associate to the same extent
as As sociate co uld in co urt. T o the extent that i t re sults in a greater reco very for Associ ate, the Co mpany agrees to waive the
limitations on the recovery of expert fees as an item of costs imposed by 28 U.S.C. § 1821(b) for reasonable expert fees incurred by
Associate in an y arbitration in which (i) As sociate prevails on any Covered Claim(s) in an amount greater than th e amount of an y
prior offer of settl ement made by the Co mpany, and (ii) such reasonable expert fees wer e incurred for an expert report or exper t
testimony that was adm itted i nto ev idence a nd re lied upo n by th e arb itrator in r endering the a ward o n su ch Co vered C laim(s).
Subject to any applicable fee-shifting provisions, Associate shall be responsible for the filing fee required to institute arbitration with
JAMS up to the amount of the filing fee Associate would have incurred had Associate filed such Covered Claim(s) in federal district
court. The Company shall be responsible for all additio nal arbitration filing fees, forum fees, and other fees and costs assessed by
JAMS.
    g) Further Exclusion. Nothing set forth herein applies to any causes of action already pending in court on the date Associate
executes this A greement, including an y c lass, coll ective, or re presentative a ction for whic h Assoc iate wou ld be a me mber or
potential member of the class, collective, or representative action.




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20. Arbitration Opt-Out.

Associate may opt-out of (reject) Section 19 by submitting a signed written statement that Associate wishes to opt-out and not be
subject to Section 19 of this Agreement. In order to be effective, the written statement must include Associate’s full name, address,
and emplo yee I D n umber, a nd mu st b e su bmitted to H&R Bl ock-Legal Department, Attention: A rbitration Opt-Out , On e
H&R B lock Way, Kansas C ity, Missouri 64105 within thirty (3 0) days o f Assoc iate's s igning of t his Agr eement. A ssociate’s
written o pt-out wil l over ride A ssociate’s s ignature b elow r egarding ar bitration, bu t no o ther pr ovision o f this Agr eement. Any
associate choosing to opt-out will not be subject to any adverse employment action as a consequence of that decision.
21. Severability.

The provisions of this Agreement shall be severable and, if any provision hereof shall be determined to be legally unenforceable or
void, such unenforceable or void provision shall not affect the legality, validity or enforceability of the r emaining provisions hereof,
except that, in the event the Waiver set forth in Section 19(d) is determined to be invalid, unenforceable or void with respect to any
Covered Claim(s) initiated or p ursued in co urt or in ar bitration on a c lass, collective or re presentative action basis and, insofar as
any such Covered Claim(s) are permitted to pr oceed on a class, collective or representative action basis, they must do so in a court
of competent jurisdiction and, to the fullest extent permitted by law, Associate and the Company agree to waive any right to a jury
trial for any and all su ch claims. If controlling law does not permit waiver of the r ight to a j ury trial as de scribed in t he preceding
sentence, the parties’ respective rights to a jury trial remain. If the Waiver set forth in Section 19(d) is determined to be invalid,
unenforceable, or void with respect to any Covered Claim, the Waiver shall remain effective and enforceable with respect to all other
Covered Claims.
22. Notices.

All notices required to be giv en hereunder shall be in writing an d shall be deemed se rved and delivered for all purposes if delivered
in p erson; if delivered by e-mail or fax (with confirmation of delivery); or if mailed, po stage prepaid, to Associate at the a bove-
stated address or to the Comp any at the pr incipal office for the di strict of employment, except as noted in Sect ion 20. An y notice
given by mail shall be deemed given as of the date mailed and postmarked or received by a nationally recognized overnight courier
for delivery.
23. Entire Agreement.
The forego ing i s t he entire Ag reement b etween the part ies as to th e terms and cond itions of As sociate’s emp loyment a nd t he
subject matter of each of the paragraphs and subpar agraphs of this Agre ement, and no a mendment of t his Agreement will be
effective unless in writing and signed by the parties.


IN WITNESS WHEREOF, the parties have executed this Agreement on the day and year noted below.

By checking the sign and submit button, you are indicat ing your agreement t o the above terms and
conditions, including but no t limited to the Arbitration agreement and Waiver in Sec tion 19 and Arbitration Opt-Out i n
Section 20. Checking the button will serve as your electronic signature. Once you have checked
that button, a signature date will display in this document, below.



 __________________________
                                                   HRB Resources LLC
                                                ________________________
                                                                                                      11/25/2014
                                                                                                ____________________
  Associate                                      Company                                         Signed Date




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                   EXHIBIT F
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                                   TAX PROFESSIONAL EMPLOYMENT AGREEMENT

This Agreement is made between            Carmen            Maurella III      of 14048 CHICORY TRAIL                                 ,
                                                      (Name)                                   (Number & Street or Box No.)
Homer Glen                       , IL         60491                  (“Associate”), and HRB Resources LLC                            ,
               (City)                   (State)    (Zip )
(“the Company”). These parties, in consideration of the covenants and agreements set forth below, agree as follows:
1.   Employment.
The      Company   employs    Associate  as    a5000________________________________________
                                                      - First Year Tax Pro                          in   the   Company’s
_______________________________________
 NAPERVILLE, IL                                 District, Admin. ID# _____________________,
                                                                           12519             for the period and upon the
terms and conditions herein contained. Associate hereby accepts such employment and agrees to comply with such terms and
conditions.
2.   Term.
The term of this Agreement begins on the earlier of the following dates: the date Associate first attends Skills to Win training; the
date Associate attends any other paid training; or December 1, 2013. The term of this Agreement shall end on April 16, 2014.
3.   Duties.
Associate’s duties consist of attending Skills to Win training, mid-season training, and other mandatory training, preparing accurate
tax returns and offering electronic filing of returns to qualifying taxpayers, promoting and providing additional or alternative
products or services which the Company or its affiliates may offer, providing other information to clients that may be relevant to
their tax and financial situation, and performing other duties as assigned, all in accordance with the law and the Company’s policies
and procedures, including the H&R Block, Inc. Code of Business Ethics & Conduct. Associate acknowledges that it is outside the
scope of Associate’s employment hereunder and is against the rules of the Company for Associate to offer any financial advice for
which a license is required.
4.   Compensation.
The Company shall pay Associate an hourly rate of pay, the amount of which shall be determined by the Company labor code
assigned to a specific project or task. Different projects or tasks are assigned different pay rates and the Company reserves the
right to revise such rates at any time. Under no circumstance shall the hourly rate for any work performed be less than the federal
or applicable state minimum wage. Associate shall be paid overtime in accordance with federal and applicable state wage and hour
laws.
5.   Withholdings and Offsets.
The Company shall withhold from all compensation payable to Associate all required federal, state, and local taxes. Associate
agrees that if Associate fails to turn over all Company funds as required by Company policy or becomes indebted to the Company,
the Company may, subject to applicable laws, offset the amount of any such funds or indebtedness against any compensation due
Associate.
6.   Hours.
Associate’s hours of employment will be as from time to time designated by the Company. Associate understands the seasonal
nature and fluctuation of the Company’s business and acknowledges the Company’s exclusive right to reduce or increase Associate’s
hours of employment based on business needs. Associate recognizes and agrees that there may be pay periods during which
Associate is not assigned any hours of employment. Associate agrees to be available to work until the end date of this Agreement.
Associate hereby expressly acknowledges and agrees to abide by the Company’s timekeeping policies by accurately recording all
hours worked.
7.   Termination.
     a)   Notwithstanding the above-described Term, either party may terminate this Agreement upon seven (7) days prior written
notice.
      b) Furthermore, the Company may terminate this Agreement and the employment of Associate without notice upon a
determination by the Company that Cause exists for such termination. For purposes of this Agreement, “Cause” shall include, but is
not limited to, the following:
          1)            Associate’s unsatisfactory performance as determined by the Company;
          2)            Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material violation of Company
                        policies including, but not limited to, the H&R Block, Inc. Code of Business Ethics & Conduct;
       3)               Associate’s violation of any term of this Agreement or Associate’s stated intention to violate any term of this
Agreement;
          4)            Associate’s failure to meet the criteria for any Company-mandated background check;

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          5)       Associate’s conviction of or plea of guilty or no contest to a crime of dishonesty or theft during or prior to
                   Associate’s employment (subject to state law);
          6)       Associate’s misrepresentation on the employment application or in this Agreement; or
          7)       Associate’s failure to secure a Preparer Tax Identification Number (PTIN) in accordance with IRS regulations and
                   Company requirements.
     c)    “Cause” shall also include: (i) Associate’s violation of any term of any prior employment agreement between Associate
and the Company, (ii) fraud or theft by Associate during any prior period of employment with the Company, and (iii) material
violation of any Company policy, including the H&R Block, Inc. Code of Business Ethics & Conduct, by Associate during any prior
period of employment with the Company.
8.   Confidential Information.
Associate will be given access to Trade Secrets and other Confidential Business Information which has commercial value to the
Company and its affiliates (hereinafter together referred to as “H&R Block”) the confidential nature of all such information is hereby
acknowledged by Associate. In consideration for the Company providing such access, and as a material term of this Agreement,
Associate gives the Company the covenants contained in Sections 8, 9, 10, and 11 of this Agreement. Associate agrees and
acknowledges as follows:
     a) Without the Company’s prior written authorization, Associate shall not directly or indirectly: (i) misappropriate, make
copies of, or remove from H&R Block’s offices any Confidential Business Information of H&R Block, (ii) make known, divulge, or
communicate to any person or entity any Confidential Business Information of H&R Block, or (iii) use any Confidential Business
Information of H&R Block for any reason other than as necessary to enable Associate to properly perform Associate’s duties
hereunder. Nothing in this Section 8 shall be construed as limiting or impeding an associate covered by the National Labor Relations
Act (the “Act”) from exercising his or her rights under Section 7 of the Act by, for example, disclosing Terms and Conditions
Information. “Terms and Conditions Information” refers to information concerning the wages, hours and terms and conditions of
employment for employees covered by the Act. Further, nothing herein shall be construed to prohibit the reporting of a violation of
law or to prohibit a disclosure of information that is compelled by law; provided, however, that to the extent allowed by law,
Associate will give the Company as much written notice as possible under the circumstances and will cooperate with the Company in
any legal action undertaken to protect the confidentiality of the information.
     b) Upon cessation of employment hereunder, Associate shall promptly deliver to the Company the originals and all copies of
Confidential Business Information and other materials and property of any nature belonging to H&R Block.
     c) “Confidential Business Information” means all information learned by Associate as a consequence of Associate’s
employment with the Company, including, but not limited to, H&R Block’s client lists, information pertaining to H&R Block’s clients,
employee lists and employee data obtained from the Company’s confidential personnel files, and H&R Block’s tax preparation
software. “Confidential Business Information” does not include information in the public domain through authorized disclosure by
H&R Block or information that Associate has received prior written authorization by H&R Block to disclose or otherwise use.
Confidential Business Information does include information about the business affairs of third parties (including, but not limited to,
the Company’s clients) that such third parties provide to the Company in confidence.
      d) The designation of any information as Confidential Business Information does not preclude it from also constituting a Trade
Secret as defined by applicable law. Associate is prohibited from using, disclosing, or misappropriating Trade Secrets of H&R Block
at all times during and after Associate’s employment for so long as such information remains a Trade Secret. Trade Secrets include,
among other things, H&R Block’s client lists and all information pertaining to H&R Block’s clients.
     e) Information shall not be deemed to have lost its status as a Trade Secret or Confidential Business Information as the result
of any unauthorized disclosure by Associate or any other person or third party.
     f) Section 7216 of the Internal Revenue Code of 1986, as amended, prohibits the unauthorized use and/or disclosure of
confidential tax return information of the Company’s clients, and Associate agrees that Associate will not at any time disclose or use
such information in violation thereof.
    g) The restrictions in this Agreement shall supplement, but not replace, any and all obligations Associate owes the Company
under applicable law.
9.   Extent of Services.
Associate agrees that during the term of Associate’s employment Associate shall not directly or indirectly:
     a)   Compete with the Company at any location or in any capacity by:
          (1) preparing or electronically filing tax returns or providing any other product or service that the Company offers in the
Associate’s district of employment (for example, bookkeeping if provided in the district); or
          (2) soliciting or accepting any of the Company’s clients for the aforementioned services.
     b)   Be an Electronic Return Originator (“ERO”) with the IRS.
Associate agrees and accepts as a condition of employment that during the term of Associate’s employment all tax returns Associate
prepares, including any returns Associate prepares for friends and family, but excluding Associate’s own return, must be processed
through the Company in accordance with Company policies and procedures as returns prepared by the Company. Associate may
prepare and electronically file Associate’s own tax return free of charge. For associates employed within the State of Texas, for
purposes of this Section 9, “Company” means both HRB Technology LLC and H&R Block Enterprises LLC.
Associate shall not be in violation of Section 9(a)(1) if providing the prohibited services for an H&R Block franchise.
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10. Post-Termination Covenants.

     a) Associate covenants that for two (2) years following the cessation of Associate’s employment hereunder for any reason
(the “Restricted Period”), Associate shall not directly or indirectly:
          (1) Provide any of the following services to any Company Client: (i) preparation of tax returns; (ii) electronic filing of tax
returns; or (iii) any Alternative Products or Services; or
            (2) Solicit Company Clients for the purpose of offering to such clients: (i) tax return preparation services; (ii) electronic
filing of tax returns; or (iii) any Alternative Products or Services.
     b) Associate agrees that the Restricted Period for each of the above covenants shall be tolled during (i) any period(s) of violation
that occur during the original Restricted Period; and (ii) any period(s) of time required by litigation to enforce the covenant (other than any
periods during which Associate is enjoined from engaging in the prohibited activity and is in compliance with such order of enjoinment)
provided that the litigation is filed within one year following the end of the original Restricted Period.
     c) For purposes of this Section 10, “Company Clients” is defined as every person or entity whose federal or state tax return
was prepared or electronically transmitted by Associate, or for whom Associate provided any Alternative Products or Services,
during the term of this Agreement or during any period of time in which Associate was employed by the Company or an affiliate
during the twelve (12) months immediately preceding the effective date of this Agreement.
     d) For purposes of this Section 10, “Alternative Products or Services” means products or services, other than the preparation
or electronic filing of tax returns, that the Company provides to clients within Associate’s district of employment (for example,
bookkeeping if provided in such district).
      e) In the event a duly appointed arbitrator (or where permitted under Section 18, a court of competent jurisdiction) finds the
time period, geographic scope, scope of activity, or any definition contained in this Section 10 to be overly broad, the time period,
geographic scope, scope of activity, or definition that such arbitrator or court deems reasonable shall be substituted for the language
in this Agreement (where allowed by applicable law).
     f)    Associate shall not be in violation of Section 10(a)(1) if providing the prohibited services for an H&R Block franchise.
     g)    Sections 10(a) and (b) are not applicable to associates employed in the state of North Dakota.
     h)    Section 10(b) is not applicable to associates employed in the state of Wisconsin.
     i)   For Associates employed in the state of Arizona or Puerto Rico, the Restricted Period in Section 10(a) shall be one (1) year
following the cessation of Associate’s employment.
     j)    For Associates employed in the State of Louisiana, Sections 10(a)(1) and (2) are limited within the state of Louisiana to
the Parishes in which Associate assisted Company in providing its products and services, and Parishes adjacent to such Parishes (or
counties of adjacent states), as identified in Attachment A to this Agreement; provided, however, that nothing in this Agreement
may be construed to prohibit the enforcement of Sections 10(a)(1) and (2) in accordance with their terms in states outside of
Louisiana.
11. Nonsolicitation of Employees.

Associate covenants that during Associate’s employment hereunder and for one (1) year following the cessation of such
employment for any reason, Associate shall not, directly or indirectly, solicit or hire Company Employees to work in any business
that provides any product or services in competition with the Company. For purposes of this Agreement, “Company Employees”
mean persons employed by the Company or its affiliates at the time of the solicitation or hiring or at any time during the term of
this Agreement. For associates employed within the State of Texas, for purposes of this Section 11, “Company” means both HRB
Technology LLC and H&R Block Enterprises LLC. Where required by applicable law to be enforceable, the foregoing restriction shall
only apply to Company Employees employed by Company or its affiliates within the District identified in Section 1.
Section 11 is not applicable to associates employed in the state of Wisconsin.
12. Remedies.

The parties agree that if any provision of Section 8, 9, 10, or 11 is violated, the Company will have no adequate remedy at law and
will suffer irreparable loss and damage. The parties further agree that in the event of any such breach or violation, whether
threatened or actual, the Company shall be entitled to injunctive relief to prohibit or restrain such breach or violation in addition to
all other remedies available at law or equity. Associate agrees that no bond need be filed in connection with any request by the
Company for a temporary restraining order or other preliminary injunctive relief. In addition to injunctive relief, Associate
acknowledges that the Company is entitled to damages for any breach of Section 8, 9, 10, or 11. Further, in the event of such
breach or violation, Associate shall pay the Company all costs, reasonable attorneys’ fees, and expenses incurred by the Company
in enforcing Sections 8, 9, 10, or 11 of this Agreement. Further, Associate acknowledges that damages for breach of Section 9 are
difficult, if not impossible, to establish and Associate therefore agrees to liquidated damages as set forth below. Associate
acknowledges and agrees that these sums are a reasonable forecast of the harm caused by the breach in light of the anticipated or
actual loss caused by a breach and the difficulties of proof of loss. Associate agrees that this liquidated damages provision shall not
be construed as a payment to avoid Associate’s obligations under Section 8, 9, 10, or 11 hereof and further agrees that the
Company shall be entitled to injunctive relief in addition to enforcement of this liquidated damages provision.
In the event Associate breaches Section 9 of this Agreement, Associate shall pay to Company a lump sum of $1,000 per tax season
of employment up to a $10,000 maximum (a partial tax season shall be counted as a tax season).
Any violation of Section 8, 9, 10, or 11 shall otherwise be resolved in accordance with the arbitration agreement in Section 18,
unless Associate opts out in accordance with Section 18(h).

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13. Agreement Regarding Products and Services of H&R Block Bank and Other Financial Institutions.

Associate agrees to comply with the following conditions in offering the H&R Block Emerald Advance® Line of Credit, H&R Block
Emerald Savings®, H&R Block Emerald Prepaid MasterCard®, Refund Anticipation Checks, credit cards, and other H&R Block Bank
products and in offering Refund Anticipation Loans and Refund Anticipation Checks or other financial products of any other financial
institution with whom H&R Block partners to offer these products. Associate will comply with all H&R Block Operating Policies and
Procedures and required training related to the above products prior to conducting any marketing, solicitation, customer service or
credit service organization activities. Associate acknowledges that H&R Block Bank and other financial institutions have the right to
monitor, review, and audit activities Associate performs in connection with such entities’ respective products and services. Associate
acknowledges that H&R Block Bank’s primary regulator (the Office of the Comptroller of the Currency) and H&R Block’s primary
regulator for banking purposes (the Federal Reserve) have the authority to regulate, examine, and take enforcement action against
the Company and its affiliates and H&R Block Bank with respect to the activities performed in connection with H&R Block
Bank’s products or services, and Associate acknowledges that federal and state banking and consumer products regulators may
have the authority to regulate, examine, and take enforcement action against the Company and its affiliates and other financial
institutions with respect to certain activities performed in connection with these products or services.
14. Tax Preparer Penalties.

As a condition of employment, Associate agrees to provide to the Company, immediately upon receipt, a copy of any notice or
communication Associate receives from the Internal Revenue Service or any state taxing authority related to Associate’s tax
preparation practices or tax preparer penalties proposed or assessed against Associate. Associate further agrees to authorize the
Internal Revenue Service or state taxing authority to share with the Company and its affiliates all notices and communications
related to the proposed or assessed penalties. Associate expressly acknowledges and agrees that Associate may be personally
responsible for paying preparer penalties assessed by the Internal Revenue Service or state taxing authority.
15. Survival; Assignability.

The parties agree that the covenants and agreements contained in Sections 8 through 21 shall survive the termination of this
Agreement and shall, likewise, continue to apply and be valid notwithstanding any change in Associate’s duties, responsibilities,
position, or title. This Agreement is assignable by the Company to any other party without notice to, consent by, or approval by
Associate. Associate shall not assign this Agreement. This Agreement shall inure to the benefit of the successors and assigns of the
Company.
16. Representations of Associate.

     a) Associate represents that Associate has never had a Form 8633 (Application to Participate in the Electronic Filing Program)
denied by the Internal Revenue Service and has never been suspended or rejected from such program prior to this Agreement.
Associate further represents that Associate has not currently applied for or been accepted as an Electronic Filer other than by virtue
of any application made through or on behalf of the Company.
    b) Associate represents that all statements made on Associate’s employment application, including those regarding
Associate’s criminal background, are true and accurate.
    c) Associate represents that Associate is not subject to any contract that would prohibit performance of his/her duties
hereunder.
17. Enforcement.

Associate agrees that Company’s failure to require strict compliance with any term, condition, or covenant contained in this
Agreement at any time shall not be deemed a waiver of that or any other term, condition, or covenant contained in this Agreement.
18. Mutual Arbitration Agreement.

       a) Binding Mutual Arbitration. This Mutual Arbitration Agreement in Section 18 (“Arbitration Agreement”) is between
Associate and the Company. Associate and the Company agree that any Covered Claims (defined below) will be resolved by final
and binding arbitration as set forth in this Arbitration Agreement, unless Associate opts out pursuant to Section 18(h) below. Any
reference to the Company in this Section 18 will be a reference also to the Company’s direct or indirect parents, subsidiaries,
affiliates, predecessors, and successor entities. This Arbitration Agreement shall be governed by the Federal Arbitration Act (FAA) (9
U.S.C. sections 1 et seq.), and evidences a transaction involving commerce. This agreement to arbitrate applies with respect to all
Covered Claims, whether initiated by Associate or the Company. All Covered Claims shall be decided by an arbitrator through
arbitration and not by way of court or jury trial.
     b) Covered Claims. This Arbitration Agreement is intended to be as broad as legally permissible and to apply to the
resolution of disputes that otherwise would be resolved in a court of law or before a forum other than arbitration. Except for the
Excluded Claims (defined below), Covered Claims include any and all past, present, and future claims or disputes between Associate
and the Company, or the Company’s direct or indirect parents, subsidiaries, affiliates, predecessors, and successor corporations and
business entities, and its and their officers, directors, employees, and agents, including but not limited to claims and disputes arising
out of or in any way relating to Associate’s hiring or recruitment, Associate’s employment, compensation, benefits, and terms and
conditions of employment with the Company, or the termination thereof, including but not limited to contract, tort, defamation and
other common law claims, wage and hour claims, statutory discrimination, harassment, and retaliation claims, and claims arising
under or relating to any federal, state or local constitution, statute or regulation, including, without limitation, the Fair Labor
Standards Act (“FLSA”), Title VII of the Civil Rights Act of 1964 (“Title VII”), the Age Discrimination in Employment Act (“ADEA”),
the Worker Adjustment and Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the Americans With Disabilities Act
(“ADA”), the Family and Medical Leave Act (“FMLA”), and any and all other federal, state, or local constitutional, statutory,
regulatory, or common law claims or causes of action now or hereafter recognized.



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     c) Excluded Claims. The following claims and disputes are not subject to arbitration under this Arbitration Agreement: (i)
applications for temporary or preliminary injunctive relief in aid of arbitration or for the maintenance of the status quo pending
arbitration, (ii) claims arising under, relating to or in connection with an employee benefit plan subject to the Employee Retirement
Income Security Act of 1974 (“ERISA”), which shall be determined in accordance with the claims and dispute resolution procedures
set forth in the applicable ERISA plan documents, (iii) claims for workers’ compensation benefits, but not retaliation claims arising
out of or relating to claims for workers’ compensation benefits, (iv) claims for unemployment compensation benefits, (v) claims
within the jurisdiction of the National Labor Relations Board (“NLRB”), (vi) disputes that may not be subject to pre-dispute
arbitration as expressly provided by the Dodd-Frank Wall Street Reform and Consumer Protection Action or other controlling federal
statutes, and (vii) claims related to the validity or enforceability of the Arbitration Agreement. Nothing in this Arbitration Agreement
shall prohibit Associate from filing a charge or complaint with the U.S. Equal Employment Opportunity Commission, the NLRB, the
U.S. Department of Labor, the Occupational Safety and Health Commission, any other federal, state, or local administrative agency.
Although an Associate will not be retaliated against, disciplined or threatened with discipline as a result of his or her exercising his or
her rights under Section 7 of the National Labor Relations Act by the filing of or participation in a class, collective or representative
action in any forum, the Company may lawfully seek enforcement of this Arbitration Agreement and the Class and Representative
Action Waiver under the Federal Arbitration Act and seek dismissal of such class, collective or representative actions or claims. The
Company reserves the right to enforce the terms and conditions of this Arbitration Agreement in any appropriate forum.
     d) Further Exclusion. This Arbitration Agreement does not apply to any causes of action already pending in court on the date
Associate executes this Agreement, including any class, collective, or representative action, for which Associate is already a
member or potential member of the class, collective, or representative action (“Pending Claims”). This Arbitration Agreement does,
however, apply to any Pending Claims that were filed against the Company before Associate was ever employed with the Company.
Additionally, if Associate previously signed an agreement to arbitrate claims with the Company prior to commencement of the action
seeking to litigate the Previous Claim and the Pending Claim was covered by the previous agreement to arbitrate, that previous
agreement to arbitrate would continue to apply to the Pending Claim.
     e)   Class and Representative Action Waiver.
TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, ASSOCIATE AND THE COMPANY AGREE THAT NO COVERED CLAIMS
MAY BE INITIATED OR MAINTAINED ON A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION BASIS EITHER IN COURT OR IN
ARBITRATION, AND THAT ASSOCIATE IS NOT ENTITLED TO SERVE OR PARTICIPATE AS A CLASS, COLLECTIVE OR
REPRESENTATIVE ACTION REPRESENTATIVE OR AS A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION MEMBER, OR RECEIVE
ANY RECOVERY FROM A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION INVOLVING COVERED CLAIMS EITHER IN COURT OR
IN ARBITRATION.
           THE COMPANY AND ASSOCIATE HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED OR
ARBITRATED AS A CLASS AND/OR COLLECTIVE ACTION (“Class Action Waiver”). Notwithstanding any other clause contained in
this Agreement, the preceding sentence shall not be severable from this Arbitration Agreement in any instance in which the Covered
Claim is brought as a class and/or collective action. To the extent the Class Action Waiver is determined to be invalid, unenforceable,
or void, the class action must proceed in a court of law and not in arbitration.
          THE COMPANY AND ASSOCIATE ALSO HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED
OR ARBITRATED AS A PRIVATE ATTORNEY GENERAL REPRESENTATIVE ACTION (“Representative Action Waiver”). However, this
Representative Action Waiver may be severed if it would otherwise render this Arbitration Agreement unenforceable in any action
brought under a private attorneys general law, and following severance the representative action must be brought in a court of law
and not in arbitration.
          Notwithstanding any other clause of language contained in this Arbitration Agreement and/or any rules or procedures that
might otherwise be applicable by virtue of this Agreement or by virtue of any arbitration organization rules or procedures that now
apply or any amendments and/or modifications to those rules, any claim that this Class Action Waiver or Representative Action
Waiver, or any portion of this Class Action Waiver or Representative Action Waiver, is unenforceable, inapplicable, unconscionable, or
void or voidable, shall be determined only by a court of competent jurisdiction and not by an arbitrator.
     f) Selection and Rules. Except as specified below, any arbitration of a Covered Claim will be resolved by final and binding
arbitration conducted under the auspices and rules of JAMS, or any successor forum, in accordance with and subject to the JAMS
Employment Arbitration Rules and Procedures (“JAMS Arbitration Rules”), located at http://www.jamsadr.com/rules-employment-
arbitration or by using a service such as www.google.com to search for “JAMS Employment Arbitration Rules,” and shall be
conducted before a single arbitrator unless all parties to the arbitration agree otherwise in writing. Arbitration shall be held in the
county in which Associate worked or works at the time the claim arose, or the next nearest county with an arbitral forum. To the
extent any of the terms, conditions or requirements of this Arbitration Agreement conflict with the JAMS Arbitration Rules, the
terms, conditions or requirements of this Arbitration Agreement shall govern. Arbitrators are required to issue a written award and
opinion, and their awards shall be final and binding, and any judgment or award issued by an arbitrator may be entered in any court
of competent jurisdiction. The arbitration shall be subject to the same burdens of proof and statutes of limitations as if the Covered
Claim was being heard in federal district court, and the parties may file and the arbitrator shall hear and decide at any point in the
proceedings motions to compel discovery, motions for protective orders, motions to dismiss, motions for summary judgment, and
motions in limine. No arbitration award or decision shall have any preclusive effect as to any issues or claims in any dispute,
arbitration or court proceeding where any party was not a named party in the arbitration unless and except as permitted by
applicable law.
     g) Remedies. Subject to the parties’ right to seek correction, modification, or vacatur under applicable law, Associate and the
Company agree that the award of the arbitrator will be final and binding on the parties and that the arbitrator is authorized to award
any party the remedies that would be available to such party if the Covered Claim had been filed in a court of competent
jurisdiction. As part of Associate’s costs, Associate may recover expert fees incurred by Associate to the same extent as Associate
could in court. To the extent that it results in a greater recovery for Associate, the Company agrees to waive the limitations on the
recovery of expert fees as an item of costs imposed by 28 U.S.C. § 1821(b) for reasonable expert fees incurred by Associate in any
arbitration in which (i) Associate prevails on any Covered Claim(s) in an amount greater than the amount of any prior offer of
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settlement made by the Company, and (ii) such reasonable expert fees were incurred for an expert report or expert testimony that
was admitted into evidence and relied upon by the arbitrator in rendering the award on such Covered Claim(s). The Company shall
be responsible for all arbitration filing fees, forum fees, and other fees and costs assessed by JAMS.
     h) Arbitration Opt-Out. Associate may opt-out of this Arbitration Agreement in Section 18 by submitting a signed written
statement that Associate wishes to opt-out and not be subject to this Arbitration Agreement in Section 18. In order to be effective,
the written statement must include Associate’s full name, address, and employee ID number, and must be submitted to H&R
Block-Legal Department, Attention: Arbitration Opt-Out, One H&R Block Way, Kansas City, Missouri 64105 within thirty
(30) days of Associate's signing of this Agreement. Associate’s written opt-out of the Arbitration Agreement will override Associate’s
signature below regarding arbitration for purposes of Section 18, but no other provision of this Agreement or prior or future
arbitration agreements between Associate and the Company. Any associate choosing to opt-out of the Arbitration Agreement will
not be subject to any adverse employment action as a consequence of that decision.
19. Severability.

Except as set forth in Section 18, above, the provisions of this Agreement shall be severable. If any provision hereof shall be
determined to be legally unenforceable or void, such unenforceable or void provision shall not affect the legality, validity or
enforceability of the remaining provisions hereof. If the Class or Representative Action Waiver set forth in Section 18(e) is
determined to be invalid, unenforceable, or void with respect to any Covered Claim, the Waiver shall remain effective and
enforceable with respect to all other Covered Claims.
20. Notices.

All notices required to be given hereunder shall be in writing and shall be deemed served and delivered for all purposes if delivered
in person; if delivered by e-mail or fax (with confirmation of delivery); or if mailed, postage prepaid, to Associate at the above-
stated address or to the Company at the principal office for the district of employment, except as noted in Section 18(h). Any notice
given by mail shall be deemed given as of the date mailed and postmarked or received by a nationally recognized overnight courier
for delivery.
21. Entire Agreement.

The foregoing is the entire Agreement between the parties as to the terms and conditions of Associate’s employment and the
subject matter of each of the paragraphs and subparagraphs of this Agreement, and no amendment of this Agreement will be
effective unless in writing and signed by the parties or is by order of a duly-appointed arbitrator or, where permitted by Section 18,
by a court of competent jurisdiction. The Arbitration Agreement in Section 18 shall survive the termination of Associate’s
employment and the expiration of any benefit.


IN WITNESS WHEREOF, the parties have executed this Agreement on the day and year noted below.

By checking the sign and submit button, you are indicating your agreement to the above terms and conditions, including
but not limited to the Arbitration Agreement and Class and Representative Action Waiver in Section 18 and Arbitration
Opt-Out in Section 18(h). Checking the button will serve as your electronic signature. Once you have checked that
button, a signature date will display in this document, below.



 /s/                              ____
                                             /s/__________________________
                                                HRB Resources LLC                         Date Signed:__________________
                                                                                                      11/25/2014
       Associate
                                                Company




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                  EXHIBIT G
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                              TAX PROFESSIONAL EMPLOYMENT AGREEMENT

This Agreement is made between Carmen              Maurella III     of 14048 CHICORY TRAIL                                   ,
                                             (Name)                               (Number & Street or Box No.)
Homer Glen                  , IL       60491               (“Associate”), and   HRB Resources LLC                            ,
               (City)           (State)   (Zip )
(“the Company”). These parties, in consideration of the covenants and agreements set forth below, agree as follows:
1.   Employment.
The      Company   employs    Associate  as    a    5000   - First Year Tax Pro
                                                    ________________________________________        in   the   Company’s
_______________________________________
 NAPERVILLE, IL                                 District, Admin. ID# _____________________,
                                                                       12519                 for the period and upon the
terms and conditions herein contained. Associate hereby accepts such employment and agrees to comply with such terms and
conditions.
2.   Term.
The term of this Agreement begins on the earlier of the following dates: the date Associate first attends Skills to Win training; the
date Associate attends any other paid training; or December 1, 2014. The term of this Agreement shall end on April 16, 2015.
3.   Duties.
Associate’s duties consist of attending Skills to Win training, mid-season training, and other mandatory training, preparing accurate
tax returns and offering electronic filing of returns to qualifying taxpayers, promoting and providing additional or alternative
products or services which the Company or its affiliates may offer, providing other information to clients that may be relevant to
their tax and financial situation, and performing other duties as assigned, all in accordance with the law and the Company’s policies
and procedures, including the H&R Block, Inc. Code of Business Ethics & Conduct. Associate acknowledges that it is outside the
scope of Associate’s employment hereunder and is against the rules of the Company for Associate to offer any financial advice for
which a license is required.
4.   Compensation.
The Company shall pay Associate an hourly rate of pay, the amount of which shall be determined by the Company labor code
assigned to a specific project or task. Different projects or tasks are assigned different pay rates and the Company reserves the
right to revise such rates at any time. Under no circumstance shall the hourly rate for any work performed be less than the federal
or applicable state minimum wage. Associate shall be paid for all hours worked, including overtime, in accordance with federal and
applicable state wage and hour laws.
5.   Withholdings and Offsets.
The Company shall withhold from all compensation payable to Associate all required federal, state, and local taxes. Associate
agrees that if Associate fails to turn over all Company funds as required by Company policy or becomes indebted to the Company,
the Company may, subject to applicable laws, offset the amount of any such funds or indebtedness against any compensation due
Associate.
6.   Hours.
Associate’s hours of employment will be as from time to time designated by the Company. Associate understands the seasonal
nature and fluctuation of the Company’s business and acknowledges the Company’s exclusive right to reduce or increase Associate’s
hours of employment based on business needs. Associate recognizes and agrees that there may be pay periods during which
Associate is not assigned any hours of employment. Associate agrees to be available to work until the end date of this Agreement.
Associate hereby expressly acknowledges and agrees to abide by the Company’s timekeeping policies by accurately recording all
hours worked.
7.   Termination.
     a)   Notwithstanding the above-described Term, either party may terminate this Agreement upon seven (7) days prior written
notice.
      b) Furthermore, the Company may terminate this Agreement and the employment of Associate without notice upon a
determination by the Company that Cause exists for such termination. For purposes of this Agreement, “Cause” shall include, but is
not limited to, the following:
          (1) Associate’s unsatisfactory performance as determined by the Company;
          (2) Associate’s misconduct that interferes with or prejudices the proper conduct of the Company’s business or which
              may reasonably result in harm to the reputation of the Company;
          (3) Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material violation of Company
              policies including, but not limited to, the H&R Block, Inc. Code of Business Ethics & Conduct;



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          (4) Associate’s violation of any term of this Agreement or Associate’s stated intention to violate any term of this
              Agreement;
          (5) Associate’s failure to meet the criteria for any Company-mandated background check;
          (6) Associate’s conviction of or plea of guilty or no contest to a crime of dishonesty or theft during or prior to Associate’s
              employment (subject to state law);
          (7) Associate’s misrepresentation on the employment application or in this Agreement; or
          (8) Associate’s failure to secure a Preparer Tax Identification Number (PTIN) in accordance with IRS regulations and
              Company requirements.
     c)    “Cause” shall also include: (i) Associate’s violation of any term of any prior employment agreement between Associate
and the Company, (ii) fraud or theft by Associate during any prior period of employment with the Company, and (iii) material
violation of any Company policy, including the H&R Block, Inc. Code of Business Ethics & Conduct, by Associate during any prior
period of employment with the Company.
8.   Confidential Information.
Associate will be given access to Trade Secrets and other Confidential Business Information which has commercial value to the
Company and its affiliates (hereinafter together referred to as “H&R Block”) the confidential nature of all such information is hereby
acknowledged by Associate. In consideration for the Company providing such access, and as a material term of this Agreement,
Associate gives the Company the covenants contained in Sections 8, 9, 10, and 11 of this Agreement. Associate agrees and
acknowledges as follows:
     a) Without the Company’s prior written authorization, Associate shall not directly or indirectly: (i) misappropriate, make
copies of, or remove from H&R Block’s offices any Confidential Business Information of H&R Block, (ii) make known, divulge, or
communicate to any person or entity any Confidential Business Information of H&R Block, or (iii) use any Confidential Business
Information of H&R Block for any reason other than as necessary to enable Associate to properly perform Associate’s duties
hereunder. Nothing in this Section 8 shall be construed as limiting or impeding an associate covered by the National Labor Relations
Act (the “Act”) from exercising his or her rights under Section 7 of the Act by, for example, disclosing Terms and Conditions
Information. “Terms and Conditions Information” refers to information concerning the wages, hours and terms and conditions of
employment for employees covered by the Act. Further, nothing herein shall be construed to prohibit the reporting of a violation of
law or to prohibit a disclosure of information that is compelled by law; provided, however, that to the extent allowed by law,
Associate will give the Company as much written notice as possible under the circumstances and will cooperate with the Company in
any legal action undertaken to protect the confidentiality of the information.
     b) Upon cessation of employment hereunder, Associate shall promptly deliver to the Company the originals and all copies of
Confidential Business Information and other materials and property of any nature belonging to H&R Block.
     c) “Confidential Business Information” means all information learned by Associate as a consequence of Associate’s
employment with the Company, including, but not limited to, H&R Block’s client lists, information pertaining to H&R Block’s clients,
private or sensitive employee information (such as social security information or birth dates, and information obtained from any
confidential human resources or employee files/records to which Associate may have access), and H&R Block’s tax preparation
software. “Confidential Business Information” does not include information in the public domain through authorized disclosure by
H&R Block or information that Associate has received prior written authorization by H&R Block to disclose or otherwise use.
Confidential Business Information does include information about the business affairs of third parties (including, but not limited to,
the Company’s clients) that such third parties provide to the Company in confidence.
      d) The designation of any information as Confidential Business Information does not preclude it from also constituting a Trade
Secret as defined by applicable law. Associate is prohibited from using, disclosing, or misappropriating Trade Secrets of H&R Block
at all times during and after Associate’s employment for so long as such information remains a Trade Secret. Trade Secrets include,
among other things, H&R Block’s client lists and all information pertaining to H&R Block’s clients.
     e) Information shall not be deemed to have lost its status as a Trade Secret or Confidential Business Information as the result
of any unauthorized disclosure by Associate or any other person or third party.
     f) Section 7216 of the Internal Revenue Code of 1986, as amended, prohibits the unauthorized use and/or disclosure of
confidential tax return information of the Company’s clients, and Associate agrees that Associate will not at any time disclose or use
such information in violation thereof.
    g) The restrictions in this Agreement shall supplement, but not replace, any and all obligations Associate owes the Company
under applicable law.
9.   Extent of Services.
Associate agrees that during the term of Associate’s employment Associate shall not directly or indirectly:
     a)   Compete with the Company at any location or in any capacity by:
          (1) preparing or electronically filing tax returns or providing any other product or service that the Company offers in the
Associate’s district of employment (for example, bookkeeping if provided in the district); or
          (2) soliciting or accepting any of the Company’s clients for the aforementioned services.
     b)   Be an Electronic Return Originator (“ERO”) with the IRS.
Associate agrees and accepts as a condition of employment that during the term of Associate’s employment all tax returns Associate
prepares, including any returns Associate prepares for friends and family, but excluding Associate’s own return, must be processed
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through the Company in accordance with Company policies and procedures as returns prepared by the Company. Associate may
prepare and electronically file Associate’s own tax return free of charge.
Associate shall not be in violation of Section 9(a)(1) if providing the prohibited services for an H&R Block franchise.
10. Post-Termination Covenants.

     a) Associate covenants that for two (2) years following the cessation of Associate’s employment hereunder for any reason
(the “Restricted Period”), Associate shall not directly or indirectly:
          (1) Provide any of the following services to any Company Client: (i) preparation of tax returns; (ii) electronic filing of tax
returns; or (iii) any Alternative Products or Services; or
            (2) Solicit Company Clients for the purpose of offering to such clients: (i) tax return preparation services; (ii) electronic
filing of tax returns; or (iii) any Alternative Products or Services.
     b) Associate agrees that the Restricted Period for each of the above covenants shall be tolled during (i) any period(s) of violation
that occur during the original Restricted Period; and (ii) any period(s) of time required by litigation to enforce the covenant (other than any
periods during which Associate is enjoined from engaging in the prohibited activity and is in compliance with such order of enjoinment)
provided that the litigation is filed within one year following the end of the original Restricted Period.
     c) For purposes of this Section 10, “Company Clients” is defined as every person or entity whose federal or state tax return
was prepared or electronically transmitted by Associate, or for whom Associate provided any Alternative Products or Services,
during the term of this Agreement or during any period of time in which Associate was employed by the Company or an affiliate
during the twelve (12) months immediately preceding the effective date of this Agreement.
     d) For purposes of this Section 10, “Alternative Products or Services” means products or services, other than the preparation
or electronic filing of tax returns, that the Company provides to clients within Associate’s district of employment (for example,
bookkeeping if provided in such district).
      e) In the event a duly appointed arbitrator (or where permitted under Section 17, a court of competent jurisdiction) finds the
time period, geographic scope, scope of activity, or any definition contained in this Section 10 to be overly broad, the time period,
geographic scope, scope of activity, or definition that such arbitrator or court deems reasonable shall be substituted for the language
in this Agreement (where allowed by applicable law).
     f)    Associate shall not be in violation of Section 10(a)(1) if providing the prohibited services for an H&R Block franchise.
     g)    Sections 10(a) and (b) are not applicable to associates employed in the state of North Dakota.
     h)    Section 10(b) is not applicable to associates employed in the states of Georgia or Wisconsin.
     i)   For Associates employed in the state of Arizona or Puerto Rico, the Restricted Period in Section 10(a) shall be one (1) year
following the cessation of Associate’s employment.
     j)    For Associates employed in the State of Louisiana, Sections 10(a)(1) and (2) are limited within the state of Louisiana to
the Parishes in which Associate assisted Company in providing its products and services, and Parishes adjacent to such Parishes (or
counties of adjacent states), as identified in Attachment A to this Agreement; provided, however, that nothing in this Agreement
may be construed to prohibit the enforcement of Sections 10(a)(1) and (2) in accordance with their terms in states outside of
Louisiana.
11. Nonsolicitation of Employees.

     a) Associate covenants that during Associate’s employment hereunder and for one (1) year following the cessation of such
employment for any reason, Associate shall not, directly or indirectly, solicit or hire Company Employees to work in any business
that provides any product or services in competition with the Company.
     b)     For purposes of this Agreement, “Company Employees” mean persons employed by the Company or its affiliates at the
time of the solicitation or hiring or at any time during the term of this Agreement. Where required by applicable law to be
enforceable, the foregoing restriction shall only apply to Company Employees employed by Company or its affiliates within the
District identified in Section 1.
    c) Section 11(a) is not applicable to associates employed in the state of Wisconsin. Associates employed in Wisconsin
covenant that during Associate’s employment hereunder and for one (1) year following the cessation of such employment for any
reason, Associate shall not, directly or indirectly, solicit Company Employees to terminate their employment with the Company.
12. Remedies.

The parties agree that if any provision of Section 8, 9, 10, or 11 is violated, the Company will have no adequate remedy at law and
will suffer irreparable loss and damage. The parties further agree that in the event of any such breach or violation, whether
threatened or actual, the Company shall be entitled to injunctive relief to prohibit or restrain such breach or violation in addition to
all other remedies available at law or equity. Associate agrees that no bond need be filed in connection with any request by the
Company for a temporary restraining order or other preliminary injunctive relief. In addition to injunctive relief, Associate
acknowledges that the Company is entitled to damages for any breach of Section 8, 9, 10, or 11. Further, in the event of such
breach or violation, Associate shall pay the Company all costs, reasonable attorneys’ fees, and expenses incurred by the Company
in enforcing Sections 8, 9, 10, or 11 of this Agreement. Further, Associate acknowledges that damages for breach of Section 9 are
difficult, if not impossible, to establish and Associate therefore agrees to liquidated damages as set forth below. Associate
acknowledges and agrees that these sums are a reasonable forecast of the harm caused by the breach in light of the anticipated or
actual loss caused by a breach and the difficulties of proof of loss. Associate agrees that this liquidated damages provision shall not


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be construed as a payment to avoid Associate’s obligations under Section 8, 9, 10, or 11 hereof and further agrees that the
Company shall be entitled to injunctive relief in addition to enforcement of this liquidated damages provision.
In the event Associate breaches Section 9 of this Agreement, Associate shall pay to Company a lump sum of $1,000 per tax season
of employment up to a $10,000 maximum (a partial tax season shall be counted as a tax season).
Any violation of Section 8, 9, 10, or 11 shall otherwise be resolved in accordance with the arbitration agreement in Section 17,
unless Associate opts out in accordance with Section 17(h).
13. Agreement Regarding Products and Services of H&R Block, H&R Block Bank, and BofI Federal Bank.

Associate agrees to comply with the following conditions in offering the H&R Block Emerald Advance® Line of Credit, H&R Block
Emerald Savings®, H&R Block Emerald Prepaid MasterCard®, Refund Anticipation Checks, credit cards, and other H&R Block-
branded bank products and services and in offering other financial products and services of any other financial institution with which
H&R Block partners to offer these products and services. Associate will comply with all H&R Block and BofI Federal Bank Operating
Policies and Procedures and required training related to the above products prior to conducting any facilitation marketing,
solicitation, customer service or credit service organization activities. Associate acknowledges that H&R Block Bank, BofI Federal
Bank, and other financial institutions have the right to monitor, review, and audit activities Associate performs in connection with
such entities’ respective products and services. Associate acknowledges that the primary federal regulator of H&R Block Bank and
BofI Federal Bank (the Office of the Comptroller of the Currency) and H&R Block’s primary regulator for banking purposes (the
Federal Reserve) have the authority to regulate, examine, and take enforcement action against the Company, its affiliates, H&R
Block Bank, and BofI Federal Bank with respect to the activities performed in connection with H&R Block Bank’s and BofI Federal
Bank’s products or services, and Associate acknowledges that federal and state banking and consumer products regulators may
have the authority to regulate, examine, and take enforcement action against the Company and its affiliates and other financial
institutions with respect to certain activities performed in connection with these products or services.
14. Tax Preparer Penalties.

As a condition of employment, Associate agrees to provide to the Company, immediately upon receipt, a copy of any notice or
communication Associate receives from the Internal Revenue Service or any state taxing authority related to Associate’s tax
preparation practices or tax preparer penalties proposed or assessed against Associate. Associate further agrees to authorize the
Internal Revenue Service or state taxing authority to share with the Company and its affiliates all notices and communications
related to the proposed or assessed penalties. Associate expressly acknowledges and agrees that Associate may be personally
responsible for paying preparer penalties assessed by the Internal Revenue Service or state taxing authority.
15. Representations of Associate.

     a) Associate represents that Associate has never had a Form 8633 (Application to Participate in the Electronic Filing Program)
denied by the Internal Revenue Service and has never been suspended or rejected from such program prior to this Agreement.
Associate further represents that Associate has not currently applied for or been accepted as an Electronic Filer other than by virtue
of any application made through or on behalf of the Company.
    b) Associate represents that all statements made on Associate’s employment application, including those regarding
Associate’s criminal background, are true and accurate.
    c) Associate represents that Associate is not subject to any contract that would prohibit performance of his/her duties
hereunder.
16. Enforcement.

Associate agrees that the Company’s failure to require strict compliance with any term, condition, or covenant contained in this
Agreement at any time shall not be deemed a waiver of that or any other term, condition, or covenant contained in this Agreement.
17. Mutual Arbitration Agreement.

       a) Binding Mutual Arbitration. This Mutual Arbitration Agreement in Section 17 (“Arbitration Agreement”) is between
Associate and the Company. Associate and the Company agree that any Covered Claims (defined below) will be resolved by final
and binding arbitration as set forth in this Arbitration Agreement, unless Associate opts out pursuant to Section 17(h) below. Any
reference to the Company in this Section 17 will be a reference also to the Company’s direct or indirect parents, subsidiaries,
affiliates, predecessors, and successor entities, including without limitation any H&R Block business entity for which Associate
applied for employment and/or was employed. This Arbitration Agreement shall be governed by the Federal Arbitration Act (FAA) (9
U.S.C. sections 1 et seq.), and evidences a transaction involving commerce. This agreement to arbitrate applies with respect to all
Covered Claims, whether initiated by Associate or the Company. All Covered Claims shall be decided by an arbitrator through
individual arbitration and not by way of court or jury trial.
     b) Covered Claims. This Arbitration Agreement is intended to be as broad as legally permissible and to apply to the
resolution of disputes that otherwise could be resolved in a court of law or before a forum other than arbitration. Except for the
Excluded Claims (defined below), Covered Claims include any and all past, present, and future claims or disputes between Associate
and the Company, or the Company’s direct or indirect parents, subsidiaries, affiliates, predecessors, and successor corporations and
business entities, and its and their officers, directors, employees, and agents, including but not limited to claims and disputes arising
out of or in any way relating to Associate’s hiring or recruitment, Associate’s employment, compensation, benefits, and terms and
conditions of employment with the Company, or the termination thereof, including but not limited to contract, tort, defamation and
other common law claims, wage and hour claims, statutory discrimination, harassment, and retaliation claims, and claims arising
under or relating to any federal, state or local constitution, statute or regulation, including, without limitation, the Fair Labor
Standards Act (“FLSA”), Title VII of the Civil Rights Act of 1964 (“Title VII”), the Age Discrimination in Employment Act (“ADEA”),
the Worker Adjustment and Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the Americans With Disabilities Act


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(“ADA”), the Family and Medical Leave Act (“FMLA”), the Fair Credit Reporting Act (“FCRA”), and any and all other federal, state, or
local constitutional, statutory, regulatory, or common law claims or causes of action now or hereafter recognized.
      Further, Covered Claims include any disputes regarding this Arbitration Agreement or any portion of the Arbitration Agreement
or its interpretation, enforceability, applicability, unconscionability, arbitrability or formation, or whether the Arbitration Agreement
or any portion of the Arbitration Agreement is void or voidable, with the exception noted in Section 17(e) below.
     c) Excluded Claims. The following claims and disputes are not subject to arbitration under this Arbitration Agreement: (i)
applications for temporary or preliminary injunctive relief in aid of arbitration or for the maintenance of the status quo pending
arbitration, (ii) claims arising under, relating to or in connection with an employee benefit plan subject to the Employee Retirement
Income Security Act of 1974 (“ERISA”), which shall be determined in accordance with the claims and dispute resolution procedures
set forth in the applicable ERISA plan documents, (iii) claims for workers’ compensation benefits (however, retaliation and
discrimination claims arising out of or relating to claims for workers’ compensation benefits are covered under this Agreement), (iv)
claims for unemployment compensation benefits, and (v) disputes that may not be subject to pre-dispute arbitration as expressly
provided by the Dodd-Frank Wall Street Reform and Consumer Protection Act or other controlling federal statutes. Regardless of
any other terms of this Arbitration Agreement, a claim may be brought before and remedies awarded by an administrative agency if
applicable law permits the agency to adjudicate the claim notwithstanding the existence of an agreement to arbitrate. Such
administrative claims include without limitation claims or charges brought before the Equal Employment Opportunity Commission
(www.eeoc.gov), the U.S. Department of Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of
Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing in this Arbitration Agreement shall be deemed to preclude
or excuse a party from bringing an administrative claim before any agency in order to fulfill the party's obligation to exhaust
administrative remedies before making a claim in arbitration. The Company will not retaliate against Associate for filing a claim with
an administrative agency.
     d) Further Exclusion. This Arbitration Agreement does not apply to any causes of action already pending in court on the date
Associate executes this Agreement, including any class, collective, or representative action, for which Associate is already a
member or potential member of the class, collective, or representative action (“Pending Claims”). This Arbitration Agreement does,
however, apply to any Pending Claims that were filed against the Company before Associate was ever employed with the Company.
Additionally, if Associate previously signed (and did not opt out of) an agreement to arbitrate claims with the Company prior to
commencement of a Pending Claim and that Pending Claim was covered by the previous agreement to arbitrate, that previous
agreement to arbitrate would continue to apply to the Pending Claim, even if Associate opts out pursuant to Section 17(h) below.
    e)   Class and Representative Action Waiver.
TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, ASSOCIATE AND THE COMPANY AGREE THAT NO COVERED CLAIMS
MAY BE INITIATED OR MAINTAINED ON A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION BASIS EITHER IN COURT OR IN
ARBITRATION, AND THAT ASSOCIATE IS NOT ENTITLED TO SERVE OR PARTICIPATE AS A CLASS, COLLECTIVE OR
REPRESENTATIVE ACTION REPRESENTATIVE OR AS A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION MEMBER, OR RECEIVE
ANY RECOVERY FROM A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION INVOLVING COVERED CLAIMS EITHER IN COURT OR
IN ARBITRATION.
           THE COMPANY AND ASSOCIATE HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED OR
ARBITRATED AS A CLASS AND/OR COLLECTIVE ACTION (“Class Action Waiver”). Notwithstanding any other clause contained in
this Agreement, the preceding sentence shall not be severable from this Arbitration Agreement in any instance in which the Covered
Claim is brought as a class and/or collective action. To the extent the Class Action Waiver is determined to be invalid, unenforceable,
or void, the class action must proceed in a court of law and not in arbitration.
          THE COMPANY AND ASSOCIATE ALSO HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED
OR ARBITRATED AS A PRIVATE ATTORNEY GENERAL REPRESENTATIVE ACTION (“Representative Action Waiver”). However, this
Representative Action Waiver may be severed if it would otherwise render this Arbitration Agreement unenforceable in any action
brought under a private attorneys general law, and following severance the representative action must be brought in a court of law
and not in arbitration.
          Notwithstanding any other clause of language contained in this Arbitration Agreement and/or any rules or procedures that
might otherwise be applicable by virtue of this Agreement or by virtue of any arbitration organization rules or procedures that now
apply or any amendments and/or modifications to those rules, any claim that this Class Action Waiver or Representative Action
Waiver, or any portion of this Class Action Waiver or Representative Action Waiver, is unenforceable, inapplicable, unconscionable, or
void or voidable, shall be determined only by a court of competent jurisdiction and not by an arbitrator.
     f) Selection and Rules. The parties shall select the neutral arbitrator and/or arbitration sponsoring organization by mutual
agreement. If the parties cannot mutually agree to an arbitrator and/or arbitration sponsoring organization, the arbitration will be
held under the auspices of the American Arbitration Association (“AAA”), and except as provided in this Arbitration Agreement, shall
be under the then current Employment Arbitration Rules of the AAA (“AAA Rules”) (the AAA Rules are available through the
Company’s Human Resources Department or via the internet at www.adr.org/employment or by using a service such as
www.google.com to search for “AAA Employment Arbitration Rules”.) To the extent any of the terms, conditions or requirements of
this Arbitration Agreement conflict with the AAA Rules, the terms, conditions or requirements of this Arbitation Agreement shall
govern. Unless the parties jointly agree otherwise, the Arbitrator shall be an attorney experienced in employment law and licensed
to practice law in the state in which the arbitration is convened, or a retired judge from any jurisdiction (the "Arbitrator"). Unless
the parties jointly agree otherwise, the arbitration shall take place in or near the city in which Associate is or was last employed by
the Company. In the event the parties mutually choose a sponsoring organization, or AAA is designated, the Arbitrator shall be
selected as follows: The selected organization shall furnish a list of eleven (11) arbitrators from which the parties shall strike
alternately, with the party striking first to be determined by a coin toss, until only one name remains. That person shall be
designated as the Arbitrator. If for any reason, that person cannot serve, the selected organization shall issue another list of eleven
(11) arbitrators and repeat the selection process.

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                  EXHIBIT H
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                                       MUTUAL ARBITRATION AGREEMENT

1.   Binding Mutual Arbitration.

This Mutual Arbitration Agreement (“Agreement”) is between the undersigned Associate (hereafter “Associate”) and HRB
Tax Group, Inc. and such other H&R Block business entity for which Associate is employed (collectively, “H&R Block”).
Associate and H&R Block agree that any Covered Claims (defined below) will be resolved by final and binding arbitration as
set forth in this Agreement, unless Associate opts out pursuant to Section 8 below. For purposes of this Agreement, any
reference to the “Company” shall include H&R Block and H&R Block’s direct or indirect parents, subsidiaries, affiliates,
predecessors, and successor entities, including without limitation HRB Resources LLC, HRB Green Resources LLC, HRB
Professional Resources LLC, H&R Block Eastern Enterprises, Inc. and H&R Block Enterprises LLC. This Agreement shall be
governed by the Federal Arbitration Act (FAA) (9 U.S.C. section 1 et seq.), and evidences a transaction involving commerce.
This agreement to arbitrate applies with respect to all Covered Claims, whether initiated by Associate or the Company. All
Covered Claims shall be decided by an arbitrator through individual arbitration and not by way of court or jury trial.

2.   Covered Claims.

This Agreement is intended to be as broad as legally permissible and to apply to the resolution of disputes that otherwise
could be resolved in a court of law or before a forum other than arbitration. Except for the Excluded Claims (defined
below), Covered Claims include any and all past, present, and future claims or disputes between Associate and the
Company, or the Company’s direct or indirect parents, subsidiaries, affiliates, predecessors, and successor corporations and
business entities, and its and their officers, directors, employees, and agents, including but not limited to claims and
disputes arising out of or in any way relating to Associate’s hiring or recruitment, Associate’s employment, compensation,
benefits, and terms and conditions of employment with the Company, or the termination thereof, including but not limited
to contract, tort, defamation and other common law claims, wage and hour claims, statutory discrimination, harassment,
and retaliation claims, and claims arising under or relating to any federal, state or local constitution, statute or regulation,
including, without limitation, the Fair Labor Standards Act (“FLSA”), Title VII of the Civil Rights Act of 1964 (“Title VII”), the
Age Discrimination in Employment Act (“ADEA”), the Worker Adjustment and Retraining Notification Act (“WARN”), the
Equal Pay Act (“EPA”), the Americans With Disabilities Act (“ADA”), the Family and Medical Leave Act (“FMLA”), the Fair
Credit Reporting Act (“FCRA”), and any and all other federal, state, or local constitutional, statutory, regulatory, or common
law claims or causes of action now or hereafter recognized.

Further, Covered Claims include any disputes regarding this Agreement or any portion of the Agreement or its
interpretation, enforceability, applicability, unconscionability, arbitrability or formation, or whether the Agreement or any
portion of the Agreement is void or voidable, with the exception noted in Section 5 below.

3.   Excluded Claims.

The following claims and disputes are not subject to arbitration under this Agreement: (i) applications for temporary or
preliminary injunctive relief in aid of arbitration or for the maintenance of the status quo pending arbitration, (ii) claims
arising under, relating to or in connection with an employee benefit plan subject to the Employee Retirement Income
Security Act of 1974 (“ERISA”), which shall be determined in accordance with the claims and dispute resolution procedures
set forth in the applicable ERISA plan documents, (iii) claims for workers’ compensation benefits (however, retaliation and
discrimination claims arising out of or relating to claims for workers’ compensation benefits are covered under this
Agreement), (iv) claims for unemployment compensation benefits, and (v) disputes that may not be subject to pre-dispute
arbitration as expressly provided by the Dodd-Frank Wall Street Reform and Consumer Protection Act or other controlling
federal statutes. Regardless of any other terms of this Agreement, a claim may be brought before and remedies awarded by
an administrative agency if applicable law permits the agency to adjudicate the claim notwithstanding the existence of an
agreement to arbitrate. Such administrative claims include without limitation claims or charges brought before the Equal
Employment Opportunity Commission (www.eeoc.gov), the U.S. Department of Labor (www.dol.gov), the National Labor
Relations Board (www.nlrb.gov), or the Office of Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing
in this Agreement shall be deemed to preclude or excuse a party from bringing an administrative claim before any agency in
order to fulfill the party's obligation to exhaust administrative remedies before making a claim in arbitration. The Company
will not retaliate against Associate for filing a claim with an administrative agency.

4.   Further Exclusion.

This Agreement does not apply to any causes of action already pending in court on the date Associate executes this
Agreement, including any class, collective, or representative action, for which Associate is already a member or potential
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member of the class, collective or representative action (“Pending Claims”). This Agreement does, however, apply to any
Pending Claims that were filed against the Company before Associate was employed with the Company. Additionally, if
Associate previously signed (and did not opt-out of) an agreement to arbitrate claims with the Company prior to the
commencement of a Pending Claim and that Pending Claim was covered by the previous agreement to arbitrate, that
previous agreement to arbitrate would continue to apply to the Pending Claim, even if Associate effectively opts-out of this
Agreement pursuant to Section 8 below.

5.   Class and Representative Action Waiver.

TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, ASSOCIATE AND THE COMPANY AGREE THAT NO COVERED
CLAIMS MAY BE INITIATED OR MAINTAINED ON A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION BASIS EITHER IN
COURT OR IN ARBITRATION, AND THAT ASSOCIATE IS NOT ENTITLED TO SERVE OR PARTICIPATE AS A CLASS,
COLLECTIVE OR REPRESENTATIVE ACTION REPRESENTATIVE OR AS A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION
MEMBER, OR RECEIVE ANY RECOVERY FROM A CLASS, COLLECTIVE OR REPRESENTATIVE ACTION INVOLVING COVERED
CLAIMS EITHER IN COURT OR IN ARBITRATION. THE COMPANY DOES NOT CONSENT TO, AND THE ARBITRATOR SHALL
HAVE NO RIGHT OR AUTHORITY TO HEAR, ANY CLAIM AND/OR DISPUTE COVERED UNDER THIS AGREEMENT AS A CLASS
ACTION, COLLECTIVE ACTION, OR REPRESENTATIVE ACTION.

THE COMPANY AND ASSOCIATE HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED OR
ARBITRATED AS A CLASS AND/OR COLLECTIVE ACTION (“Class Action Waiver”). Notwithstanding any other clause
contained in this Agreement, the preceding sentence shall not be severable from this Agreement in any instance in which
the Covered Claim is brought as a class and/or collective action. To the extent the Class Action Waiver is determined to be
invalid, unenforceable, or void, any class and/or collective action must proceed in a court of law and not in arbitration.

THE COMPANY AND ASSOCIATE ALSO HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT, HEARD, DECIDED
OR ARBITRATED AS A PRIVATE ATTORNEY GENERAL REPRESENTATIVE ACTION (“Representative Action Waiver”).
However, this Representative Action Waiver may be severed if it would otherwise render this Agreement unenforceable in
any action brought under a private attorneys general law, and following severance the representative action must be
brought in a court of law and not in arbitration.

Notwithstanding any other clause or language contained in this Agreement and/or any rules or procedures that might
otherwise be applicable by virtue of this Agreement or by virtue of any arbitration organization rules or procedures that now
apply or any amendments and/or modifications to those rules, any claim that this Class Action Waiver or Representative
Action Waiver, or any portion of this Class Action Waiver or Representative Action Waiver, is unenforceable, inapplicable,
unconscionable, or void or voidable, shall be determined only by a court of competent jurisdiction and not by an arbitrator.

6.   Selection and Rules.
The parties shall select the neutral arbitrator and/or arbitration sponsoring organization by mutual agreement. If the parties
cannot mutually agree to an arbitrator and/or arbitration sponsoring organization, the arbitration will be held under the
auspices of the American Arbitration Association (“AAA”), and except as provided in this Agreement, shall be under the then
current Employment Arbitration Rules of the AAA (“AAA Rules”) (the AAA Rules are available through the Company’s Human
Resources Department or via the internet at www.adr.org/employment or by using a service such as www.google.com to
search for “AAA Employment Arbitration Rules”.) To the extent any of the terms, conditions or requirements of this
Agreement conflict with the AAA Rules, the terms, conditions or requirements of this Agreement shall govern. Unless the
parties jointly agree otherwise, the Arbitrator shall be an attorney experienced in employment law and licensed to practice
law in the state in which the arbitration is convened, or a retired judge from any jurisdiction (the "Arbitrator"). Unless the
parties jointly agree otherwise, the arbitration shall take place in or near the city in which Associate is or was last employed
by the Company. In the event the parties mutually choose a sponsoring organization, or AAA is designated, the Arbitrator
shall be selected as follows: The selected organization shall furnish a list of eleven (11) arbitrators from which the parties
shall strike alternately, with the party striking first to be determined by a coin toss, until only one name remains. That
person shall be designated as the Arbitrator. If for any reason, that person cannot serve, the selected organization shall
issue another list of eleven (11) arbitrators and repeat the selection process.

The Arbitrator is required to issue a written award and opinion, and any judgment or award issued by an arbitrator may be
entered in any court of competent jurisdiction. The arbitration shall be subject to the same burdens of proof and statutes of
limitations as if the Covered Claim was being heard in federal district court, and the parties may file and the Arbitrator shall
hear and decide at any point in the proceedings motions to compel discovery, motions for protective orders, motions to
dismiss, motions for summary judgment, and motions in limine. No arbitration award or decision shall have any preclusive
effect as to any issues or claims in any dispute, arbitration or court proceeding where any party was not a named party in
the arbitration, unless and except as permitted by applicable law.

7.   Remedies.

Subject to the parties’ right to seek correction, modification, or vacatur under the FAA, Associate and the Company agree
that the award of the Arbitrator will be final and binding on the parties and that the Arbitrator may award any party any
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remedy to which that party is entitled under applicable law, but such remedies shall be limited to those that would be
available to a party in his or her individual capacity in a court of law for the claims presented to and decided by the
Arbitrator, and no remedies that otherwise would be available to an individual in a court of law will be forfeited by virtue of
this Agreement. Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
may later be entitled under applicable law. The Company shall be responsible for all arbitration filing fees, forum fees, and
fees of the Arbitrator.

8.   Arbitration Opt-Out.
Associate may opt-out of this Agreement by submitting a signed written statement that Associate wishes to opt-out and not
be subject to this Agreement. In order to be effective, the written statement must include Associate’s full name, address,
and employee ID number, and must be submitted to H&R Block-Legal Department, Attention: Arbitration Opt-Out, One H&R
Block Way, Kansas City, Missouri 64105 within thirty (30) days of Associate's signing of this Agreement. Associate’s written
opt-out will override Associate’s signature below to this Agreement, but not as to any prior or future arbitration agreements
between Associate and the Company. Any associate choosing to opt-out will not be subject to any adverse employment
action as a consequence of that decision.

9.   Sole and Entire Agreement.

This is the complete agreement of the parties on the subject of arbitration of Covered Claims. This Agreement to arbitrate
shall survive the termination of my assignment/employment and the expiration of any benefit. No party is relying on any
representations, oral or written, on the subject of the effect, enforceability, or meaning of this Agreement, except as
specifically set forth in this Agreement. Notwithstanding any contrary language, if any, in this Agreement and/or in any
Company policy or handbook, this Arbitration Agreement may not be modified, revised or terminated absent a writing
signed (written or electronically) by both parties. This Agreement does not prevent enforcement of any restrictive
covenant(s) or confidentiality obligations entered into between Associate and the Company.

10. Severability.

Except as stated in Section 5, above, the provisions of this Agreement shall be severable and, if any provision hereof shall
be determined to be legally unenforceable or void, such unenforceable or void provision shall not affect the legality, validity
or enforceability of the remaining provisions hereof.

11. Consideration.

The mutual obligations by the Company and by Associate to arbitrate differences provide consideration for each other.


BY CLICKING THE “SIGN AND SUBMIT” BUTTON BELOW, I ACKNOWLEDGE THAT I HAVE
CAREFULLY READ AND UNDERSTAND THIS AGREEMENT AND AGREE TO ITS TERMS. I
AGREE THAT THROUGH THIS AGREEMENT, THE COMPANY AND I ARE GIVING UP OUR
RIGHTS TO A COURT OR JURY TRIAL AND THAT PURSUANT TO THE TERMS OF THIS
AGREEMENT, WE ARE AGREEING TO ARBITRATE DISPUTES COVERED BY THIS
AGREEMENT. THIS ARBITRATION AGREEMENT CONTRACT CONTAINS A BINDING
ARBITRATION PROVISION WHICH MAY BE ENFORCED BY THE PARTIES. I FURTHER
UNDERSTAND AND AGREE TO THE USE OF AN ELECTRONIC METHOD OF SIGNATURE TO
DEMONSTRATE MY ACCEPTANCE AND AGREEMENT TO THE TERMS OF THIS AGREEMENT.

 /s/__________________________                   H&R BLOCK                                      11/25/2014
                                          /s/__________________________             Date Signed:__________________
     Associate
                                            Company




                                                                                                Mutual Arbitration Agreement
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                   EXHIBIT I
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7. Termination.
   a) Subject to Section 19 below, and notwithstanding the above-described Term, either party may
terminate this Agreement upon seven (7) days prior written notice.
    b) Subject to Section 19 below, the Company may terminate this Agreement and the employment
of Associate without notice upon a determination by the Company that Cause exists for termination.
For purposes of this Agreement, “Cause” includes, but is not limited to, the following:
       (1) Associate’s unsatisfactory performance as determined by the Company;
     (2) Associate’s misconduct that interferes with or prejudices the proper conduct of the
Company’s business or which may reasonably result in harm to the reputation of the Company;
        (3) Associate’s disobedience, insubordination, job abandonment, fraud, theft, or any material
violation of Company policies including, but not limited to, the H&R Block Code of Business Ethics &
Conduct;
       (4) Associate’s violation of any term of this Agreement or Associate’s stated intention to violate
any term of this Agreement;
       (5) Associate’s failure to meet the criteria for any Company-mandated background check;
       (6) Associate’s conviction of or plea of guilty or no contest to a crime of dishonesty or theft
during or prior to Associate’s employment (subject to state law);
       (7) Associate’s misrepresentation on the employment application or in this Agreement; or
       (8) Associate’s failure to secure a Preparer Tax Identification Number (PTIN) in accordance with
IRS regulations and Company requirements.
    c) “Cause” also includes: (i) Associate’s violation of any term of any prior employment agreement
between Associate and the Company, (ii) fraud or theft by Associate during any prior period of
employment with the Company, and (iii) material violation of any Company policy, including the H&R
Block Code of Business Ethics & Conduct, by Associate during any prior period of employment with the
Company.
8. Confidential Information.
Associate will be given access to Trade Secrets and other Confidential Business Information which has
commercial value to the Company and its affiliates (together referred to as “H&R Block”) the
confidential nature of all such information is acknowledged by Associate. In consideration for the
Company providing this access, and as a material term of this Agreement, Associate gives the Company
the covenants contained in Sections 8, 9, 10, and 11 of this Agreement. Associate agrees and
acknowledges as follows:
    a) Without the Company’s prior written authorization, Associate will not directly or indirectly: (i)
misappropriate, make copies of, or remove from H&R Block’s offices any Confidential Business
Information of H&R Block, (ii) make known, divulge, or communicate to any person or entity any
Confidential Business Information of H&R Block, or (iii) use any Confidential Business Information of
H&R Block for any reason other than as necessary to enable Associate to properly perform Associate’s
duties. Nothing in this Agreement, including the foregoing, prevents Associate from communicating
with the Equal Employment Opportunity Commission, the Securities and Exchange Commission, the
Department of Labor, or any other governmental authority, making a report in good faith and with a
reasonable belief of any violations of law or regulation to a governmental authority, or cooperating with
or participating in a legal proceeding relating to such violations; provided, however, that to the extent
allowed by law, Associate will give the Company as much written notice as possible under the
circumstances and will cooperate with the Company in any legal action undertaken to protect the
confidentiality of the information.
     b) Upon cessation of employment, Associate will promptly deliver to the Company the originals and
all copies of Confidential Business Information and other materials and property of any nature belonging
to H&R Block.


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    c) “Confidential Business Information” means all information learned by Associate as a
consequence of Associate’s employment with the Company, including, but not limited to, H&R Block’s
client lists, information pertaining to H&R Block’s clients, private or sensitive employee information
(such as social security information or birth dates, and information obtained from any confidential
human resources or employee files/records to which Associate may have access), and H&R Block’s tax
preparation software. “Confidential Business Information” does not include information in the public
domain through authorized disclosure by H&R Block or information that Associate has received prior
written authorization by H&R Block to disclose or otherwise use. Confidential Business Information does
include information about the business affairs of third parties (including, but not limited to, the
Company’s clients) that such third parties provide to the Company in confidence. Confidential Business
Information does not include information lawfully acquired by a non-management employee about
wages, hours or other terms and conditions of non-management employees if used by them for
purposes protected by §7 of the National Labor Relations Act (the NLRA) such as joining or forming a
union, engaging in collective bargaining, or engaging in other concerted activity for their mutual aid or
protection.
    d) The designation of any information as Confidential Business Information does not preclude it
from also constituting a Trade Secret as defined by applicable law. Associate is prohibited from using,
disclosing, or misappropriating Trade Secrets of H&R Block at all times during and after Associate’s
employment for so long as such information remains a Trade Secret. Trade Secrets include, among
other things, H&R Block’s client lists and all information pertaining to H&R Block’s clients. For Associates
employed in the states of Arkansas, Wisconsin, Connecticut, and Montana, the foregoing limitation on
the use or disclosure of Confidential Business Information will only apply for three (3) years after the
end of Associate’s employment as to information that does not qualify as a Trade Secret.
    e) Information will not be deemed to have lost its status as a Trade Secret or Confidential Business
Information as the result of any unauthorized disclosure by Associate or any other person or third party.
   f) Section 7216 of the Internal Revenue Code of 1986, as amended, prohibits the unauthorized
use and/or disclosure of confidential tax return information of the Company’s clients, and Associate
agrees that Associate will not at any time disclose or use such information in violation thereof.
   g) The restrictions in this Agreement will supplement, but not replace, any and all obligations
Associate owes the Company under applicable law.
9. Extent of Services.
Associate agrees that during the term of Associate’s employment Associate will not directly or indirectly:
   a) Compete with the Company at any location or in any capacity by:
        (1) preparing or electronically filing tax returns or providing any other product or service that
the Company offers in the Associate’s district of employment (for example, bookkeeping if provided in
the district); or
       (2) soliciting or accepting any of the Company’s clients for the aforementioned services.
   b) Be an Electronic Return Originator (“ERO”) with the IRS.
Associate agrees and accepts as a condition of employment that during the term of Associate’s
employment all tax returns Associate prepares, including any returns Associate prepares for friends and
family, but excluding Associate’s own return, must be processed through the Company in accordance
with Company policies and procedures as returns prepared by the Company. Associate may prepare
and electronically file Associate’s own tax return free of charge.
Associate will not be in violation of Section 9(a)(1) if providing the prohibited services for an H&R Block
franchise.
10. Post-Termination Covenants.
   a) Associate covenants that for two (2) years following the cessation of Associate’s employment
hereunder for any reason (the “Restricted Period”), Associate will not directly or indirectly:



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         (1) Provide any of the following services to any Company Client: (i) preparation of tax returns;
(ii) electronic filing of tax returns; or (iii) any Alternative Products or Services; or
        (2) Solicit Company Clients for the purpose of offering to such clients: (i) tax return preparation
services; (ii) electronic filing of tax returns; or (iii) any Alternative Products or Services.
   b) Associate agrees that the Restricted Period for each of the above covenants will be tolled
during (i) any period(s) of violation that occur during the original Restricted Period; and (ii) any
period(s) of time required by litigation to enforce the covenant (other than any periods during
which Associate is enjoined from engaging in the prohibited activity and is in compliance with
such order of enjoinment) provided that the litigation is filed within one year following the end of
the original Restricted Period.
    c) For purposes of this Section 10, “Company Clients” is defined as every person or entity      whose
federal or state tax return was prepared or electronically transmitted by Associate, or for         whom
Associate provided any Alternative Products or Services, during the term of this Agreement or       during
any period of time in which Associate was employed by the Company or an affiliate during the        twelve
(12) months immediately preceding the effective date of this Agreement.
   d) For purposes of this Section 10, “Alternative Products or Services” means products or services,
other than the preparation or electronic filing of tax returns, that the Company provides to clients within
Associate’s district of employment (for example, bookkeeping if provided in such district).
    e) In the event a duly appointed arbitrator (or where permitted under Section 17, a court of
competent jurisdiction) finds the time period, geographic scope, scope of activity, or any definition
contained in this Section 10 to be overly broad, the time period, geographic scope, scope of activity, or
definition that such arbitrator or court deems reasonable shall be substituted for the language in this
Agreement (where allowed by applicable law).
   f) Associate will not be in violation of Section 10(a)(1) if providing the prohibited services for an
H&R Block franchise.
   g) Sections 10(a) and (b) are not applicable to associates employed in the state of North Dakota.
   h) Section 10(b) is not applicable to associates employed in the states of Georgia or Wisconsin.
   i) For Associates employed in the state of Arizona or Puerto Rico, the Restricted Period in Section
10(a) will be one (1) year following the cessation of Associate’s employment.
    j)   For Associates employed in the state of Louisiana, Sections 10(a)(1) and (2) are limited within
the state of Louisiana to the Parishes in which Associate assisted Company in providing its products and
services, and Parishes adjacent to such Parishes (or counties of adjacent states), as identified in
Attachment A to this Agreement; provided, however, that nothing in this Agreement may be construed
to prohibit the enforcement of Sections 10(a)(1) and (2) in accordance with their terms in states
outside of Louisiana.
11. Nonsolicitation of Employees.
     a) Associate covenants that during Associate’s employment hereunder and for one (1) year
following the cessation of such employment for any reason, Associate will not, directly or indirectly,
solicit or hire Company Employees to work in any business that provides any product or services in
competition with the Company.
    b) For purposes of this Agreement, “Company Employees” mean persons employed by the
Company or its affiliates at the time of the solicitation or hiring or at any time during the term of this
Agreement. Where required by applicable law to be enforceable, the foregoing restriction will only apply
to Company Employees employed by Company or its affiliates within the District identified in Section 1.
     c) Section 11(a) is not applicable to associates employed in the state of Wisconsin. Associates
employed in Wisconsin covenant that during Associate’s employment hereunder and for one (1) year
following the cessation of such employment for any reason, Associate will not, directly or indirectly,
solicit Company Employees to terminate their employment with the Company.



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15. Representations of Associate.
    a) Associate represents that Associate has never had a Form 8633 (Application to Participate in the
Electronic Filing Program) denied by the Internal Revenue Service and has never been suspended or
rejected from such program prior to this Agreement. Associate further represents that Associate has
not currently applied for or been accepted as an Electronic Filer other than by virtue of any application
made through or on behalf of the Company.
    b) Associate represents that all statements made on Associate’s employment application, including
those regarding Associate’s criminal background, are true and accurate.
    c) Associate represents that Associate is not subject to any contract that would prohibit
performance of his/her duties.
16. Enforcement.
Associate agrees that the Company’s failure to require strict compliance with any term, condition, or
covenant contained in this Agreement at any time will not be deemed a waiver of that or any other
term, condition, or covenant contained in this Agreement.
17. Mutual Arbitration Agreement.
    a) Binding Mutual Arbitration. This Mutual Arbitration Agreement in Section 17 (“Arbitration
Agreement”) is between Associate and the Company. Associate and the Company agree that any
Covered Claims (defined below) will be resolved by final and binding arbitration as set forth in this
Arbitration Agreement, unless Associate opts out pursuant to Section 17(h) below. Any reference to the
Company in this Section 17 will be a reference also to the Company’s direct or indirect parents,
subsidiaries, affiliates, predecessors, and successor entities, including without limitation any H&R Block
business entity for which Associate applied for employment and/or was employed. This Arbitration
Agreement will be governed by the Federal Arbitration Act (FAA) (9 U.S.C. sections 1 et seq.), and
evidences a transaction involving commerce. This agreement to arbitrate applies with respect to all
Covered Claims, whether initiated by Associate or the Company. All Covered Claims will be decided
by an arbitrator through individual arbitration and not by way of court or jury trial.
    b) Covered Claims. This Arbitration Agreement is intended to be as broad as legally permissible
and to apply to the resolution of disputes that otherwise could be resolved in a court of law or before a
forum other than arbitration. Except for the Excluded Claims (defined below), Covered Claims include
any and all past, present, and future claims or disputes between Associate and the Company, or the
Company’s direct or indirect parents, subsidiaries, affiliates, predecessors, and successor corporations
and business entities, and its and their officers, directors, employees, and agents, including but not
limited to claims and disputes arising out of or in any way relating to Associate’s hiring or recruitment,
Associate’s employment, compensation, benefits, and terms and conditions of employment with the
Company, or the termination thereof, including but not limited to contract, tort, defamation and other
common law claims, wage and hour claims, statutory discrimination, harassment, and retaliation claims,
and claims arising under or relating to any federal, state or local constitution, statute or regulation,
including, without limitation, the Fair Labor Standards Act (“FLSA”), Title VII of the Civil Rights Act of
1964 (“Title VII”), the Age Discrimination in Employment Act (“ADEA”), the Worker Adjustment and
Retraining Notification Act (“WARN”), the Equal Pay Act (“EPA”), the Americans With Disabilities Act
(“ADA”), the Family and Medical Leave Act (“FMLA”), the Fair Credit Reporting Act (“FCRA”), and any
and all other federal, state, or local constitutional, statutory, regulatory, or common law claims or
causes of action now or hereafter recognized.
    Further, Covered Claims include any disputes regarding this Arbitration Agreement or any portion of
the Arbitration Agreement or its interpretation, enforceability, applicability, unconscionability, arbitrability
or formation, or whether the Arbitration Agreement or any portion of the Arbitration Agreement is void
or voidable, with the exception noted in Section 17(e) below.
    c) Excluded Claims. The following claims and disputes are not subject to arbitration under this
Arbitration Agreement: (i) applications for temporary or preliminary injunctive relief in aid of arbitration
or for the maintenance of the status quo pending arbitration, (ii) claims arising under, relating to or in
connection with an employee benefit plan subject to the Employee Retirement Income Security Act of
1974 (“ERISA”), which will be determined in accordance with the claims and dispute resolution
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procedures set forth in the applicable ERISA plan documents, (iii) claims for workers’ compensation
benefits (however, retaliation and discrimination claims arising out of or relating to claims for workers’
compensation benefits are covered under this Agreement), (iv) claims for unemployment compensation
benefits, and (v) disputes that may not be subject to pre-dispute arbitration as expressly provided by
the Dodd-Frank Wall Street Reform and Consumer Protection Act or other controlling federal statutes.
Regardless of any other terms of this Arbitration Agreement, a claim may be brought before and
remedies awarded by an administrative agency if applicable law permits the agency to adjudicate the
claim notwithstanding the existence of an agreement to arbitrate. Such administrative claims include
without limitation claims or charges brought before the Equal Employment Opportunity Commission
(www.eeoc.gov), the U.S. Department of Labor (www.dol.gov), the National Labor Relations Board
(www.nlrb.gov), or the Office of Federal Contract Compliance Programs (www.dol.gov/esa/ofccp).
Nothing in this Arbitration Agreement will be deemed to preclude or excuse a party from bringing an
administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative
remedies before making a claim in arbitration. The Company will not retaliate against Associate for filing
a claim with an administrative agency or for exercising rights (individually or in concert with others)
under Section 7 of the National Labor Relations Act.
    d) Further Exclusion. This Arbitration Agreement does not apply to any lawsuits between Associate
and the Company already pending in court on the date Associate executes this Agreement, including
any class, collective, or representative action, for which Associate is already a member or potential
member of the class, collective, or representative action (“Pending Claims”). However, if Associate
previously signed (and did not opt out of) an agreement to arbitrate claims with the Company prior to
commencement of a Pending Claim and that Pending Claim was covered by the previous agreement to
arbitrate, that previous agreement to arbitrate would continue to apply to the Pending Claim, even if
Associate opts out pursuant to Section 17(h) below.
   e) Class and Representative Action Waiver.
THE COMPANY AND ASSOCIATE AGREE TO BRING ANY DISPUTE IN ARBITRATION ON AN INDIVIDUAL
BASIS ONLY, ACCORDINGLY:
            THE COMPANY AND ASSOCIATE HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE TO BE
    BROUGHT, HEARD, DECIDED OR ARBITRATED AS A CLASS AND/OR COLLECTIVE ACTION AND
    THE ARBITRATOR WILL HAVE NO AUTHORITY TO HEAR OR PRESIDE OVER ANY SUCH CLAIM
    (“Class Action Waiver”). Notwithstanding any other clause contained in this Agreement, the
    preceding sentence will not be severable from this Arbitration Agreement in any instance in
    which the Covered Claim is brought as a class and/or collective action. To the extent the Class
    Action Waiver is determined to be invalid, unenforceable, or void, the class action must
    proceed in a court of law and not in arbitration.
             THE COMPANY AND ASSOCIATE ALSO HEREBY WAIVE ANY RIGHT FOR ANY DISPUTE
    TO BE BROUGHT, HEARD, DECIDED OR ARBITRATED AS A PRIVATE ATTORNEY GENERAL
    REPRESENTATIVE ACTION AND THE ARBITRATOR WILL HAVE NO AUTHORITY TO HEAR OR
    PRESIDE UNDER ANY SUCH CLAIM (“Representative Action Waiver”). The Representative
    Action Waiver does not apply to any claim Associate brings in arbitration as a private attorney
    general solely on Associate’s own behalf and not on behalf of or regarding others. The
    Representative Action Waiver will be severable from this Agreement in any case in which there
    is a final judicial determination that the Representative Action Waiver is invalid,
    unenforceable, unconscionable, void or voidable. In such instances and where the claim is
    brought as a private attorney general, such private attorney general claim must be litigated in
    a civil court of competent jurisdiction, but all other provisions of this Agreement and Arbitration
    Agreement, including without limitation the Class Action Waiver, will continue to apply.
       Notwithstanding any other clause of language contained in this Arbitration Agreement and/or
any rules or procedures that might otherwise be applicable by virtue of this Agreement or by virtue of
any arbitration organization rules or procedures that now apply or any amendments and/or
modifications to those rules, any claim that this Class Action Waiver or Representative Action Waiver, or
any portion of this Class Action Waiver or Representative Action Waiver, is unenforceable, inapplicable,
unconscionable, or void or voidable, will be determined only by a court of competent jurisdiction and not
by an arbitrator.
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     f) Selection and Rules. The parties will select the neutral arbitrator and/or arbitration sponsoring
organization by mutual agreement. If the parties cannot mutually agree to an arbitrator and/or
arbitration sponsoring organization, the arbitration will be held under the auspices of the American
Arbitration Association (“AAA”), and except as provided in this Arbitration Agreement, shall be under the
then current Employment Arbitration Rules of the AAA (“AAA Rules”) (the AAA Rules are available
through the Company’s Human Resources Department or via the internet at www.adr.org/employment
or by using a service, such as www.google.com, to search for “AAA Employment Arbitration Rules”). To
the extent any of the terms, conditions or requirements of this Arbitration Agreement conflict with the
AAA Rules, the terms, conditions or requirements of this Arbitation Agreement shall govern. Unless the
parties jointly agree otherwise, the Arbitrator will be an attorney experienced in employment law and
licensed to practice law in the state in which the arbitration is convened, or a retired judge from any
jurisdiction (the "Arbitrator"). Unless the parties jointly agree otherwise, the arbitration will take place
in or near the city in which Associate is or was last employed by the Company. In the event the parties
mutually choose a sponsoring organization, or AAA is designated, the Arbitrator will be selected as
follows: The selected organization shall furnish a list of eleven (11) arbitrators from which the parties
shall strike alternately, with the party striking first to be determined by a coin toss, until only one name
remains. That person will be designated as the Arbitrator. If for any reason, that person cannot serve,
the selected organization will issue another list of eleven (11) arbitrators and repeat the selection
process.
    The Arbitrator is required to issue a written award and opinion, and any judgment or award issued
by an arbitrator may be entered in any court of competent jurisdiction. The arbitration will be subject to
the same burdens of proof and statutes of limitations as if the Covered Claim was being heard in federal
district court, and the parties may file and the arbitrator will hear and decide at any point in the
proceedings motions to compel discovery, motions for protective orders, motions to dismiss, motions for
summary judgment, and motions in limine. No arbitration award or decision will have any preclusive
effect as to any issues or claims in any dispute, arbitration or court proceeding where any party was not
a named party in the arbitration, unless and except as permitted by applicable law.
     g) Remedies and Fees. Subject to the parties’ right to seek correction, modification, or vacatur
under the FAA, Associate and the Company agree that the award of the arbitrator will be final and
binding on the parties and that the arbitrator may award any party any remedy to which that party is
entitled under applicable law, but such remedies will be limited to those that would be available to a
party in his or her individual capacity in a court of law for the claims presented to and decided by the
arbitrator, and no remedies that otherwise would be available to an individual in a court of law will be
forfeited by virtue of this Arbitration Agreement. The Arbitration shall apply the substantive law
including, but not limited to, applicale statutes of limitations (and the law of remedies, if applicable) of
the state in which the claim arose, or federal law, or both, as applicable to the claims(s) asserted. The
Arbitrator is without jurisdiction to apply any different substantive law or law of remedies. Each party
will pay the fees for his, her or its own attorneys, subject to any remedies to which that party may later
be entitled under applicable law. The Company will be responsible for all arbitration filing fees, forum
fees, and fees of the arbitrator.
    h) Arbitration Opt-Out. Associate may opt-out of this Arbitration Agreement in Section 17 by
submitting a signed written statement that Associate wishes to opt-out and not be subject to this
Arbitration Agreement in Section 17. In order to be effective, the written statement must include
Associate’s full name, address, and employee ID number, and must be submitted to H&R Block-Legal
Department, Attention: Arbitration Opt-Out, One H&R Block Way, Kansas City, Missouri
64105 within thirty (30) days of Associate's signing of this Agreement. Associate’s written opt-out of
the Arbitration Agreement will override Associate’s signature below regarding arbitration for purposes of
Section 17, but no other provision of this Agreement or prior or future arbitration agreements between
Associate and the Company. Any associate choosing to opt-out of the Arbitration Agreement will not be
subject to any adverse employment action as a consequence of that decision.
18. Severability.
Except as set forth in Section 17, above, the provisions of this Agreement shall be severable. If any
provision hereof shall be determined to be legally unenforceable or void, such unenforceable or void
provision will not affect the legality, validity or enforceability of the remaining provisions hereof. If the

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Class or Representative Action Waiver set forth in Section 17(e) is determined to be invalid,
unenforceable, or void with respect to any Covered Claim, the Waiver shall remain effective and
enforceable with respect to all other Covered Claims.
19. Survival; Assignability.
Notwithstanding any language to the contrary in this Agreement, the parties agree that the covenants
and agreements contained in Sections 8 through 21, including the Arbitration Agreement in Section 17,
will survive the termination of this Agreement and/or the termination of Associate’s employment and
will, likewise, continue to apply and be valid notwithstanding any change in Associate’s duties,
responsibilities, position, or title, and/or the expiration of any benefit. This Agreement is assignable by
the Company to any other party without notice to, consent by, or approval by Associate. Associate shall
not assign this Agreement. This Agreement will inure to the benefit of the successors and assigns of the
Company.
20. Notices.
All notices required to be given hereunder shall be in writing and will be deemed served and delivered
for all purposes if delivered in person; if delivered by e-mail or fax (with confirmation of delivery); or if
mailed, postage prepaid, to Associate at the above-stated address or to the Company at the principal
office for the district of employment, except as noted in Section 17(h). Any notice given by mail shall
be deemed given as of the date mailed and postmarked or received by a nationally recognized
overnight courier for delivery.
21. Entire Agreement.
The foregoing is the entire Agreement between the parties as to the terms and conditions of Associate’s
employment and the subject matter of each of the paragraphs and subparagraphs of this Agreement,
and no amendment of this Agreement will be effective unless in writing and signed (written or
electronic) by the parties or is by order of a duly-appointed arbitrator or, where permitted by Section 17,
by a court of competent jurisdiction. Associate understands and agrees to the use of an
electronic method of signature to demonstrate acceptance and agreement to the terms of
this Agreement.


IN WITNESS WHEREOF, the parties have executed this Agreement on the day and year noted
below.

By checking the sign and submit button, you are indicating your agreement to the above terms
and conditions, including but not limited to the Arbitration Agreement and Class and
Representative Action Waiver in Section 17. THIS EMPLOYMENT AGREEMENT CONTRACT
CONTAINS A BINDING ARBITRATION PROVISION WHICH MAY BE ENFORCED BY THE
PARTIES. Checking the button will serve as your electronic signature. Once you have checked
that button, a signature date will display in this document, below.


                                                                         Date
 /s/____________________             /s/____________________
                                         HRB Resources LLC
                                                                         Signed:_______________
                                                                                11/25/2014
 Associate                              Company




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